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Exhibit 1
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          Expert Report of Andrew Kolodny,
                                     M.D.
                                       Dated: August 3, 2020
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I.     INTRODUCTION AND SUMMARY OF OPINIONS

I have been retained by Plaintiffs Cabell County and the City of Huntington (“Plaintiffs,” “the
Cabell-Huntington Community”) to opine on whether the conduct of McKesson Corporation
(“McKesson”), AmerisourceBergen Drug Corporation (“AmerisourceBergen”) and Cardinal
Health, Inc. (“Cardinal”) (collectively “Defendants”), either alone or together, diminished the
Cabell-Huntington Community’s health and safety and whether Defendants’ conduct was a
substantial factor in causing a public nuisance in the Cabell-Huntington Communities.

Specifically, I was asked to address whether, in my professional opinion, the Defendants’
conduct was a substantial factor in causing an unreasonable interference with rights common to
the general public, including the public’s rights to health and safety, and whether Defendants’
conduct produced a permanent or long lasting effect that they knew or should have known would
have significant impacts on any of these public rights.

Finally, I was asked to opine on evidence-based solutions to the current opioid crisis in Cabell
County and the City of Huntington, West Virginia.

In undertaking this assignment, I have been asked to apply my years of experience in public
health, public policy, addiction medicine; and years of study regarding the opioid epidemic and
its root causes to evaluate the circumstances and potential involvement of the Defendants in the
facts and circumstances that led to the opioid crisis that the Cabell-Huntington Community is
now facing.

In answering these questions, I was provided the following legal definitions.

       A public nuisance is an act or condition that unlawfully operates to hurt or
       inconvenience an indefinite number of persons. In other words, a public nuisance affects
       the general public. The definition of a public nuisance is consistent with the
       RESTATEMENT (SECOND) OF TORTS § 821B(1), which defines a public nuisance as “an
       unreasonable interference with a right common to the general public.'" Circumstances
       that may sustain a holding that an interference with a public right is unreasonable include
       the following:
               (a) Whether the conduct involves a significant interference with the public health,
               the public safety, the public peace, the public comfort or the public convenience,
               or
               (b) whether the conduct is proscribed by a statute, ordinance or administrative
               regulation, or
               (c) whether the conduct is of a continuing nature or has produced a permanent or
               long-lasting effect, and, as the actor knows or has reason to know, has a
               significant effect upon the public right.

       The above three factors for determining whether an interference with a public right is
       unreasonable are listed in the disjunctive; thus, a finding that a Defendant Distributor’s
       conduct meets any one of them may warrant a holding of unreasonableness.




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My opinions, offered in greater detail in Section VI below, can be summarized as follows:

   1. There has been a sharp increase in the prevalence of opioid addiction in the United States,
      in West Virginia and in the Cabell-Huntington Community. The increased prevalence of
      opioid addiction has resulted in an array of health and social problems commonly
      referred to as “the Opioid Epidemic.” These problems include but are not limited to
      overdose deaths, neonatal opioid withdrawal, impact on family services, injection-related
      infectious diseases, increased use of heroin and other illicit drugs, and an impact on the
      workforce.

   2. The increased prevalence of opioid addiction was caused by overexposing the United
      States population, especially people in the State of West Virginia and the Cabell-
      Huntington Community, to prescription opioids, and is still primarily driven by
      prescription opioids.

   3. Overexposure of the population to prescription opioids was a consequence of an
      enormous oversupply of prescription opioids by the pharmaceutical industry, including
      the Defendants.

   4. The Defendants’ conduct in flooding the United States, West Virginia and the
      Huntington-Cabell Community with prescription opioids was not only reckless and below
      any reasonable standard, it was also a substantial factor in causing the Opioid Epidemic
      in the Huntington-Cabell Community.

   5. Specifically, the following conduct by each of the Defendants was a substantial factor in
      causing the flood of prescription opioids into the United States, West Virginia and the
      Huntington-Cabell Community, fell below any reasonable standard of care, and these
      factors combined synergistically to produce a severely negative impact on the Cabell-
      Huntington Community public health and safety:

           a. Defendants worked to dramatically expand and then maintain the market, the
              demand and, therefore, the supply of prescription opioids through participating in
              a massive marketing and misinformation campaign about opioids.

           b. Defendants flooded an already saturated market with such a large amount of
              highly addictive narcotics that abuse, addiction, misuse and diversion of pills was
              not only foreseeable, but inevitable.

           c. Defendants continued to dramatically increase the supply of prescription opioids
              despite mounting evidence that the oversupply was resulting in catastrophic
              public health consequences, including rising opioid-related morbidity and
              mortality.

           d. Defendants continued to conduct business with companies that were cited for
              illegal or improper conduct with respect to prescription opioid promotion and/or
              supply.




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             e. Defendants were repeatedly and blatantly cited for breaking the law designed to
                control oversupply and prevent diversion.

             f. Defendants misrepresented the quality of their anti-diversion programs to keep
                regulatory and public scrutiny at bay and continue selling unchecked.

             g. In blatant disregard for public health and safety, including that in the Huntington-
                Cabell Community, Defendants have refused to take responsibility for the
                epidemic, even today, and have tried to shift blame to others, including people
                who became addicted to opioids because of their wrongdoing.

      6. The conduct of the Defendants, working individually and together, was a substantial
         factor in causing the Opioid Epidemic. Working closely with each other and their
         business partners in the supply chain (namely the opioid manufacturers and chain
         pharmacies) without reasonable care, their reckless behavior and blatant violations of the
         laws and regulations were a substantial cause of the Opioid Epidemic.

      7. The harm to public health, safety and welfare in Plaintiffs’ communities caused by
         Defendants’ conduct was not only unreasonable, it was foreseeable and preventable.

      8. Even with the proper interventions, the Opioid Epidemic will impact the Huntington-
         Cabell Community for several decades.

      9. There are evidence-based solutions that can be implemented, albeit over time and with
         the right resources, that can control the epidemic in the Huntington-Cabell Community
         and should be implemented.

My opinions and the basis for those opinions are further summarized in Sections VI and are
based on my knowledge, training and experience in the fields of addiction medicine and public
health; review of the relevant medical literature, and a review of documents and materials set
forth in Schedule 3 and 4 to this Report. I offer the opinions contained herein to a reasonable
degree of medical certainty in the fields of public health and addiction medicine.

I reserve the right to amend or supplement the facts and opinions upon which I am expected to
testify as additional information is made available.


II.      BACKGROUND AND QUALIFICATIONS

I am a medical doctor, Board Certified in Addiction Medicine, Psychiatry & Neurology. My
clinical specialty is the treatment of opioid use disorder. I have been working on the Opioid
Epidemic for the past 17 years, initially as a public health official for New York City, then as a
clinician, researcher and advocate.

I currently serve as the Medical Director of the Opioid Policy Research Collaborative at the
Heller School for Social Policy and Management at Brandeis University in New York. The
Opioid Policy Research Collaborative helps form public health policy related to the Opioid



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Epidemic, including educating stakeholders regarding the causes of the Opioid Epidemic and
advising policymakers, health officials, legislators, government officials and other stakeholders
regarding evidence-based solutions to the opioid crisis. Additionally, I teach a course about the
Opioid Epidemic to master’s in public health students at Columbia University. In the course,
students learn about the origin of the crisis, the epidemiology of opioid use disorder and
strategies for controlling the epidemic. I am also the co-founder and executive director of
Physicians for Responsible Opioid Prescribing, an organization with a mission to reduce
morbidity and mortality caused by overprescribing of opioid analgesics.

I received my medical degree from Temple University School of Medicine in 1999, followed by
an internship at Mount Sinai School of Medicine, and a residency in Psychiatry at Mount Sinai
School of Medicine. During that time, I began to focus on public health issues, completing a
fellowship in health policy in the United States Senate and also a fellowship in Public Psychiatry
at Columbia University School of Medicine. In 2003, during my fellowship at Columbia, I went
to work for the New York City Department of Health and Mental Hygiene, where I later became
the Medical Director in the Office of the Executive Deputy Commissioner.

As a medical director in the New York City Department of Health and Mental Hygiene, I led one
of the nation’s first public health efforts to address the Opioid Epidemic, including an initiative
to reduce opioid overdose deaths by distributing naloxone through syringe exchange programs
and an initiative to expand access to treatment of opioid addiction with buprenorphine. In 2004,
while still working for New York City, I began a clinical practice specializing in the treatment of
opioid use disorder.

Having the opportunity to work in public health, a field focused on population-based disease
prevention, while maintaining a clinical practice allowed me to recognize that a new epidemic of
opioid addiction had emerged. Past drug addiction epidemics had historically impacted New
York City’s poorest neighborhoods but through my work, I came to recognize that the new
epidemic was impacting middle class communities. The opioid-addicted patients streaming into
my office were from comfortable neighborhoods. Learning that my patients had developed
opioid addiction from use of prescription opioids made me begin to question medical education
downplaying the risk of addiction. And because my public health work gave me ready access to
national surveillance data, I was also able to see that in other parts of the country, especially the
Appalachian region, the rate of opioid-related overdose deaths and hospital visits were even
higher than in New York City and increasing at an alarming rate.

In 2006, I became the Vice Chair (and later the Chair in 2008) of the Department of Psychiatry at
Maimonides Medical Center, one of the largest teaching hospitals in the country, located in
Brooklyn, New York. While in this position I supervised the psychiatric treatment in the
medical center’s emergency department, outpatient programs, and inpatient units, and I
witnessed first-hand a rising number of patients suffering from opioid addiction.
Shortly after arriving at Maimonides Medical Center, I came across a journal article written by
the CDC, which helped me understand the sharp rise in opioid-related morbidity and mortality.1

1Paulozzi LJ, Budnitz DS, Xi Y. (2006) Increasing deaths from opioid analgesics in the United
States. Pharmacoepidemiol Drug Saf., 15(9), 618-627. doi: 10.1002/pds.1276




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The CDC showed that opioid overdose deaths had increased in parallel with sales for opioid
analgesics and explained that the Opioid Epidemic had been caused by “more aggressive pain
management.” For the first time, a primary cause of the crisis was made clear, however, in the
same medical journal a university-based opioid industry front group published a commentary
attacking the CDC paper, attempting to cast doubt on its findings.

Recognizing that the opioid industry was interfering with efforts to understand and respond to a
crisis it sparked my research interest in the industry-funded campaign to increase prescribing and
in the relationship between the opioid industry and pain organizations. Is also precipitated my
interest in advocacy for more cautious prescribing.

In 2010, several of my colleagues and I founded Physicians for Responsible Opioid Prescribing
(PROP). I currently serve as the Executive Director of that organization. A significant part of the
group’s effort has focused on educating the medical community. Our educational materials
explicitly correct past misinformation that can result in improper prescribing. PROP’s leadership
has conducted research, published papers, petitioned federal agencies and communicated with
state and federal policymakers about the role of improper and deceptive marketing of opioids,
about the devastation the oversupply of opioids has caused and the potential solutions for
repairing the damage that was done to communities around the United States.

In 2013, I left Maimonides to become the Chief Medical Officer of Phoenix House, a national,
nonprofit addiction treatment provider, offering affordable evidence-based care to teens, adults,
and families, including unique programming for mothers with young children and veterans. In
this capacity, I helped Phoenix House adapt its clinical programming nationwide to meet the
needs of patients with opioid use disorder.

In 2012, because of my work on the opioid industry’s relationship with front groups and key
opinion leaders, I was consulted by the United States Senate Finance Committee with respect to
its investigation of opioid manufacturers and pain organizations. I have also been asked to
provide my expertise on the causes of, and potential solutions to, the Opioid Epidemic for
numerous stakeholders including the World Health Organization, the National Governors
Association, the National Association of State Attorneys General, the National Judicial Opioid
Task Force, the National Academy of Sciences, and Bi-partisan Members of Congress. I have
been invited to testify before committees of the United States Senate and House of
Representatives, including the Senate International Drug Caucus, the Senate Committee on
Homeland Security and the House Energy and Commerce Committee. Often in the course of
this work I review documents of the kind I have looked at here to offer opinions regarding the
causes of the Opioid Epidemic, including: internal documents of the pharmaceutical companies;
documents evidencing financial backing of pharmaceutical companies of organizations,
publications or associations; governmental studies and task force reports; governmental
investigative documents; public statements made by pharmaceutical companies, government
entities and various stakeholders; public new stories and investigative reporting and sworn
testimony. It is often important, in the course of this work to determine what companies knew,
what they should have known and what they did with the information they had.




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My work tackling the Opioid Epidemic as a health official, clinician, researcher and advocate has
given me the knowledge and experience to discuss facts and offer opinions on the root causes of
the Opioid Epidemic and the actions that must be taken to bring this urgent public health crisis
under control.

My background and qualifications for offering expert opinions are further summarized in my
Curriculum Vitae, a copy of which is attached hereto as Schedule 1.

III.        COMPENSATION

I am being compensated for my work in this case at the following rate: $780 per hour for
testimony and preparation.

IV.         PRIOR TESTIMONY AND PUBLICATIONS

A list of the testimony I have in the last four years in legal matters is attached hereto as Schedule
2.

A list of the publications I have authored in the last ten years is included in my CV, attached
hereto as Schedule 1.

V.          MATERIALS CONSIDERED

In addition to my knowledge, training and experience and the documents and publications cited
throughout this Report, attached as Schedule 3 is a list of the materials I considered in forming
my opinions in this Report. I will supplement this list as additional materials become available.

VI.         DETAILED OPINIONS AND BASIS:

       1.     The Basics of Opioid Addiction and Physiological Dependence

Opioids are drugs that stimulate the brain’s opiate receptors. Some are made from opium and
some are completely synthetic. In the U.S., the most commonly prescribed opioids are
hydrocodone and oxycodone, which are classified as semi-synthetic because they are synthesized
from opium. Heroin is also a semi-synthetic opioid. The effects of hydrocodone and oxycodone
on the brain are nearly indistinguishable from the effects produced by heroin. In fact, in a study
performed at Columbia University, experienced heroin users preferred the effects of oxycodone
to heroin.2

Opioids interact with the mu or kappa receptors in the brain, spinal cord, and other areas of the
body, especially those involved in feelings of pleasure and pain. Opioids can produce an
analgesic effect by acting on receptors located on neuronal cell membranes. The presynaptic
action of opioids is considered to be their major effect in the nervous system. In addition to

2Comer SD, et al. (2008). Abuse liability of prescription opioids compared to heroin in morphine-
maintained heroin abusers. Neuropsychopharmacology, 33(5), 1179-1191.
https://doi.org/10.1038/sj.npp.1301479




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analgesic effects, however, opioids also have well-known and serious dangers associated with
them, including a risk of respiratory depression, addiction, dependence, overdose and death.

Addiction is defined as continued use of a drug despite negative consequences.3
Repeated exposure to highly addictive drugs can result in dysfunction in neurological pathways
that impact behavior. This is reflected in an individual pathologically pursuing reward and/or
avoidance of dysphoria by continued use of a substance. Addiction is typically characterized by
inability to abstain, difficulty controlling use, craving, and diminished recognition of problems
caused by drug use. Addiction is similar to other chronic diseases in that individuals are often
prone to cycles of relapse and remission. Without treatment, addiction can be progressive and
can even result in premature death.

Addiction to opioids is also referred to as Opioid Use Disorder (OUD). The American
Psychiatric Association (APA) has put forth a series of clinical criteria for use in diagnosing
Opioid Use Disorder as follows:4

    Opioid Use Disorder: OUD is defined as two or more of the following within a 12-month
    period:

    1.  Using larger amounts of opioids or over a longer period than was intended
    2.  Persistent desire to cut down or unsuccessful efforts to control use
    3.  Great deal of time spent obtaining, using, or recovering from use
    4.  Craving, or a strong desire or urge to use substance
    5.  Failure to fulfill major role obligations at work, school, or home due to recurrent opioid
        use
    6. Continued use despite recurrent or persistent social or interpersonal problems caused or
        exacerbated by opioid use
    7. Giving up or reducing social, occupational, or recreational activities due to opioid use
    8. Recurrent opioid use in physically hazardous situations
    9. Continued opioid use despite physical or psychological problems caused or exacerbated
        by its use
    10. Tolerance (marked increase in amount; marked decrease in effect)
    11. Withdrawal syndrome as manifested by cessation of opioids or use of opioids (or a
        closely related substance) to relieve or avoid withdrawal symptoms.

Opioids are highly addictive because they induce positive effects, such as euphoria and pain
relief (positive reinforcement) and cessation of chronic use produces dysphoria (negative
reinforcement). Chronic exposure to opioids results in structural and functional changes in



3Angres DH, Bettinardi-Angres K. (2008). The disease of addiction: origins, treatment, and recovery.
Dis. Mon., 54(10), 696–721 doi: 10.1016/j.disamonth.2008.07.002

4American Psychiatric Association., American Psychiatric Association. DSM-5 Task Force. Diagnostic
and statistical manual of mental disorders: DSM-5. 5th ed. Washington, D.C.: American Psychiatric
Association; 2013.




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 regions of the brain that mediate affect, impulse, reward, and motivation. 5 The disease of opioid
 addiction arises from repeated exposure to opioids and can occur in individuals using opioids to
 relieve pain and in nonmedical users. Studies have found that many patients on long-term
 opioids for chronic pain meet criteria for DSM-V opioid use disorder and DSM-IV opioid
 dependence.6

 Opioids affect the central part of the brain that regulates breathing and when enough opioids are
 taken, they can slow down breathing to the point of fatal respiratory depression. Opioid induced
 respiratory depression can eventually cause cardiac arrest. Respiratory depression caused by opioids
 has become the leading cause of unintentional injury death in the United States.7

 Not only can opioid use cause addiction, overdose and death, but for all opioid users
 physiological dependence sets in within a few days of regular use.8 The opioid withdrawal
 symptoms experienced when a physiologically dependent patient attempts to cease use can be
 severe, especially in patients who have used opioids for a prolonged period of time or were
 taking high doses. In the first few days after opioids are discontinued, withdrawal effects include
 flu-like symptoms, nausea, vomiting, diarrhea, pain hypersensitivity, insomnia and severe
 anxiety, akin to a panic attack and described in the medical literature as “a sense of impending
 doom.”9 Patients who have experienced opioid withdrawal often describe the experience as
 “feeling like I was going to die.” Individuals who are physiologically dependent on opioids will


 5Upadhyay J, et al. (2010). Alterations in brain structure and functional connectivity in prescription
 opioid-dependent patients. Brain, 133(Pt7), 2098–114 doi: 10.1093/brain/awq138; Younger JW, et al.
 (2011). Prescription opioid analgesics rapidly change the human brain. Pain, 152(8), 1803–10. doi:
 10.1016/j.pain.2011.03.0280

 6 Boscarino JA, Hoffman SN, Han JJ. (2015). Opioid-use disorder among patients on long-term opioid
 therapy: impact of final DSM-5 diagnostic criteria on prevalence and correlates. Subst Abuse Rehabil., 6,
 83-91. doi: 10.2147/SAR.S85667; Boscarino JA, Rukstalis MR, Hoffman SN, et al. (2011). Prevalence of
 prescription opioid-use disorder among chronic pain patients: comparison of the DSM-5 vs. DSM-4
 diagnostic criteria. J Addict Dis., 30(3), 185-194. doi: 10.1080/10550887.2011.581961

 7Nat’l Acads. of Science, Eng’g and Medicine, Pain Mgmt. and the Opioid Epidemic, National
 Academies Press (2017) at 17 (citing Rose Rudd, et al, (2016). Increases in Drug and Opioid-Involved
 Overdose Deaths — United States, 2010–2015, MMWR Morb Mortal Wkly Rep, 65 (50-51), 1445-52.
 DOI: http://dx.doi.org/10.15585/mmwr.mm655051e1

 8Kosten, T. et al., (2002). The Neurobiology of Opioid Dependence: Implications for Treatment, 1
 Science Practical Perspective, 1, 13–20 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2851054;
 Bailey, C. & Connor, M. Opioids: Cellular Mechanisms of Tolerance and Physical Dependence, 5
 Current Opinion in Pharmacology 1, at 60, https://www.ncbi.nlm.nih.gov/pubmed/15661627; Shah, A. et
 al., Characteristics of Initial Prescription Episodes and Likelihood of Long-Term Opioid Use- Unites
 States, 2006-2015, Morbidity and Mortality Weekly Report (Mar. 17, 2017), available at
 https://www.cdc.gov/mmwr/volumes/66/wr/mm6610a1.htm

 9San, L. et al., (1992) Assessment and Management of Opioid Withdrawal Symptoms in Buprenorphine‐
 Dependent Subjects, British J. of Addiction, 87(1), 55-62; Kosten, supra at note 31.




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 often engage in desperate and sometimes illegal activities to maintain their opioid supply and
 avoid withdrawal.

 Individuals who take high doses of opioids for an extended period of time can experience opioid
 withdrawal symptoms for several months after use is discontinued. 10 These prolonged symptoms
 include metabolic abnormalities, insomnia, fatigue and depression and cravings to use opioids.

 Opioids are essential medicines for palliative care. They can also be helpful when used for a few
 days after major surgery or a serious accident. Unfortunately, the bulk of opioid consumption in
 the U.S. is for common, chronic conditions, like back pain, where opioids may be more likely to
 harm patients than help them. There is not, and has never been, strong evidence to support the
 effectiveness of using opioids long-term to treat chronic pain, or for conditions beyond palliative
 care and acute pain. 11 In developing the CDC Guideline for Opioid Prescribing for Chronic
 Pain, CDC conducted a systematic review of the scientific evidence to identify the effectiveness,
 benefits, and harms of long-term opioid therapy for chronic pain. CDC found only one study
 addressing effectiveness of high dose opioids for outcomes related to pain control, function, and
 quality of life.12 This randomized trial found no difference in pain or function between a more
 liberal opioid dose escalation strategy and maintenance of current dosage. At the same time,
 CDC noted serious harms related to high dose opioid therapy. 13

 Despite the opioid industry’s aggressive promotion of long-term opioids for chronic pain,
 evidence suggests that the risks of daily opioid use outweigh potential benefits. When taken
 every day, patients quickly become tolerant to the pain-relieving effects, which means that the
 dose will need to be increased to experience the analgesic effect. As doses get higher the risks for
 serious adverse effects increase, including addiction and overdose, depression and
 neuroendocrine dysfunction.14As opioid doses increase patients are also likely to experience



 10Martin WR, Jasinski DR. (1969) Physiological parameters of morphine dependence in man--tolerance,
 early abstinence, protracted abstinence. J Psychiatr Res., 7(1), 9-17 DOI: 10.1016/0022-3956(69)90007-7

 11Erin Krebs, Effect of Opioid vs Nonopioid Medications on Pain-Related Function in Patients With
 Chronic Back Pain or Hip or Knee Osteoarthritis Pain: The SPACE Randomized Clinical Trial, (2018)
 319(9), 872-882. doi:10.1001/jama.2018.0899; Jason Busse. (2018). Opioids for Chronic Noncancer Pain
 A Systematic Review and Meta-analysis. JAMA 320(23), 2448-2460. doi:10.1001/jama.2018.18472);
 National Academies of Science, Engineering and Medicine, Pain Management and the Opioid Epidemic:
 Balancing Societal and Individual Benefits and Risks of Prescription Opioid Use 17 (Phillips, et al. eds.,
 2017) (hereinafter, “NASEM, Pain Management and the Opioid Epidemic”).

 12Naliboff BD, et al. (2011). A randomized trial of 2 prescription strategies for opioid treatment of
 chronic nonmalignant pain. J Pain,12(2), 288–96. doi: 10.1016/j.jpain.2010.09.003

 13Dowell D, et al. (2016). CDC guideline for prescribing opioids for chronic pain—United States, 2016.
 JAMA, 315(15), 1624-1645. doi:10.1001/jama.2016.1464

 14Centers for Disease Control and Prevention (CDC). Vital signs: Overdoses of prescription opioid pain
 relievers and other drugs among women—United States, 1999–2010. MMWR Morb Mortal Wkly
 Rep 2013, 62(26), 537–542; Baldini A. et al. (2012). A review of potential adverse effects of long-term



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 sedation and a decreased level of functioning. Many patients on long-term opioids are not doing
 well. A large observational study of long-term opioids found that four out of five chronic pain
 patients taking opioids continued to experience significant pain and dysfunction.15 In the study,
 middle-aged women, a target market for the opioid industry, experienced especially poor
 outcomes.

 In fact, not only is credible evidence lacking to support claims of effectiveness, evidence
 suggests that chronic use of opioids can even make pain worse, a phenomenon called
 hyperalgesia.16

 Finally, one of the primary limitations to daily, long-term opioid use is the development of
 tolerance. When opioids are taken daily, the patient rapidly becomes tolerant to the pain-
 relieving effects. To maintain pain relief, the dose must be increased. 17 As opioid doses rise, the
 risk of serious adverse effects increase, including addiction, neuroendocrine dysfunction,
 sedation, respiratory depression and death. Additionally, tolerance to the euphoric or analgesia
 effects of opioids develops more quickly than tolerance to the respiratory depression effect,
 putting users at a serious risk of overdose. 18

      2.     There has been a sharp increase in the prevalence of opioid addiction, abuse,
             overdose and death in the United States, in West Virginia and in Cabell County
             and the City of Huntington. The increased prevalence of opioid addiction has
             resulted in an array of health and social problems commonly referred to as “the
             Opioid Epidemic.”19


 opioid therapy: A practitioner's guide. Prim Care Companion CNS Disord, 14(3), pii. doi:
 10.4088/PCC.11m01326

 15LeResche L. et al. (2015). Sex and Age Differences in Global Pain Status Among Patients Using
 Opioids Long Term for Chronic Noncancer Pain. J Womens Health (Larchmt), 24(8), 629-635. doi:
 10.1089/jwh.2015.5222

 16Compton, P., et al. (2003). Withdrawal Hyperalgesia After Acute Opioid Physical Dependence in
 Nonaddicted Humans: A Preliminary Study. The Journal of Pain (4)9, 511-519. doi:
 10.1016/j.jpain.2003.08.003

 17Volkow, N., et al. (2016). Opioid Abuse in Chronic Pain-Misconceptions and Mitigation Strategies. N.
 Engl. J. Med., (374), 1253, 1256. doi: 10.1056/NEJMra1507771

 18Id. (citing Hill, R. et al. (2016). Ethanol Reversal of Tolerance to the Respiratory Depressant Effects of
 Morphine. Neuropsychopharmacology, (41)(3), 762-73. doi: 10.1038/npp.2015.201; GS. et al. (1989).
 Differential Development of Acute Tolerance to Analgesia, Respiratory Depression, Gastrointestinal
 Transit and Hormone Release in a Morphine Infusion Model. Life Sci., 45(18), 1627-36. 0.1016/0024-
 3205(89)90272-5

 19I have reviewed the Expert Report of Kathleen Keyes, Ph.D. and the data, studies and statistics
 regarding prevalence further form the basis for my opinion herein. I will therefore not restate the data,
 studies and evidence Dr. Keyes discusses here.




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 In the 1980s and early 1990s, the incidence of opioid addiction in the United States was
 relatively low and deaths from opioid overdose mainly occurred in poor, urban communities with
 a high prevalence of heroin addiction.

 Beginning in the early 1980s, however, a campaign against conservatism in opioid prescribing
 began to take place. 20 In a 1980 New England Journal of Medicine letter by Jane Porter and Dr.
 Hershel Jick, the authors found only four “reasonably well documented cases of addiction”
 among nearly 12,000 hospitalized patients with no history of addiction who had received any
 narcotic preparation.21 While Porter and Jick had only looked at medical records for hospitalized
 patients, Purdue starting using the study to claim that less than one percent of patients treated
 with opioids became addicted.22 In turn, Pain specialists routinely cited it in their
 lectures.23 Pain management specialists, including Dr. Kathleen Foley, presented Porter and
 Jick’s findings as evidence that “medical use of opioids is rarely associated with the development
 of addiction.”24 In 1986, a paper written by Dr. Russell Portenoy and Kathy Foley, who were to
 become prominent “key opinion leaders” for the opioid industry, described the treatment of 38
 chronic pain patients and concluded that opioid pain relievers could be prescribed safely on a
 long-term basis.25 Despite its low-quality evidence, the paper was widely cited to support
 expanded use of opioids for chronic non-cancer pain. The paper also failed to disclose that Drs.
 Portenoy and Foley had financial ties to Purdue Pharma.

     Industry joined together to dramatically expand the overall market for opioids far beyond its
 legitimate use for acute pain, cancer pain, palliative care and catastrophic injury. Specifically,
 industry orchestrated a multi-faceted misinformation campaign that included false medical
 “consensus” through paid and co-opted “experts” and specialty “professional” groups to give the
 medical community at large the impression that “the experts” endorsed widespread opioid use
 and to create doubt regarding what science and evidence had shown for centuries. Industry
 created “patient advocacy groups” and funded professional organizations to spread the false
 message that fear of aggressive opioid prescribing was irrational “opiophobia” and was a barrier



 20In additional to documents and publications cited herein, additional documents supporting my opinions
 in this Section are contained at Schedule 4 to this Report.

  Porter J, Jick H. (1980). Addiction Rare in Patients Treated with Narcotics. New England Journal of
 21
 Medicine 302(2), 123. doi: 10.1056/nejm198001103020221

 22Zhang, S. The One-Paragraph Letter From 1980 That Fueled the Opioid Crisis, The Atlantic (June 2,
 2017), available at, https://www.theatlantic.com/health/archive/2017/06/nejm-letter-opioids/528840/.

 23   Id.

 24Ny, L. (Ed.). (1981). New Approaches to Treatment of Chronic Pain: A Review of Multidisciplinary Pain
 Clinics and Pain Centers, Washington: D.C., Government Printing Office, at 169-181, available at
 https://archives.drugabuse.gov/sites/default/files/monograph36.pdf.

 25Portenoy RK, Foley KM. (1986). Chronic use of opioid analgesics in non-malignant pain: report of 38
 cases. Pain 25(2), 171–86. doi: 10.1016/0304-3959(86)90091-6




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 to compassionate treatment of pain.26 They worked through organizations that directly impact
 clinical care like the Joint Commission and the Federation of State Medical Boards, to create a
 new standard of care where all pain must be assessed and treated and where clinicians must
 prescribe opioids or suffer negative professional ramifications. Armed with this phony
 “consensus” and the new “standards,” the opioid industry then deployed massive armies of sales
 representatives, “educational programming,” and “literature” to spread that “consensus” and
 these new “standards” across the country.

 Industry’s message was spread to medical schools in the late in the 1990s. I experienced this
 messaging first-hand in my medical training. As I explained in a 2010 interview, “[i]f patients
 have legitimate pain, we were taught that they don’t become addicted to these medicines, and
 that instead of allowing people to suffer needlessly, we should be much more liberal in our
 prescribing of opioids.”27

 Some notable events in the opioid industry’s misinformation campaign, included:

       -   In 1995, the president of the American Pain Society (APS), an industry front group,
           introduced a campaign entitled “Pain is the Fifth Vital Sign” at the society’s annual
           meeting. This campaign encouraged health care professionals to assess pain with the
           “same zeal” as they do with vital signs and urged more aggressive use of opioids for
           chronic non-cancer pain.28 Shortly thereafter, the Veterans’ Affairs health system, as
           well as the Joint Commission, which accredits hospitals and other health care
           organizations, embraced the “Pain is the Fifth Vital Sign” campaign to increase the
           identification and treatment of pain, especially with opioid pain relievers. 29


       -   With MS Contin’s patent set to expire in 1996, Purdue patented in 1993, and marketed in
           1996, Oxycontin – an oxycodone analgesic that purportedly modulated opioid highs and
           lows to provide ongoing pain relief, eliminating the temptation to increase the amount or



 26Kolodny A, et al. (2015). The prescription opioid and heroin crisis: a public health approach to an
 epidemic of addiction. Annu Rev Public Health, 36, 559-74. doi: 10.1146/annurev-publhealth-031914-
 122957; U.S. Senate Homeland Security & Governmental Affairs Committee. (Feb. 2018). Fueling an
 Epidemic, Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
 Groups, U.S. Senate, at 1, available at, https://www.hsgac.senate.gov/imo/media/doc/REPORT-
 Fueling%20an%20Epidemic-
 Exposing%20the%20Financial%20Ties%20Between%20Opioid%20Manufacturers%20and%20Third%2
 0Party%20Advocacy%20Groups.pdf; see also Schedule 4.

 27   Long-Term Opioid Therapy Reconsidered (interviews).

 28   Campbell, JN. (1996). APS 1995 presidential address. Pain Forum 5:85–88.

 29Kolodny A, et al. (2015). The Prescription Opioid and Heroin Crisis: A Public Health Approach to an
 Epidemic of Addiction. Annu. Rev. Public Health, 36, 559-74. doi: 10.1146/annurev-publhealth-031914-
 122957



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           frequency of doses.30 Prior to the introduction of OxyContin, many physicians were
           reluctant to prescribe opioid pain relievers on a long-term basis for common chronic
           conditions because of their concerns about addiction, tolerance, and physiological
           dependence.31 To overcome what they claimed to be “opiophobia,” physician-
           spokespersons for opioid manufacturers published papers and gave lectures in which they
           claimed that the medical community had been confusing addiction with “physical
           dependence.” They described addiction as rare and completely distinct from so-called
           “physical dependence,” which was said to be “clinically unimportant.”32

       -   By May 1996, Purdue had initiated or planned nineteen “OxyContin Wholesaler Special
           Programs.” Three distributors, Bergen Brunswig Corporation (which in 2001 merged
           with AmeriSource Health to become AmericsourceBergen Corporation), Cardinal Health,
           and McKesson were to receive over 82 percent of Purdue’s initial expenditure for rebates,
           telemarketing, and screen-saver advertising.33 In June 1996, Guerdon R. Green,
           executive director of Purdue’s National Accounts and Trade Division, thanked the
           wholesalers for “the assistance the active NWDA [National Wholesale Druggists’
           Association] members gave us in the marketing of this product.” 34 In 1996, the rate of
           opioid use began accelerating rapidly. 35 This acceleration was fueled in large part by the
           introduction of OxyContin.

       -   In 1997, the APS and American Academy of Pain Medicine (AAPM), two industry front
           groups, issued a “consensus statement” that claimed: (1) “the de novo development of
           addiction when opioids are used for the relief of pain is low”; (2) side effects were either
           easily treated or “usually dissipate with continued use”; (3) “tolerance has not proven to
           be a prevalent limitation to long term opioid use”; (4) what appears as “tolerance is
           usually progression of disease”; (5) “for most opioids, there does not appear to be an
           arbitrary upper dosage limit, as was previously thought”; and (6) “that respiratory




 30Harriet Ryan, Lisa Girion & Scott Glover, ‘You Want a Description of Hell:’ OxyContin’s 12-Hour
 Problem, Los Angeles Times (May 5, 2016), available at https://www.latimes.com/projects/oxycontin-
 part1/.

 31Turk, DC, et al. (1994). Physicians’ attitudes and practices regarding the long-term prescribing of opioids
 for non-cancer pain. Pain, 59(2), 201–208. doi: 10.1016/0304-3959(94)90072-8

 32Portenoy RK. 1996. Opioid therapy for chronic nonmalignant pain: clinicians’ perspective. J. Law Med.
 Ethics, 24(4), 296–309. doi: 10.1111/j.1748-720x.1996.tb01871.x

 33   PKY181732374.

 34   PDD1701421278.

  International Narcotics Control Board (INCB). (2007). The Report of the International Narcotics Control
 35
 Board for 2007. Vienna: INCB. United Nations.




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            depression induced by opioids tends to be a short-lived phenomenon, generally occurs
            only in the opioid-naive patient, and is antagonized by pain.” 36

        -   In April 1998, the Federation of State Medical Boards (FSMB) approved model
            guidelines for the use of controlled substances in treating pain. The core message was
            that pain was undertreated and that state medical boards should, in cooperation with state
            attorneys general, ease regulatory restrictions that “impede the effective use of opioids to
            relieve pain.”37 The guidelines were written with the help of unspecified contributions to
            APS and AAPM, among other organizations. The 1998 guidelines were widely
            distributed to state medical boards, medical professional organizations, other health care
            regulatory boards, patient advocacy groups, pharmaceutical companies, state and federal
            regulatory agencies, and practicing physicians and other health care providers.

 As a result of these activities and a well-coordinated industry campaign between the opioid
 manufacturers and distributors (see Section VI(4)), below, opioid use began to soar in the
 1990s.38 Significantly, however, such growth could not have occurred without the assistance of
 the wholesalers who distributed the drugs. As detailed below, McKesson, Cardinal, and
 AmerisourceBergen, known as the “Big Three,” used various marketing tools to promote opioid
 analgesics and the revisionist message of liberalized prescribing that fostered sales and addiction.
 In the mid-1990s, the distributors assumed an active role and continued to expand their role over
 the next two decades (see Section VI(4)). Distributors did more than simply ship orders, but
 rather sold services designed to increase demand, including drafting template letters, establishing
 programs on how pharmacists could advise and reassure patients about opioids, and placing in-
 pharmacy digital advertisements to appeal to customers.

 In fact (as discussed in Sections VI(4) below), Defendants were Purdue and other opioid
 manufacturer’s essential business partners in growing demand for prescription opioids. From the
 beginning, Purdue recognized the need to involve the Defendants in the campaign to grow the
 prescription opioid market, noting that “over 80% of the current drug market [was] controlled by
 four players: McKesson, Bergen, Cardinal, and AmeriSource.”39 Purdue recognized that
 “[c]ontacts [with distributors] will facilitate us moving effortlessly through the organization.”40




 36 Haddox, JD. et al. (1997). “The Use of Opioids for the Treatment of Chronic Pain: A Consensus
 Statement from the American Academy of Pain Medicine and the American Pain Society.” Clinical Journal
 of Pain 13, 6-8.

 37 FSMB, “Model Policy for the Use of Controlled Substances for the Treatment of Pain,” available at
 https://dprfiles.delaware.gov/medicalpractice/Model_Policy_Treatment_Pain.pdf

 38   See also Schedule 4.

 39   PKY181715440 at 442.

 40   Id. at 443.




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 In Purdue’s pre-launch meeting notes, it was clear the Defendants were to play a major role in
 increasing the supply of Oxycontin.41

 Through the early years of Oxycontin’s promotion, Defendants played a critical role in the
 marketing of the product.42 Cardinal telemarketers promoted OxyContin to pharmacies in early
 1996, and, in 1997, provided “DSP Marketing Points” to opioid manufacturers who signed
 distribution deals.43 AmerisourceBergen and its predecessor, Bergen Brunswig, offered similar
 services, as well used its Accusource System to push customers pharmacy customers to Purdue’s
 Oxycontin brand rather than its competition.44 By the early 2000s, Purdue agreed to market
 OxyContin through PlusCare, Bergen’s managed care business. Using cover letters bearing the
 PlusCare and Good Neighbor Pharmacy logos, Bergen dispatched customized document
 mailings to more than 1,800 members of its national pharmacy network, after which Purdue sent
 sales representatives to the same pharmacies “to make sure a) they received the information b)
 would they like additional information c) make sure that they are stocking OxyContin d) make
 the pharmacist aware of who the high prescribers of opioids are in the area e) inform the provider
 that this particular ‘Good Neighbor Pharmacy’ stocks OxyContin and f) further educate the
 pharmacist on proper pain management.”45 Joseph Hennessy, a Purdue senior area manager for
 managed care, wrote that these mailings “provide[] us a good opportunity to educate pharmacists
 on proper pain management and why OxyContin is appropriate. They in turn can help educate
 patients on why this medicine is appropriate vs. questioning why the patient is prescribed.”46

 This was only the beginning. As detailed in Sections VI(4) below, Defendants and opioid
 manufacturers worked in a coordinated and vertically integrated supply chain that worked
 together to grow the market for prescription opioids through a variety of methods.47

 Not only did opioid manufacturers and Defendants work together with one goal, “to sell
 product,”48 but the opioid industry cooperated and coordinated through three main overlapping

 41   PKY180255278

 42See e.g. PKY180255278; PDD8801142910; PKY180256902; PPLPC030000271126;
 PPLPC009000007590; PPLPC029000022136; PDD8801281191; PPLPC008000013580;
 PPLPC004000145999; PPLPC004000146529; PKY181284712.

 42PPLPC029000022136; PDD8801281191; PPLPC008000013580; PPLPC004000145999;
 PPLPC004000146529.

 43   PDD1706044077; PDD1701383797.

 44   PDD8801142910

 45   PPLPC035000003770.

 46   PPLPC034000102543; see also PPLPC029000022136; PDD8801281191.

 47   See also Expert Report of Jakki Mohr, Ph.D.

 48   MCKMDL00543971 at 972; see also Expert Report of Jakki Mohr, Ph.D.




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 organizations (the Pain Care Forum, the HDA and the National Association of Chain Drug
 Stores (“NACDS”)) to coordinate their campaign to dramatically increase demand for
 prescription opioids, maintaining supply and enabling unfettered access to the prescription
 opioids they were selling (see also SectionVI(4)(a)(5), below). These organizations brought
 together the key players in the industry misinformation campaign. For example, the Pain Care
 Forum included opioid manufacturers, key front groups used to disseminate misinformation like
 the APS, AAPM and APF, the HDA (distributors association) and the FSMB, a key player in
 adopting guidelines to change medical practice towards accepting opioids for widespread use. 49
 Similarly, industry including opioid distributors and affiliate member opioid manufacturers
 combined within the forum of the HDA to advance the goals of the opioid industry. 50 These
 groups and their members often trumpeted the opioid industry messages, without disclosing their
 industry funding. Indeed, as when the United States Senate investigated some of the front
 groups in 2018, the Committee found that they “often echoed and amplified messages favorable
 “to increased opioid use- and ultimately, the financial interests of opioid manufacturers.”51
 According to the Senate, “these groups have issued guidelines and policies minimizing the risk
 of opioid addiction and promoting opioids for chronic pain, lobbied to change laws directed at
 curbing opioid use, and argued against accountability for physicians and industry executives
 responsible for over prescription and misbranding.”52

 Based on my review of documents, testimony, literature and my professional experience, it is
 clear to me that the opioid industry worked to create and maintain an inaccurate perception of
 opioid risks and benefits to influence the medical community, the public, regulators, professional
 governing bodies and standards organizations and did so in part through front groups including
 those described herein, those described in the United States Senate’s Homeland Security and
 Governmental Affairs Committee Report, Fueling an Epidemic, Exposing the Financial Ties
 Between Opioid Manufacturers and Third Party Advocacy Groups, (2018).53




 49Burt Rosen [Purdue] Deposition (January 16, 2019) at 59:23-60:13; Rosen Ex 1. PPLP004272094 at
 096.

 50See generally, Patrick Kelly [HDA] Deposition (May 10, 2019) at 332:2-347:23 (discussing Ex. 35
 (CAH_MDL2804_01110712)that describes HDA’s task force functions that include DEA
 communications, lobbying, legislative activity and media campaigns); John Gray [HDA] Deposition (July
 30, 2020) at 79:16-25.

 51U.S. Senate. Fueling an Epidemic, Exposing the Financial Ties Between Opioid Manufacturers and
 Third Party Advocacy Groups, U.S. Senate Homeland Security and Governmental Affairs Committee,
 Minority Staff Report (Feb. 2018), available at https://www.hsgac.senate.gov/imo/media/doc/REPORT-
 Fueling%20an%20Epidemic-
 Exposing%20the%20Financial%20Ties%20Between%20Opioid%20Manufacturers%20and%20Third%2
 0Party%20Advocacy%20Groups.pdf. (hereinafter “U.S. Senate. Fueling and Epidemic”).

 52   Id.

 53   See also Schedule 4 to this Report.




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 Industry coordinated and promoted the false messages through these groups and their member
 organizations to falsely portray that there was a new medical “consensus” that opioids could be
 widely used for any duration to treat non-cancer pain and that all pain needed to be treated. As
 Richard Sackler, President of Purdue Pharma, acutely, observed, accomplishing a wide spread
 change in opioid prescribing, and thus sales, had to be done through a multi-faceted and
 coordinated effort and that “the fate of our products [is] inextricably bound with the pain
 movement.”54 The “pain movement,” however, was funded by, and made up of industry. 55 Pain
 Care Forum members alone were reported to have spent $900 million in lobbying state and
 federal policymakers.56 Funding was often well hidden. As addressed by one industry front
 group head (the Wisconsin Pain and Policy Studies Group), when asked about the group’s
 influence: “I’m impressed that you could detect our fingerprints... I’ll wear gloves next time.”57

 It is not a surprise that starting in the late 1990s there was sharp and steady climb in the
 incidence of opioid addiction and opioid-related overdose deaths, climbing to a level that
 prompted the CDC to call to call the crisis the “worst drug overdose epidemic in [US] history”
 and note that the primary driver was an unprecedented increase in prescription opioid
 consumption.58 Indeed, from 1997 to 2012 there was a 900% increase in individuals seeking
 treatment for addiction to prescription opioids.59 During this same time frame, the rate of opioid-
 related overdose deaths nearly quadrupled.60

 Accidental opioid overdose is a common cause of death in individuals suffering from opioid
 addiction.61 Consistent findings in samples of prescription overdose decedents show that deaths

 54   PPLPC045000004928 at 929.

 55   See e.g. U.S. Senate. Fueling and Epidemic.

 56Perrone, M. and Wieder, B. Pro-painkiller echo chamber shaped policy amid drug epidemic.
 Associated Press (Sept. 19, 2016), available at https://publicintegrity.org/state-politics/pro-painkiller-
 echo-chamber-shaped-policy-amiddrug-epidemic/

 57   WIS_PPSG_000036.

 58Paulozzi, LJ. (2010). The epidemiology of drug overdoses in the United States. Grand Rounds Lecture
 Presented at Maimonides Med. Cent. Dep. Psychiatry, Brooklyn, New York.

 59SAMHSA (Subst. Abuse Ment. Health Serv. Adm.). 2010. Center for Behavioral Health Statistics and
 Quality. Treatment Episode Data Set (TEDS): 2007. Discharges from Substance Abuse Treatment
 Services. DASIS Ser.: S-51, HHS Publ. No. (SMA) 10-4479. Rockville, MD: SAMHSA; SAMHSA
 (Subst. AbuseMent. Health Serv. Adm.). 2013. Center for Behavioral Health Statistics and Quality.
 Treatment Episode Data Set (TEDS): 2001–2011. National Admissions to Substance Abuse Treatment
 Services. BHSIS Ser. S-65, DHHS Publ. No. SMA 13-4772. Rockville, MD: SAMHSA.

 60Chen, LH. et al. (2014). Drug-Poisoning Deaths Involving Opioid Analgesics: United States, 1999–
 2011. NCHS Data Brief No. 166. Hyattsville, MD: Natl. Cent. Health Stat.

 61HserYI, Hoffman V, Grella CE, Anglin MD. (2001). A 33-year follow-up of narcotics addicts. Arch.
 Gen. Psychiatry, 58(5), 503–8. doi: 10.1001/archpsyc.58.5.50
 .



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 are most common in individuals likely to be suffering from opioid addiction. 62 For example, a
 study of 295 unintentional prescription overdose deaths in West Virginia found that four out of
 five decedents (80%) had a history of a substance use disorder.63 The sharp increase in the
 prevalence of opioid addiction is a key driver of opioid-related morbidity and mortality.

 As addiction to prescription opioids increased, so did overdose and death. According to the
 CDC, and as illustrated in the chart below, the “age-adjusted rate of drug overdose deaths
 increased from 6.1 per 100,000 standard population in 1999 to 21.7 in 2017:”64




 62Kolodny, A. et al. (2015). The prescription opioid and heroin crisis: a public health approach to an
 epidemic of addiction. Annu Rev Public Health, 36, 559-574. https://doi.org/10.1146/annurev-publhealth-
 031914-122957; Hall, AJ. et al. (2008). Patterns of abuse among unintentional pharmaceutical overdose
 fatalities. JAMA 300(22), 2613–20. doi: 10.1001/jama.2008.802; Johnson EM, Lanier WA, Merrill RM,
 Crook J, Porucznik CA, et al. 2013. Unintentional prescription opioid-related overdose deaths:
 description of decedents by next of kin or best contact, Utah, 2008–2009. J. Gen. Intern. Med., 28(4),
 522–29. doi: 10.1007/s11606-012-2225-z9

 63Kolodny, A. et al. (2015). The prescription opioid and heroin crisis: a public health approach to an
 epidemic of addiction. Annu Rev Public Health, 36, 559-574. https://doi.org/10.1146/annurev-publhealth-
 031914-122957

 64Report by the United States House of Representatives Energy and Commerce Committee, Red Flags
 and Warning Signs Ignored: Opioid Distribution and Enforcement Concerns in West Virginia, December
 19, 2018 at 23 (hereinafter “Congressional Report”); citing Centers for Disease Control and Prevention,
 Drug Overdose Deaths in the United States, 1999-2017, NCHS Data Brief (Nov. 2008) available at
 https://www.cdc.gov/nchs/data/databriefs/db329-h.pdf.
 .



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 Between 1999 and 2016, 351,000 lives were lost to opioid overdose. 65 In 2017, the CDC
 announced that the United States life expectancy had actually declined in the last several years,
 due to the increase in drug overdose deaths:

           The latest CDC data show that the U.S. life expectancy has declined over the past few
           years. Tragically, this troubling trend is largely driven by deaths from drug overdose and
           suicide. Life expectancy gives us a snapshot of the Nation’s overall health and these
           sobering statistics are a wakeup call that we are losing too many Americans, too early and
           too often, to conditions that are preventable. 66

 The rise in opioid consumption and addiction has also been associated with a sharp increase in
 emergency room visits for nonmedical prescription opioid use67 and in neonatal abstinence
 syndrome.68

 Defendants internal documents recognize that the opioid pills they supplied have caused a
 “national epidemic.”69 Indeed, as Defendant McKesson observed in internal documents, by
 2013:70

       -   More than 45 people were dying per pay in this country from prescription opioids;

       -   Each year from 1999 to 2010 that death toll rose (from 4,030 in 1999 to 16,651 in 2010
           alone);

       -   By 2013, 1 in 20 people in the U.S. reported using prescription opioids non-medically in
           the past year;

       -   By 2012, there were 6,700 new prescription opioid users per day;



 65Centers for Disease Control and Prevention, Data Brief 294. Drug Overdose Deaths in the United
 States, 1999- 2016, available at https://www.cdc.gov/nchs/data/databriefs/db294_table.pdf#page=4.

 66Centers for Disease Control and Prevention. Press Release: CDC Director’s Media Statement on U.S.
 Life Expectancy (Nov. 29, 2018) available at https://www.cdc.gov/media/releases/2018/s1129-US-life-
 expectancy.html

  SAMHSA (Subst. Abuse Ment. Health Serv. Adm.). (2013). Drug Abuse Warning Network, 2011:
 67
 National Estimates of Drug-Related Emergency Department Visits. DHHS Publ. No. SMA 13-4760,
 DAWN Ser. D-39. Rockville, MD: SAMHSA.

 68Patrick,
          SW, et al. (2012). Neonatal abstinence syndrome and associated health care expenditures:
 United States, 2000–2009. JAMA, 307(18), 1934-40. doi: 10.1001/jama.2012.3951

 69   MCK-AGMS-006-0000903; MCKMDL00407451

 70   MCK-AGMS-006-0000903




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        -   The economic impact to America was greater than $57 billion dollars per year.

 Internally. McKesson recognized that the prescription Opioid Epidemic (that McKesson termed
 “the pill spill”) dwarfed other historical disasters, including the BP oil spill.71

 West Virginia has been accurately characterized as “ground zero” in the opioid crisis. As an
 investigation by the United States House of Representatives Energy and Commerce Committee
 found, “[t]he sudden influx of prescription opioids, leading to the resulting increases in abuse
 and addiction, has had profound effects on West Virginia.”72 A study published in the Journal of
 the American Medical Association in December 2008 found that, in 2006, 93 percent of the
 unintentional overdose deaths attributable to prescription drugs in West Virginia involved
 opioids.73 The study also found that 63 percent of the overdose deaths were associated with
 pharmaceutical diversion, and 21 percent exhibited evidence of doctor shopping.74 The study
 also noted “[t]he Drug Enforcement Administration confirms that drug diversion was widespread
 in West Virginia and the Appalachian region during this period.”75

        Deaths from drug overdose in West Virginia exceed the national average:76




 71   See MCK-AGMS-006-0000896- MCK-AGMS-006-0000897.

 72   Congressional Report at 25.

 73    Hall, A., et al. (2008). Patterns of Abuse Among Unintentional Pharmaceutical Overdose Fatalities,
      JAMA, (300)(22), 2613, 2619. doi: 10.1001/jama.2008.802

 74   Id. at 2616.

 75   Id. at 2619; citing Drug Market Analysis 2008: Appalachia High Intensity Drug Trafficking Area, a
      Report by DOJ National Intelligence Center (2008).

 76Source: West Virginia Board of Pharmacy, Prescription Opioid Problematic Prescribing
 Indicators County Report: Cabell County, October 2017




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 West Virginia has had the highest age-adjusted rate of opioid-related overdose deaths in the
 nation,77 a fact Defendants were well aware of and acknowledged in internal documents.78 In
 2017, there were 833 drug overdose deaths involving opioids in West Virginia—a rate of 49.6
 deaths per 100,000 persons. This is double the rate in 2010 and threefold higher than the national
 rate of 14.6 deaths per 100,000 persons.79 While the national rate of drug overdose deaths
 increased 149% from 2001 to 2016, West Virginia saw a 316% increase, with most overdose
 deaths involving at least one opioid.80

 The Cabell- Huntington Community is one of the hardest hit communities. The rate of drug
 overdose deaths in Cabell County exceeds the state average:81




  Centers for Disease Control and Prevention, Drug Overdose Deaths in the United States, 1999-2017,
 77
 NCHS Data Brief (Nov. 2008) available at https://www.cdc.gov/nchs/data/databriefs/db329-h.pdf.

 78MCKMDL00407451;       MCKMDL00407477; MCKMDL00336347 at slides 26 & 115;
 MCKMDL0211520 (2014 Controlled Substances Flyer); ABDCMDL08366648; ABDCMDL00312630
 (internal memo stating “West Virginia data: Highest opioid death rate in U.S.”); ABDCMDL00310680
 (HHS Press Release produced by AmerisourceBergen acknowledging the opioid crisis in West Virginia);
 CAH_FEDWV_00289109 at 116 (“West Virginia currently [2012] has prescription drug overdose rates
 (25.8%) nearly five times that of the state with the lowest rate (Nebraska us 5.5%).”); see also,
 CAH_FEDWV_00406037 (2016 West Virginia BOP Report.

 79National Institute on Drug Abuse (NIDA), West Virginia Opioid Summary, June 13, 2019, available at
 https://www.drugabuse.gov/opioid-summaries-by-state/west-virginia-opioid-summary.

 80W. Va. Dep’t of Health and Human Res., 2016 West Virginia Overdose Fatality Analysis: Healthcare
 Systems Utilization, Risk Factors, and Opportunities for Intervention, at 9, Dec. 20, 2017 available at
 https://dhhr.wv.gov/bph/Documents/ODCP%20Reports%202017/2016%20West%20Virginia%20Overdo
 se%20Fata lity%20Analysis_004302018.pdf.

 81West Virginia Board of Pharmacy, Prescription Opioid Problematic Prescribing
 Indicators County Report: Cabell County, October 2017, available at
 https://helpandhopewv.org/docs/PFS_County_Reports/Cabell_PfS%20County%20Reports_Final.pdf.




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 In 2016, the rate of opioid overdose death in Cabell County was 124.0 per 100,000, compared to
 a rate of 40.6 per 100,000 in the state of West Virginia, and Cabell County had the highest opioid
 overdose death rate of any county in the state. 82 In 2016, Cabell County had the second highest
 opioid overdose death rate of any county in the nation.83 In 2017, more people in Cabell County
 died of overdose than in any other West Virginia county. In 2018, Cabell County had the highest
 opiate overdose death rate of any county in the nation at 127.1 per 100,000. 84

 Overdose mortality is not the only adverse public health outcome associated with the opioid
 addiction crisis. The increased prevalence of opioid addiction has also led to an array of health
 and social problems in the United States and in West Virginia, including increasing use of heroin
 and fentanyl, increasing rates of injection-related infectious diseases, a negative impact on the
 work force, and soaring increases in neonatal abstinence syndrome and children entering foster
 care system.85 These problems are described as occurring acutely in the Cabell-Huntington
 Community as follows:86

            Cabell County, WV, has been ravaged by the harmful effects of the substance use
            epidemic. This has culminated in increased drug activity, the highest rate of overdoses
            and overdose deaths our nation has seen, and poor health outcomes.

            Huntington readily recognized the severity of the issue seen in reported rates of overdose,
            overdose-associated deaths, and incidence of neonatal abstinence syndrome - the highest
            in the nation. The county has also been monitoring the sharp rise in the incidence of
            infections and other diseases associated with substance use, including hepatitis B and C,
            sexually transmitted infections, endocarditis, and most importantly - a recent HIV cluster.


 82   Id.

 83Centers for Disease Control and Prevention. Multiple Cause of Death Data, available at
 https://wonder.cdc.gov/mcd.html.

 84   Id.

 85 Congressional Report at 25-26; Lynch S, Sherman L, Snyder SM, Mattson M. (2018). Trends in infants
 reported to child welfare with neonatal abstinence syndrome (NAS). Child Youth Serv Rev., 86(C), 135-
 141. doi: 10.1016/j.childyouth.2018.01.035; O’Donnell JK, Gladden RM, Seth P. (2017). Trends in
 deaths involving heroin and synthetic opioids excluding methadone, and law enforcement drug product
 reports, by census region—United States, 2006-2015. MMWR Morb Mortal Wkly Rep., 66(34), 897-903.
 doi: http://dx.doi.org/10.15585/mmwr.mm6634a2External; Paquette CE, Pollini RA. (2018). Injection
 drug use, HIV/HCV, and related services in nonurban areas of the United States: a systematic review.
 Drug Alcohol Depend, 188, 239-250. doi: 10.1016/j.drugalcdep.2018.03.049; Krueger AB. Where have
 all the workers gone? An inquiry into the decline of the US labor force participation rate. Brookings
 Papers on Economic Activity Conference, available at https://www.brookings.edu/bpea-articles/where-
 have-all-the-workers-gone-an-inquiry-into-the-decline-of-the-u-s-labor-force-participation-rate/,
 Published August, 2017.

 86Resiliency Plan for Cabell County. In: Division of Addiction Sciences, ed.
 https://jcesom.marshall.edu/media/58477/2020_cabell-county-resiliency-plan_final.pdf2020.




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            In Huntington, as heroin became more popular and widespread, and the rates of
            infectious diseases, overdose, and overdose death quickly increased, this culminated in a
            shocking outbreak of 27 overdoses in just four hours in the city of Huntington on August
            15, 2016.

 I have been provided with the deposition testimony of several witnesses from the Cabell-
 Huntington Community, a list of which is contained on Schedule 3 to my Report. These
 witnesses describe the devastation opioids have wrecked on the Cabell-Huntington Community.
 Some notable testimony includes:

       -    Jan Rader, Fire Chief for the City of Huntington, described the Opioid Epidemic in
            Huntington as “horrific,” and stated that “There’s not one person in this area that I know
            that has not been touched or had collateral damage to them, themselves from the …
            Opioid Epidemic. It is horrendous.”87 Rader describes the effect of the Opioid Epidemic
            on the community stating “This is a war zone. This is a war zone for first responders. It’s
            a war zone for children. That’s all they know growing up, is death and destruction.” 88

       -    Scott Lemley, former member of the City’s Office of Drug Control Policy for the
            Huntington Police Department, testified that in 2015 “13.78 percent of the population of
            the County is addicted to something.” 89 “[I]t’s horrible. It has affected every aspect of
            what we do in Huntington from social – It’s socioeconomic. It affects the University; it
            affects our medical community; it affects our quality of life and our parks; it affects our
            first responders; it affects our property values.” 90

       -    Chuck Zerkle Sheriff of Cabell County testified, “[l]ook around. Huntington is devastated
            with this. I can take you over here – backpackers, homeless, they’re – I’ve got a friend
            that started out with a knee injury and ended up hooked on opioids, lost his family, lost
            his wife, lost everything because he started out with a doctor and ended up on heroin.”91

       -    Gordon Merry, Director of Cabell County EMS described the devastation as “a very, very
            horrible experience. I wouldn’t wish this on anybody. Medics have left. Going into
            houses where the mothers have overdosed and the kids are sitting there crying, wanting to
            know what wrong with their mother. It’s mentally – and it’s definitely taken its toll on the
            staff, turnovers, horrible. And it’s not just EMS. It’s police, fire, EMS and hospitals. It’s
            answering the same call, or answering the call for the same person two to three times a
            day. It was a revolving door on top of the normal calls they had to answer. And the stress


 87   Jan Rader [Huntington] Deposition (June 17, 2020) at 78:23-79:3.

 88   Id. at 201:16-19.

 89   Scott Lemley [Huntington] Deposition (July 3, 2020), at 220:9-10.

 90   Id. at 303:14-20.

 91Charles   Zerkle [Cabell] Deposition (June 17, 2020), at 50:3-8.




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            level was very high.”92 ….“Yes. I think they have gone above and beyond trying to save
            our community. Because it absolutely destroyed this community. I grew up here. I’ve
            been here 67 years. It’s been devastating. My partner’s daughter is dead because she
            overdosed. As I said, one of my employees. It’s been devastating to us, to this
            community, to have this happen.”93

       -    Steve Williams, Mayor of the City of Huntington, testified “I know that people are dying
            here. I know that the level of overdoses that we’re having to deal with is causing a major
            disruption within our – within our community. I know it is a result of pills; I know it’s a
            result of heroin; I know it’s a result of other substances. We have babies that are being
            born exposed to substances; we have families that are being torn apart; we have parents
            who are dying. … My city is suffering, and I believe your clients are also responsible for
            the suffering that has been placed upon my community.” 94

 Additionally, I have reviewed the expert reports of Kathleen Keyes, Ph.D. and Professor Thomas
 McGuire, Ph.D. The facts and data cited therein form additional basis for my opinions about the
 severity of the Opioid Epidemic in the Cabell-Huntington Community.

       3.       The increased prevalence of opioid addiction was caused by overexposing the
                United States population, especially people in the State of West Virginia, and in
                the Cabell-Huntington Community, to prescription opioids, and is still primarily
                driven by prescription opioids.

 Over the past 25 years, the massive flood of prescription opioids into the United States, West
 Virginia and the Cabell-Huntington Community led to a public health catastrophe. From 1999 to
 2011, consumption of hydrocodone in the United States more than doubled and consumption of
 oxycodone increased by nearly 500%. 95 By 2010 at its peak, Defendants were supplying
 hundreds of billions of MMEs of opioid narcotics into the United States:96




 92Gordon    Merry [Cabell] Deposition (June 29, 2020), at 36:9-20.

 93   Id. at 92:10-16.

 94   Steve Williams [Huntington] Deposition (June 30, 2020) at 49:6-15, 19-21.

 95Jones, CM. 2013. Trends in the distribution of selected opioids by state, US, 1999–2011. Presented at
 Natl. Meet. Safe States Alliance, June 6, Baltimore, MD, available at,
 https://cdn.ymaws.com/www.safestates.org/resource/resmgr/imported/Jones.pdf.

 96FDA Analysis of Long-Term Trends in Prescription Opioid Analgesic Products: Quantity, Sales, and
 Price Trends, FDA, Mar. 1, 2018, available at, https://www.fda.gov/media/111695/download.
 https://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Reports/UCM598899.pdf.




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 While the United States has far higher opioid consumption than any other country, opioid
 consumption in West Virginia far exceeded the national average. For example, in 2014 when the
 oxycodone supply into the state of West Virginia hit its peak, the state’s rate of 33.4 kilograms of
 oxycodone per 100,000 people was 83% higher than the U.S. rate of 18.3 kilograms per 100,000
 (Figure x).97




 97SHADAC analysis of U.S. Drug Enforcement Agency's Automated Reports and Consolidated Ordering
 System (ARCOS) Retail Drug Summary Reports. State Health Compare, SHADAC, University of
 Minnesota, available at, statehealthcompare.shadac.org, Accessed July 28, 2020.
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 West Virginia also exceeded the exceptionally high national average for hydrocodone
 consumption. In 2009, the peak year for hydrocodone supply into West Virginia, the rate of 27.1
 kilograms was 103% higher than the national average of 13.2 kilograms per 100,000 (Figure x).




 In 2013, the massive over-shipment amounts to enough hydrocodone and oxycodone to stock
 every home in the state of West Virginia with a pill bottle of opioids. With the flood of opioids
 into the state, it is not surprising that so many West Virginians became addicted and started
 dying in unprecedented numbers.

 The Defendants also sent a wave of opioids into the Cabell-Huntington Community, exposing its
 population to the associated risks. As detailed in the Expert Report of Craig McCann, Ph.D.,
 CFA, between 2005 and 2014, Defendants sent billions of MMEs into the Cabell Huntington
 Community of 99,946 people. In fact, between 2006 and 2014, dispensers in the Cabell-
 Huntington Community received 127.9 million Dosage Units or 3.3 billion MME of opioids,
 enough opioids for every resident in Cabell County and the City of Huntington, WV to consume
 142 Dosage Units or 3,650 MME every year from 2006 to 2014.98 The flood of Defendants’
 pills and MMEs into Cabell County is illustrated by Dr. McCann as follows (data for McKesson
 and ABDC was only produced starting in 2006):99




 98   Expert Report of Craig McCann at ¶ 17.

 99   Id. at Appendix 9 at p. 17- 18.



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 Distribution from Cardinal Health was as follows: 100




 100   Id. at 35-36.



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 Distribution from McKesson was as follows:101




 101   Id. at 38-39.



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 Amerisource Bergen’s was:102




 102   Id. at 28-29.



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 Opioids don’t just stop at county or state borders, however. Indeed, as detailed in the Expert
 Report of James Rafalski, an additional wave of opioids were making their way into West
 Virginia from Florida and other states via the route often referred to as the “Oxy Express” or
 “Blue Highway.”103 City and County documents show this influx of Defendants pills into the
 Cabell Huntington Community.104 Defendants own documents acknowledge this migration. 105
 Internally, Amerisource Bergen even joked about the problem of pill migration from Florida:106

 The massive exposure of a population to a highly addictive class of drug and the human cost of
 addiction to families and communities is not something a drug distributor should joke about. In
 fact, the relationship between opioid supply, death and addiction is starkly illustrated by the
 CDC:107




 103   Expert Report of James Rafalski at 53.

   HUNT_00286731; HUNT_00029464; CCDS_0044668 (CCSD Arrest Report); CCDS_0029884;
 104
 HUNT_00263760 (HPD Arrest Report); CCDS_0028875 (CCSD Arrest Report); CCIRC_0303373,
 CCIRC_0303340 (Indictment); HUNT_00730154 (BPD Arrest Report).

   CAH_ALASKA_00190590 at 597; MCKMDL00407451 at 465; see also Edward Hazewski
 105
 Deposition (October 25, 2018) at 71:8-72:10 (ABDC witness acknowledging pill migration from Florida).

 106   ABDCMDL00569571; ABDCMDL00000124

 107 Centers for Disease Control and Prevention. (2011). Vital signs: overdoses of prescription opioid pain
 relievers—United States, 1999–2008. MMWR, (60), 1487-92; Centers for Disease Control and
 Prevention. (2013). Vital signs: overdoses of prescription opioid pain relievers—United States, 1999–
 2010. MMWR, (62), 537-42; Centers for Disease Control and Prevention. (2014). QuickStats: rates of
 drug poisoning deaths involving heroin,* by selected age and racial/ethnic groups—United States, 2002
 and 2011. MMWR, (63), 595; Defendants’ internal documents cite and acknowledge this correlation. See
 e.g. ABDCMDL08307607; MCK-AGMS-006-0000886; MCKMDL00557252 at 261;
 CAH_MDL2804_01493700.



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 As opioids flooded into communities across the country, and as they became more available in
 our homes, opportunities for opioid misuse increased. In 2015, 11.5 million Americans are
 estimated to have misused prescription opioids. The most commonly reported motivation for
 misuse (63%) was borrowing pills to relieve physical pain.108 In states where more opioids were
 consumed, more people became addicted and more people died. 109 Studies have also found that
 in counties where the opioid industry spent more money to influence prescribing, more opioids
 were prescribed, and more people died. 110




 108Han B, Compton WM, Blanco C, et al. (2017). Prescription Opioid Use, Misuse, and Use Disorders in
 U.S. Adults: 2015 National Survey on Drug Use and Health. Ann Intern Med, 167(5), 293-301. doi:
 10.7326/M17-086

 109Baldwin, G. Overview of the Public Health Burden of Prescription Drug and Heroin Overdoses. CDC
 Presentation at FDA meeting. (July 1, 2015). Available at https://www.fda.gov/media/93249/download.

 110Hadland, SE, et al. (2019). Association of Pharmaceutical Industry Marketing of Opioid Products with
 Mortality From Opioid-Related Overdoses [published correction appears in JAMA Netw Open. 2019 Mar
 1;2(3):e191625]. JAMA Netw Open., 2(1), e186007. doi:10.1001/jamanetworkopen.2018.6007; Hollander
 MAG, et al. (2019); Association between Opioid Prescribing in Medicare and Pharmaceutical Company
 Gifts by Physician Specialty [published online ahead of print, 2019 Dec. 2]. J Gen Intern
 Med.doi:10.1007/s11606-019-05470-0




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 Exposure is particularly harmful when it occurs for long durations and at high doses. Any
 individual who takes opioids on a daily basis for more than a few days will be at high risk for
 developing opioid addiction, which is caused by repeated use of opioids. The reason for use,
 whether medical, recreational or self-medicating, has less influence on the development of
 addiction than the duration of use. Although the opioid industry has promoted the false notion
 that only a small subset of the population are at risk for developing opioid addiction from
 exposure to opioids, health officials have emphasized the message that opioids are inherently
 addictive – that the problem is “risky drugs, not risky patients.” 111 In a medical claims data study
 of more than 500,000 patients with chronic pain, the single greatest risk factor for development
 of opioid addiction was duration of use. 112 In a related study using the same data set, about two-
 thirds of patients who took opioids on a daily basis for 90 days were still taking opioids five
 years later.113

 Opioid molecules differ in the amount required to produce an effect of given intensity, also
 called potency. The morphine milligram equivalent (MME) daily dose for each opioid can be
 calculated using a conversion factor. UHDU opioids are formulations that when taken as directed
 exceed 90 MME/day, a dose the Centers for Disease Control and Prevention (CDC) has
 determined to be dangerously high. 114 UHDU opioids, which include immediate release
 oxycodone 30mg tablets, are especially dangerous when misused, a practice that is common
 among adolescents and young adults. In 2015, there were 969,000 youths aged 12 to 17 who
 misused prescription pain relievers, and 3.0 million young adults aged 18 to 25. 115 An opioid
 naive adolescent who makes the mistake of experimenting with an UHDU opioid could easily
 suffer a fatal overdose. Experimentation with a low dosage opioid is also dangerous and can lead
 to addiction but is less likely to result in life threatening respiratory depression.

 Higher opioid dosages are associated with increased overdose risk. CDC’s review included four
 well designed studies that evaluated similar MME/day dose ranges for association with overdose
 risk.116 Compared with opioids prescribed at <20 MME/day the odds of overdose among patients
 prescribed opioids for chronic nonmalignant pain were:

 111Dowell D, et al. (2013). Opioid Analgesics—Risky Drugs, Not Risky Patients. JAMA, 309(21), 2219–
   2220. doi:10.1001/jama.2013.5794

 113 Martin BC, et al. (2011). Long-term chronic opioid therapy discontinuation rates from the TROUP
   study. J Gen Intern Med., 26(12), 1450-1457. doi: 10.1007/s11606-011-1771-0

  114 Dowell D, et al. (2016). CDC guideline for prescribing opioids for chronic pain United States, 2016.
 JAMA, 315(15), 1624-1645. doi:10.1001/jama.2016.1464

 115Hughes, A., et al. Prescription drug use and misuse in the United States: Results from the 2015
 National Survey on Drug Use and Health. NSDUH, available at,
 https://www.samhsa.gov/data/sites/default/files/NSDUH-FFR2-2015/NSDUH-FFR2-2015.htm.

 116Zedler B, et al. (2014). Risk factors for serious prescription opioid-related toxicity or overdose among
 Veterans Health Administration patients. Pain Med, 15(11), 1911–29. doi: 10.1111/pme.12480
 Bohnert AS, et al. (2011). Association between opioid prescribing patterns and opioid overdose-related
 deaths. JAMA, 305(13), 1315–21. doi:10.1001/jama.2011.370; Dunn KM, et al. (2010). Opioid
 prescriptions for chronic pain and overdose: a cohort study. Ann Intern Med, 152(2), 85–92. doi:



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         •   1.3 to 1.9 for dosages of 20 to <50 MME/day
         •   1.9 to 4.6 for dosages of 50 to <100 MME/day
         •   2.0 to 8.9 for dosages of ≥100 MME/day

 Compared with dosages of 1-<20 MME/day, the absolute risk difference approximation was:

         •   0.15% for fatal overdose and 1.40% for any overdose at dosages of 50 to <100
             MME/day
         •   0.25% for fatal overdose and 4.04% for any overdose at dosages of ≥100 MME/day

 CDC found that keeping dosages under 50 MME/day reduces overdose risk among a large
 proportion of patients and that dosages under 50 MME/day are safer than dosages of 50–100
 MME/day, and that dosages under 20 MME/day are safer than dosages of 20–50 MME/day.
 CDC’s expert consensus was that increasing dosages to 50 or more MME/day increases overdose
 risk without necessarily adding benefits for pain control or function. 117

 Dose-related serious harms are not limited to risk of overdose. High dose opioids are associated
 with increased risk for motor vehicle accidents, fractures from falls, immune suppression, and
 opioid associated androgen deficiency which can cause reduced libido, erectile dysfunction,
 fatigue, depression, decreased muscle mass, weight gain, osteoporosis and infertility. 118

 One of the most serious adverse events associated with high dosages is development of an
 Opioid Use Disorder. A person taking a relatively low dose of prescribed opioids is 15 times as
 likely to develop an opioid use disorder (OUD) as a person who has not been prescribed opioids.
 The risk continues to rise as doses increase; at high doses (≥ 120 mg MED) of opioids, the



 10.7326/0003-4819-152-2-201001190-00006; Gomes T, et al. (2011). Opioid dose and drug-related
 mortality in patients with nonmalignant pain. Arch Intern Med, 171(7), 686–
 91. doi:10.1001/archinternmed.2011.117

   Dowell D, et al. (2016). CDC guideline for prescribing opioids for chronic pain—United States, 2016.
 117
 JAMA, 315(15), 1624-1645. doi:10.1001/jama.2016.1464

 118Saunders KW, et al. (2010). Relationship of opioid use and dosage levels to fractures in older chronic
 pain patients. J. Gen. Intern. Med., 25(4), 310-5. doi: 10.1007/s11606-009-1218-z; Takkouche B, et al.
 (2007). Psychotropic medications and the risk of fracture: a meta-analysis. Drug Saf. 30(2), 171-84. doi:
 10.2165/00002018-200730020-00006; Vuong C, et al. (2010). The effects of opioids and opioid analogs
 on animal and human endocrine systems. Endocr. Rev., 31(1), 98–132. doi: 10.1210/er.2009-0009; Angst
 MS, Clark JD. (2006). Opioid-induced hyperalgesia: a qualitative systematic review. Anesthesiology,
 104(3), 570–87. doi: 10.1097/00000542-200603000-00025; Tuteja AK, et al. (2010). Opioid-induced
 bowel disorders and narcotic bowel syndrome in patients with chronic non-cancer pain.
 Neurogastroenterol. Motil. 22(4), 424-30. doi: 10.1111/j.1365-2982.2009.01458.x; Thomson MW, et al.
 (2006). Xerostomia and medications among 32-year-olds. Acta Odontol Scand., 64(4). 249-54. doi:
 10.1080/00016350600633243




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 person’s risk of developing OUD is 122 times that of a person who has not been prescribed
 opioids.119




 The sharp increase in overdose deaths involving illicit opioids and methamphetamine are a
 consequence of the flood of prescription opioids that caused an epidemic of addiction.120 Indeed,
 according to the federal government’s National Survey on Drug Use and Health (NSDUH), 4 out
 of 5 current heroin users report that their opioid use began with prescription opioids.121 Many of
 these individuals switched to heroin after becoming addicted to prescription because heroin was
 less expensive and easier to obtain. For example, in a sample of opioid-addicted individuals who
 switched to heroin, 94% reported doing so because prescription opioids “were far more
 expensive and harder to obtain.”122

 Despite recent declines in prescription opioid supply, the high prevalence of opioid addiction in
 West Virginia (caused by overexposing the population to prescription opioids) continues to fuel
 a public health crisis. As noted in the Expert Report of Kathleen Keyes, Ph.D., even though
 there have been rapid increases in opioid overdose death due to heroin and synthetic opioids,
 deaths as a result of prescription opioids overdose deaths still outnumber the recent overdose


 119Edlund MJ, et al. (2014). The role of opioid prescription in incident opioid abuse and dependence
 among individuals with chronic noncancer pain: the role of opioid prescription. Clin J Pain., 30(7), 557-
 64. Doi: 10.1097/AJP.0000000000000021

 120Muhuri PK, et al. (2013). Associations of nonmedical pain reliever use and initiation of heroin use in
 the United States. CBHSQ Data Rev. Aug.: http://www.samhsa.gov/data/sites/
 Default/files/DR006/DR006/nonmedical-pain-reliever-use-2013.htm; MCKMDL00407451;
 MCKMDL00336347.

   Muhuri PK, et al. Associations of nonmedical pain reliever use and initiation of heroin use in the
 121
 United States.

 122Cicero TJ, et al. (2014). The changing face of heroin use in the United States: a retrospective analysis
   of the past 50 years. JAMA Psychiatry, 71(7), 821-826. doi:10.1001/jamapsychiatry.2014.366




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 epidemic as a result of illicit opioids.123 Indeed, the total number of overdose deaths due to
 natural and semisynthetic opioids has been greater (175,004) than the recorded deaths from
 heroin over the same time period (115,568) or the recorded number of deaths due to non-
 methadone synthetic opioids (124,486).124 A June 4, 2020 report issued by the West Virginia
 Attorney General details that prescription opioid-related deaths were the first and primary driver
 of opioid-related deaths in West Virginia from 2001-2015.125

 Moreover, the transition to illicit opioids from prescription opioids, especially in the time period
 since 2014, has been well documented and the connection established in scientific literature. 126

 The rise in methamphetamine use and overdose deaths has also been linked to the Opioid
 Epidemic. In a study of 13,000 patients receiving addiction treatment, methamphetamine use
 among people with a primary opioid use disorder doubled from 2011 to 2017. The reasons opioid
 addicted patients gave for using methamphetamine included a desire to offset the sedation caused
 by opioids with a stimulant and a desire to enhance the effects of the opioid. 127 Another study
 based on data from the National Survey on Drug Use and Health found significant increases in
 past month methamphetamine use among people with a history of heroin use disorder and




 123   Expert Report of Kathleen Keyes at 26-27.

 124   Id.

   Office of the Attorney General of West Virginia. DEA’s Failure to Combat Diversion Cost Lives:
 125
 Results from the West Virginia Attorney General’s Investigation into the DEA’s Catastrophic Failure to
 Manage the National Drug Quota System from 2010-2016, June 4, 2020.

 126Muhuri PK, et al. Associations of nonmedical pain reliever use and initiation of heroin use in the
 United States.; Cicero TJ, et al. (2014). The changing face of heroin use in the United States: a
 retrospective analysis of the past 50 years. JAMA Psychiatry, 71(7), 821-826.
 doi:10.1001/jamapsychiatry.2014.366; Compton WM, et al. (2016). Relationship between Nonmedical
 Prescription-Opioid Use and Heroin Use. N Engl J Med., 374, 154-163 at
 157doi:10.1056/NEJMra1508490; Lankenau SE, et al (2012). Initiation into prescription opioid misuse
 amongst young injection drug users. Int J Drug Policy, 23(1), 37-44, at 41. doi:
 10.1016/j.drugpo.2011.05.014; Compton, et al., “Relationship Between NPOU and Heroin Use,” fn.
 Error! Bookmark not defined., above, at 156.; Muhuri, et al., “Associations of NMPRU and Heroin,”
 above, at 1; Inciardi JA, et al., Prescription Opioid Abuse and Diversion in an Urban Community: The
 Results of an Ultra-Rapid Assessment. Pain Medicine. 10(3), 537-548, at 544. doi: 10.1111/j.1526-
 4637.2009.00603.x; Mars SG, et al., “Every ‘Never’ I Said Came True”: Transitions from opioid pills to
 heroin injecting. Int’l J. of Drug Policy, 25(2), 257-266, at 264. doi: 10.1016/j.drugpo.2013.10.004

 127Ellis MS, et al. (2018). Twin epidemics: The surging rise of methamphetamine use in chronic opioid
 users. Drug Alcohol Depend, 193, 14-20. doi: 10.1016/j.drugalcdep.2018.08.029




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 prescription opioid use disorder. 128 For example, among heroin users, methamphetamine use
 tripled from 9.0% in 2015 to 30.2% in 2017.129

        4.    Specifically, the following conduct by each of the Defendants was a substantial
              factor in causing the flood of prescription opioids into the United States, West
              Virginia and the Huntington-Cabell Community, fell below any reasonable
              standard of care, and these factors combined synergistically to produce a
              severely negative impact on the Cabell-Huntington Community public health
              and safety.

 Up until the mid-1990s, the medical community understood that opioid medications were highly
 addictive and that their clinical role was limited to short-term use and end-of-life care. It was a
 brilliant, multi-faceted marketing campaign, disguised as education and advocacy, that caused a
 dramatic change in the culture of prescribing and flood of opioids. The campaign to increase
 opioid sales included close collaboration from an array of stakeholders including opioid
 manufacturers, key opinion leaders, patient groups, professional organizations, quasi-
 governmental organizations and the Defendants. These diverse stakeholders worked as a team,
 with a common goal of increasing opioid supply. On this team, each group played its part to
 deceive the medical community, state and federal policymakers, the media and the public. As
 early as 1996, Purdue recognized the Defendants as key “trade partners,” controlling 80% of the
 drug market.”130 Collaboration was universally recognized by Defendants and opioid
 manufacturers alike as necessary to achieve the goal of increased sales for all.131

 Once the opioid industry had dramatically expanded the demand for prescription opioids, they
 worked together to fuel the demand by shipping a massive supply of prescription opioids into
 communities around the United States, including in dramatically elevated numbers into West
 Virginia. Indeed, Defendants flooded the United States with a wave of pills that exposed such a
 wide swath of the United States population, and acutely the population in West Virginia and the
 Cabell-Huntington Community, with such an enormous volume of opioids that it was foreseeable
 that addiction and all the resultant consequences of addiction would follow. Moreover,
 Defendants failed to maintain adequate systems to ensure that just this type of public health
 disaster did not occur as a result of the controlled substances they were allowed to sell. Indeed, it
 became evident time and again that Defendants lacked adequate systems to prevent diversion and
 protect public health. Defendants and their opioid trade partners were repeatedly cited for



 128Strickland JC, et al. (2019). A nationally representative analysis of "twin epidemics": Rising rates of
 methamphetamine use among persons who use opioids. Drug Alcohol Depend, 204, 107592. doi:
 10.1016/j.drugalcdep.2019.107592

 129   Id.

 130   PKY181715440.

 131See e.g. PPLPC004000182848; PPLP004474439-440; CAH_MDL2804_00879572;
   MCKMDL00536290; MCKMDL00634412.




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 violating the laws designed to protect communities, yet they kept selling, as internal documents
 repeatedly described “business as usual.” 132

 Diversion became rampant and the Cabell-Huntington Community, and many communities like
 it across the nation, fell into the throes of an addiction epidemic. Instead of finding ways to
 remedy the devastation they had caused, Defendants and their opioid industry partners took
 numerous actions to prevent safety measures that could have protected the public, because those
 safety measures would have reduced sales. At the same time, Defendants falsely and repeatedly
 claimed that they were remedying the problem and doing everything they could to prevent
 diversion and harm. They were not. Even today, Defendants refuse to take responsibility for
 their actions.

 These actions combined to produce the Opioid Epidemic that the Cabell-Huntington Community
 and the United States is facing today. Specifically, the Defendants conduct that, in my
 professional opinion, was a substantial factor in causing the Opioid Epidemic can be summarized
 as follows.

               a. The Defendants worked to dramatically expand and then maintain the
                  market, the demand and, therefore, the supply of prescription opioids
                  through participating in a massive marketing and misinformation campaign
                  about the risks and benefits of prescription opioids. 133

 It was long thought that the Defendants had no part in the marketing and misinformation
 campaign that so dramatically changed the culture of opioid prescribing, the demand for opioids,
 and ultimately the supply of opioids. Indeed, Defendants have repeatedly issued public denials of
 their role in expanding demand and outright denied marketing opioid products. For example,
 AmerisourceBergen stated to the press that Amerisource “does not . . . market these drugs or take
 any action to create demand for their use.” 134 Amerisource Bergen’s CEO Steve Collis published
 an op-ed in 2017 stating “We don’t manufacture these drugs, provide them directly to patients or
 take any action to drive their demand.”. 135 McKesson’s CEO John Hammergren, even testified
 to congress that, “[a]s a distributor, McKesson does not manufacture prescription drugs, and we
 do not market them to doctors or patients. Nor do we market any particular category of drugs,
 such as opioids, to pharmacies.”136



 132 See repeated references to continuing despite regulations, “business as usual.” MCKMDL00354776;
 MCKMDL00497923 at 926; MCKMDL00535683; MCKMDL00541773; ABDCMDL01610737;
 ABDCMDL01691017; ABDCMDL07229938; CAH_MDL_PRIORPROD_DEA07_00053986;
 CAH_MDL_PRIORPROD_DEA07_00509337; CAH_MDL2804_01942269.
 133 I have been provided the Expert Report of Jakki Mohr, Ph.D. Dr. Mohr’s Report and the evidence
   cited therein provide additional basis for the opinions I express in this Section.

 134   See ABDCMDL03830512 at 566 (8/24/17 Cincinnati Enquirer op-ed by Gabe Weissman).

 135   ABDCMDL00359830 (9/21/17 Linked In op-ed by CEO Steve Collis).

 136   See MCKMDL01387750 (May 8, 2018 written testimony of John Hammergren, McKesson CEO).



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 These denials are blatantly false. Indeed, each participated in marketing opioids, in driving the
 demand for opioids and in the massive misinformation campaign designed to improperly drive
 demand and to block efforts to reduce opioid use. Defendants were inextricably intertwined in
 the opioid drug maker’s marketing and misinformation campaign that drove the dramatic
 increase in demand for opioids sparking the Opioid Epidemic. Defendants sold services to
 opioid manufacturers for marketing opioids, including direct promotions, patient education and
 adherence programs, education for health professionals and advertising to pharmacists. Each
 provided pricing incentives to drive demand and thus their supply. And each participated in the
 coordinated campaign by industry groups to grow demand by promoting opioids to health
 professionals and patients. Indeed, all parts of the supply chain worked together with the
 common purpose of growing, and then maintaining, demand for prescription opioids; thus
 increasing supply.

 Their efforts combined synergistically to produce a sea change in the demand for prescription
 opioids, an enormous flood of opioids into communities, a supply that would remain unchecked
 by Defendants as described in Sections VI(4)(b)-(h) below and a resulting public health crisis.

 As described more fully, in Sections VI(4)(b)(e)(6), all who participated in the campaign to
 increase opioid use, including the Defendants, should have foreseen that creating a sharp
 increase in opioid consumption and thus, increased supply, of a highly addictive class of drug,
 would produce the kind of negative and long-lasting impacts on public health and safety that we
 have seen in the United States, in West Virginia and in the Cabell-Huntington Community today.
 It was both reckless and irresponsible for Defendants to participate in a campaign that caused
 overexposure of the population to dangerous and addictive pharmaceutical products.

 Documents forming the basis for these opinions are cited in the following sections and are listed
 on Schedule 3 and 4 to this Report.

 Evidence now reveals that Defendants did in fact participate in the opioid industry effort to
 expand the demand for prescription opioids. Major ways Defendants did this include:

        •   The Defendants marketed and promoted opioids, working with opioid drug makers to
            develop a broad array of marketing programs to create demand for opioids and thus,
            increase supply;

        •   The Defendants provided pricing incentives to opioid manufacturers, pharmacies and
            consumers to drive demand and thus, increase supply;

        •   The Defendants affiliated with pharmaceutical industry front groups, industry-
            influenced professional organizations and health professionals promoting the use of
            opioids for chronic pain to drive demand through offering false comfort that opioids
            could be widely used without negative consequences.




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                         1. Defendants’ Marketing Divisions Promoted Opioids

 The Defendants each offer, and regularly tout, the broad array of marketing services they offer to
 drug makers.137 Indeed, when a drug maker wanted to promote their drugs Defendants utilized
 its existing infrastructure to market that drug to its trade partners, the retail pharmacies. Opioid
 makers capitalized on Defendants’ marketing infrastructure and existing pharmacy customer
 base, hiring Defendants to market opioid products through these established channels.
 Defendants’ promoted opioids through core marketing techniques such as email and fax blasts,
 direct mail promotions, web promotion, banner advertising, home page advertising on
 Defendants’ homepages and even telemarketing 138

 For example, through its proprietary web-based ordering application, Order Express, Cardinal
 advertised opioid products through home page ads and key search word ads on its ordering
 platform to reach pharmacists at point of purchase. 139 Amerisource Bergen similarly used its own
 web ordering platform to advertise opioids, running banner advertising. 140 McKesson ran banner
 ads for opioids on its “One Stop order site” so that “when pharmacists go online to order any
 McKesson products, they can see [the opioid maker’s] banner and clicking through the link
 directs them to [the opioid product] info on our website.”141



 137See e.g. ABDCMDL00320068 (2018 Custom Connect presentation outlining marketing services);
 ABDCMDL00320057 (2018 price list for marketing services); See ENDO-CHI_LIT-00470118; for an
 overview of the manufacturer programs discussed below. See MCKMDL00724395-417 (2016
 PowerPoint describing McKesson BrandRx Marketing services for manufacturers); MCKMDL00353316-
 319 (August 20, 2012 McKesson Manufacturer Marketing proposal prepared for Purdue describing
 various programs); MCKMDL00353374-379 (January 19, 2012 proposal prepared for Cephalon for Actiq
 and Fentora); see also, MCKMDL001736105 at pp. 64-76 (2/21/2019, Deposition testimony of Lisa
 Young, former marketing director for McKesson, describing branded programs); Amerisource Bergen
 Form 10-K (2016); Cardinal Health Form 10-K (2016); McKesson Form 10-K (2016);
 CAH_MDL2804_00131705 (Cardinal/Manufacturer Marketing Services).

 138See Schedule 3; see e.g. ABDCMDL00002831 (sell sheet for Mallinckrodt’s generic fentanyl patch
 provided to Amerisource customers); PPLPC004000256865 (2010 email chain re: Amerisource “fax
 blast” to customers promoting Purdue’s Butrans); PPLPC004000146529 (2008 email where Purdue
 approved Amerisource direct mail and web promotion of OxyContin); ABDCMDL00002828 (SOW with
 Depomed for Nucynta banner ad on Amerisource web ordering platform); Cardinal sent email blasts to
 over a hundred thousand pharmacists for an Opana campaign with Endo. ENDO-CHI_LIT-00294169
 (8/1/2013 email re: Opana promotion and co-pay card); ENDO-CHI_LIT-00431191 (7/15/2013 email
 discussing Opana ER email blast; CAH_MDL2804_00131816 (Cardinal Health Marketing Programs
 Overview).

 139   CAH_MDL2804_00131816 (Cardinal Health Marketing Programs Overview).

 140PPLPC004000146529 (2008 email where Purdue approved Amerisource direct mail and web
 promotion of OxyContin); ABDCMDL00002828 (SOW with Depomed for Nucynta banner ad on
 Amerisource web ordering platform).

 141   ACTAVIS0620245 (10/25/2011 email re Telemarketing Program).




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 Utilizing existing lists of current pharmacy customers and health care providers, Defendants
 disseminated opioid promotional materials and advertising content out to thousands of
 pharmacies, and health professionals across the country. For example, Cardinal offered a
 customized program called eConnection where Cardinal promoted opioid makers’ products to
 health professionals including for opioid makers Actavis, Endo, Covidien, Teva, and Purdue. 142
 These campaigns were so valuable that Teva once paid Cardinal             to send just one email
 communication to approximately 105,000 pharmacists.143 Cardinal offered to its opioid maker
 partners a way to advertise through Cardinal’s platform, such as using email blasts
 (eConnection), and offering ads on their web-based ordering platform. Cardinal also promoted
 opioids to its pharmacy customers through its Retail Business Conference (RBC), which
 Cardinal promoted as “the industry’s largest trade show for independent pharmacies.” 144
 Cardinal offered RBC as a forum to opioid makers for promoting products to pharmacy
 customers, including paid sponsorship opportunities for opioid makers.145

 McKesson similarly had its own internal marketing systems which the company used to market
 opioids to its established customer base through mail, email and direct product shipment, called
 RxBulletin (email blasts to pharmacies with direct link to drug makers’ website or educational
 materials), RxMail (mail blast of product marketing material), and RxFocus-Autoship
 (McKesson promotional service where new product samples were shipped to pharmacy
 customers).146

 Cardinal and McKesson even provided telemarketing services to drug makers to sell opioid
 products to pharmacies.147 These calls were coordinated with detailing in the same geographic



 142See ACTAVIS0220239 (eConnection proof for Kadian campaign); ACTAVIS0600353 (marketing
 Proposal prepared for Actavis by Kristine Fidle); ALLERGAN_MDL_00000044 (Actavis Marketing
 Programs Agreement); ALLERGAN_MDL_00019229 (Kadian Pharmacy Flyer); ENDO-OR-CID-
 00418114 (re: Endo Dear Pharmacy Letter and Tote Stuffer); EPI000888887 (re: marketing programs for
 Opana ER; MNK-T1_0000823151 (re: eConnection proof for "Exalgo"); CAH_MDL2804_00132780
 (SOW for Vantrela ER); PPLPC004000298375 (eConnection Proofs); CAH_MDL2804_00125969.
 (11/8/2012 “Sales Connect” alert, an email and web-based publication.); CAH_MDL2804_00132701
 (7/18/2016 “Service Flash”); CAH_MDL2804_00133350 (11/21/2013 “Service Flash”).

 143   CAH_MDL2804_00132726 (eConnection Marketing Contract Review).

 144   See RBC Website; see also, CAH_MDL2804_00115420 (RBC 2015 Sales Playbook)

 145   MNK-T1_0000917000 (Mallinckrodt sponsored luncheon for retail pharmacists).

  MCKMDL00353282-83; MCKMDL00353279; MCKMDL00353368-69; MCKMDL00353266-67;
 146
 MCKMDL00490713-16 at pp. 3-4.

 147ALLERGAN_MDL_02461021 (10/14/2011 email re Oxymorphone campaign); ACTAVIS0620574
 (10/14/2011); see also ACTAVIS0623269 (8/26/2011 email discussing Actavis Oxymorphone
 Promotional Plan includes McKesson telemarketers calling “500 independent pharmacies with highest
 script history” to provide incentives).




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 area so as to maximize the impact on demand from coordinated marketing activities. 148 As
 acknowledged by opioid maker Actavis’ in internal documents, all of these campaigns were
 designed to “drive awareness and shipment into the pharmacies.” 149

 In April, 2013, Cardinal became concerned about blatantly advertising opioids on its website,
 pulling back on certain types of opioid marketing including key word searching to avoid the
 appearance that Cardinal Health is “pushing a controlled substance.”150 Cardinal’s internal
 documents discussing this shift admit that “it was never previously been an issue for us to
 advertise on behalf of a manufacturer” and that pulling back on key word advertising for opioids
 was “a big change which will affect a lot of our processes.”151 Internal documents show that
 Cardinal’s concern was getting caught overtly marketing opioids, while it went on to promote
 opioids in other less overt ways, contributing to increased demand and therefore supply.

 Likewise, after growing demand for years through marketing and after flooding the market with
 supply, McKesson falsely claimed to adopt a policy of not marketing opioids. This policy,
 however, was insincere because the definition of “marketing” contained therein was so
 exceedingly narrow that it restricted little if any marketing at all. 152 In fact, McKesson continues
 to sell product ads on its website for the opioids it distributes. 153 For example, in 2016,
 McKesson contracted with Purdue to advertise Butrans on McKesson’s online ordering portal,
 McKesson Connect.154 And McKesson continued to market opioids with voucher programs
 through at least 2018.155

 Not only do Defendants market opioids, their marketing efforts are effective in driving sales of
 these products.156 McKesson’s RelayHealth Program showed results that included a 173% new
 prescription increase for newly launched products, a 27% improvement in patient adherence as a



 148   Id.

 149   ACTAVIS0623266 (8/26/2011 email re Oxymorphone Promotion and chargeback results to date).

 150   MNK-T1_0007819281 (4/12/13 email chain between Cardinal and Covidien).

 151   Id.

 152   See MCKMDL00695128-32.

 153See e.g. https://mms.mckesson.com/catalog?query=oxycontin; see also e.g. MCKMDL00353277-278
 (2016 contract for four weeks of DirectRx Advertising).

 154   See MCKMDL00353277-278 (2016 contract for four weeks of DirectRx Advertising).

 155See MCKMDL00385864-869 (April 5, 2018 letter to the Tennessee Attorney General describing
 opioid voucher programs in Tennessee).

  See e.g. PPLPC030000564197; PPLP025000149099; MCK-AGMS-069-00091; MCKMDL00724422;
 156
 MNK-T1 0000416504.




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 result of McKesson’s efforts and a 90% sustained lift after 12 months.157 As McKesson touts, its
 programs create “a flexible, efficient engine to maximize investment in core marketing
 tactics.”158 McKesson similarly tracked the effectiveness of its marketing programs for its
 opioid manufacturer customers.. For example, in August 2016, McKesson ran an ad for
 Purdue’s Oxycontin Reformulation for one week. According to McKesson, units sold went from
 15,000 to 22,483 in one week.159 Additionally, McKesson analyzed its evoucher program,
 noting its success in switching patients from competitors to Oxycontin, getting patients to fill
 second prescriptions of Oxycontin sooner and physician prescribing leading to sales lift.160

                        2. Defendants drove demand through deceptive educational
                           programs for health professionals.

 The opioid industry’s campaign to increase demand had as a critical element convincing the
 medical community that opioids could be used widely without risk. We have long known of
 Purdue and other opioid makers’ efforts in disguising marketing as physician “education” to
 widely spread misinformation about the safety and effectiveness of long-term opioid use. Opioid
 makers like Purdue Pharma, Endo, Janssen, Allergan and Teva sponsored a massive marketing
 effort designed to change demand through sponsoring continuing medical education (“CME”)
 conferences and paying key opinion leaders to promote widespread use of opioids.161 What we
 didn’t know until recently, was that Defendants participated in this “educational” campaign
 designed to inappropriately increase demand for opioids. In fact, each Defendant had an
 educational arm (Amerisource Bergen bought and ran a separate company) that provided
 “education” to doctors, pharmacists and healthcare providers regarding the drugs each was
 selling.

 From 2004 to 2015, Amerisource Bergen owned a Continuing Medical Education (“CME”)
 company, Imedex.162 Imedex produced numerous CME courses for doctors, and received fees



 157   PPLPC030000564197.

 158   Id.

 159See MCKMDL00353307 (Direct Rx Advertising Program Results); See also JAN-MS-01071368-425
 (presentation discussing the effectiveness of McKesson’s marketing of Nucynta).

 160   PPLPC025000149099.

 161See e.g. AAFP0001084 (2/24/2016 Sponsorship Letter of Agreement between Teva and American
 Academy of Family Physicians); AAPA_00000594 (2014 Grant Transaction Recap); ENDO-
 OPIOID_MDL-02821120 (Continuing Medical Education Contributor Disclosure and Contract);
 PPLPC029000236513 (Marketing Education Programs – Concept Proposal.) See also, Van Zee, A.
 (2009). The promotion and marketing of OxyContin: Commercial triumph, public health tragedy. Am J of
 Public Health, 99(2), 221-227. doi: 10.2105/AJPH.2007.131714

 162AmerisourceBergen purchased Imedex on May 4, 2010, and the “equity and enterprise” price was $16
 million. Imedex had calendar 2003 revenues of approximately $11 million, available at,
 https://investor.amerisourcebergen.com/news/news-details/2004/AmerisourceBergen-Acquires-Imedex-



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 and grants from pharmaceutical companies for CME’s that involved pain management and
 opioids.163 As early as 2000, Imedex had been involved in Purdue’s massive misinformation
 campaign to change the medical community’s view of opioids, hosting the 2000 a pain
 conference organized by Dr. Russell Portenoy, one the opioid industry’s most prominent
 KOLs.164

 In 2002, in a blatant violation of the Accreditation Council for Continuing Medical Education
 rules prohibiting pharmaceutical companies from influencing the content of educational
 programs, Imedex allowed Endo to edit a CME program and add content about extended-release
 oxymorphone.165 In so doing, Imedex helped Endo prepare for the launch of Opana, a new
 extended-release oxymorphone product.

 Amerisource Bergen went to great lengths to hide the influence of pharmaceutical industry
 money on the CME programs Imedex was running. AmerisourceBergen’s Marketing Code of
 Conduct even exempts Imedex is from its ethical guidelines. 166 And, through Imedex,
 Amerisource Bergen, lobbied against transparency and disclosure of indirect payments from
 pharmaceutical manufacturers to physician faculty of CME programs.167

 Amerisource Bergen also bought and ran an entity that helped expand demand for opioids
 through scientific misinformation. That entity, called Xcenda was acquired by
 AmerisourceBergen in 2007 for $25 million. 168 Xcenda became part of AmerisourceBergen’s
 Specialty Group, “enhancing the Company's existing manufacturer services businesses and
 providing additional capabilities in the key areas of pharmaceutical brand services, applied

 Inc-AmerisourceBergen-Adds-Accredited-Physician-Education-Services/default.aspx, See also
 CAH_MDL2804_03177666.

 163TEVA_MDL_A_06771229 (2009 grant agreement with Cephalon in which information regarding the
 opioids Actiq and Fentora is presented for possible discussion); PKY180796628 (Purdue funded Imedex
 for 2000 Pain and Chemical Dependency conference with Russell Portenoy to discuss interface between
 pain management and chemical dependency and under treatment of pain).

   PKY180796623 (Imedex Letter of Agreement); PKY180796628 (Pain Management and Chemical
 164
 Dependency, Conference Agenda).

 165   ENDO-OPIOID_MDL-02261219

 166   ABDC-WVFED00018369 (2009 AmerisourceBergen Marketing Code of Conduct).

 167 Comments to proposed regulations issued under 42 CFR 402 and 403 (mandated by Section 6002 of
 the Patient Protection and Affordable Care Act), at p. 10, available at,
 https://policymed.typepad.com/files/imedex-comments-to-cms-ppsa.pdf (there are a number of provisions
 … which unduly insert accredited CME providers and the faculty of their activities, who may be covered
 recipients under the Act, into a reporting and accountability responsibility that are not included in the Act
 itself but represent an attempt by CMS and HHS to broaden the reporting requirements.”).

 168AmerisourceBergen to acquire Xcenda LLC. Reuters (April 3, 2007), available at,
 https://www.reuters.com/article/idUSIN20070403082428ABC20070403.




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 health outcomes and biopharma strategies.” 169 AmerisourceBergen represented in its marketing
 materials that Xcenda has over 20 years of experience “collaborating with pharmaceutical
 manufacturers … to help them successfully commercialize innovative medical treatments and
 technologies.”170

 A specific example of Xcenda’s partnerships with opioid manufacturers is reflected in its
 relationship with Teva. After AmerisourceBergen’s acquisition of Xcenda, Xcenda’s consulting
 and marketing division received payments from Teva to co-author medical journal articles, that
 promoted long-term use of extended-release opioids.171 The misleading results were then quoted
 in marketing materials, speaker presentations, and other public representations about opioids. 172

 For Janssen’s launch of the opioid Nucynta, Xcenda developed the “Opioiphobia Speaker
 Initiative” communicating the deceptive and dangerous notion that fear of addiction to opioids is
 irrational.173

 Like AmerisourceBergen, Cardinal offers a broad array of online and live continuing education
 courses for health professionals.174 Through its Retail Business Conference where it gathers
 thousands of pharmacists and other healthcare providers each year

 Similarly, McKesson’s Health Mart administered continuing education courses called Town
 Halls and Health Mart University. 175 Many of McKesson’s Town Hall courses focused on
 training pharmacies to drive and maximize revenue through selling more product.176


 169AmerisourceBergen (ABC) Acquires Xcenda LLC for $25M, Street Insider (April 3, 2007), available at
 https://www.streetinsider.com/Mergers+and+Acquisitions/AmerisourceBergen+%28ABC%29+Acquires
 +Xcenda+LLC+for+%2425M/1965781.html

   ABDCMDL00323380 at p. 41 (profile of Xcenda subsidiary in AmerisourceBergen marketing
 170
 materials).

 171TEVA_MDL_A_08855370 (study by Xcenda’s Anna D. Coutinho and others, funded by Teva, finding
 "low observed incidence of opioid abuse" among patients with chronic non-cancer pain who are claimed
 to be at risk for abuse based on medical and prescription claims data.); Landsman-Blumberg PB, et al.
 (2017). Health care resource use and cost differences by opioid therapy type among chronic noncancer
 pain patients. J Pain Res, 10,1713-1722. doi: 10.2147/JPR.S130913

 172   See, e.g. TEVA_MDL_A_03010773 (Teva abstract of Coutinho/Xcenda findings for 2016 PainWeek).

 173   JAN-MS-00326339.

 174   https://www.cardinalhealth.com/en/medical-affairs/continuing-education-opportunities.html.

   MCKMDL00464066 at 13 (PowerPoint discussing the success of 80+ nationwide Town Halls in
 175
 FY2017); MCKMDL00473378 at 20-21 (PowerPoint on “The McKesson Difference.”);
 MCKMDL00484449.

   MCKMDL00474152 at 3 (FY18 Town Hall update presentation discusses seminar entitled “Revenue
 176
 Remedies”).




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 Not only does McKesson drive demand through “education,” but between 2004 and 2020 it
 owned a technology designed to specifically drive physician decision making. 177 Through its
 InterQual division, McKesson provided healthcare plans and care providers with “streamlined
 care management processes” and “appropriateness of care” criteria for “decision support.” 178
 While InterQual’s proprietary content is not publicly available, public and private healthcare
 plans (payers) cite to InterQual in their coverage policies and standards, showing a heavy
 reliance on InterQual for decisions on when to cover or authorize treatment. 179 This includes
 standards and approved clinical pathways for treatment of chronic pain. For example, when
 Molina Healthcare created a general policy allowing for surgically implanted pain pumps (for the
 administration of opioids), it relied, in part, on InterQual standards. Specifically, in discussing
 treatment recommendations, coverage exclusions, and the definition of chronic pain, Molina
 cited to:

           McKesson InterQual CP Procedures. Epidural Catheter Placement. 2015.
           Clinical Evidence Summary:
                  Chronic Pain Syndrome. 2017.
                  McKesson InterQual Clinical Evidence Summary. Chronic Cancer Pain. 2017 180

 Additional examples include AmeriHealth Caritas, which cited to InterQual standards and
 definitions in its policies covering pain pumps and spinal stimulators.181 And MedStar Family
 Choice, which relied upon InterQual criteria for its administrative policy and procedure for pain
 management injections, including when injections are indicated. 182




 177https://www.businesswire.com/news/home/20040408_240994388_legacyID/en/McKessons-Newest-
 InterQual-Release-Advances-Care-Management; See https://www.mckesson.com/About-
 McKesson/Newsroom/Press-Releases/2020/McKesson-Completes-Split-Off-Interest-Change-Healthcare/;
 https://www.changehealthcare.com/solutions/clinical-decision-support/interqual (showing Change’s
 current operation of Interqual).

 178See McKesson Health Solutions. InterQual Connect™ Enable automation of authorizations requiring
 medical review, within your existing workflow. available at,
 http://www.mckesson.com/documents/providers/interqual-connect-fact-sheet/.

 179See, e.g. https://providers.amerigroup.com/Documents/KSKS_CAID_UMGuidelines.pdf;
 https://mediproviders.anthem.com/Documents/KYKY_CAID_MP_CUMG_Jan2018.pdf.

   https://www.molinahealthcare.com/providers/wa/medicaid/resource/PDF/implanted-intrathecalpain-
 180
 mcp160.pdf.

 181https://www.amerihealthcaritasnh.com/global/assets/pdf/provider/clinical-policies/ccp1093-2002-
 intrathecal-opioid-therapy-chronic-pain.pdf;
 https://www.amerihealthcaritasla.com/global/assets/pdf/provider/clinical-policies/ccp1098-2004-spinal-
 cord-stimulators-chronic-pain.pdf.

 182   https://ct1.medstarhealth.org/content/uploads/sites/43/2017/06/Pain-Management-Injections-07-17.pdf



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                           3. Defendants drove demand through patient education and
                              “adherence” programs

 Each of the Defendants also drove demand through influencing patient behavior, including
 corporate programs to ensure opioid users “adhered” to taking their opioid medication and that
 patients had “access” to opioids. Although opioids should be prescribed for the shortest duration
 possible, the goal of these efforts was to promote long-term use and dependence on opioids.

 AmerisourceBergen drove patient demand in this way through its subsidiary entity, Lash Group,
 that contracted with opioid manufacturers to promote opioid products through programs for
 patient medication “adherence” and “patient access.” 183 In 2016, for example, Lash contracted
 with Purdue Pharma to promote and “facilitate access” to the opioid Hysingla, by establishing a
 call center that served as the “main point of contact for all inquiries, service requests and
 outbound calls related to the Product.184 A primary goal of Lash’s programs was to increase
 sales of pharmaceutical products, including opioids.

  Cardinal likewise offers comprehensive patient adherence services through its Sonexus “Access
  & Patient Support” program, promising “compliance and persistency” when “patients don’t take
  their medications as directed.”185 This includes placing outbound calls to patients, as well as
  answering questions and providing other support.

 In addition to its branded marketing programs, McKesson also offers a manufacturer-sponsored
 Pharmacy Intervention Program (“PIP”), which trains pharmacists on how to provide “coaching
 sessions” to patients. Identified as “a patient adherence program from the McKesson Sponsored
 Clinical Services Network,” McKesson marketed PIP as a means for to driving sales for both the
 manufacturer and the pharmacy (and of course- McKesson).186 To encourage pharmacies to
 participate, McKesson paid the pharmacy for each completed intervention claim, which was
 reimbursed by the manufacturer. 187 McKesson not only trained pharmacists to increase opioid
 sales, it also conducted “behavioral call campaigns” directly to patients. McKesson’s call center

 183See e.g. ABDCMDL00323380 at 410 (Amerisource business summary of Lash Group’s patient
 adherence services); TEVA_MDL_A_11786072 (proposal to Teva promises to “enhance the success of
 pharmaceutical brands by . . . driving adherence”).

 184PPLPC031001481881 (SOW for “ER Coverage and Access Support Program,” for which Purdue paid
 fees to Lash approaching $2.8M per year).

 185See “Patient Adherence Solutions.” Cardinal Website, available at,
 https://www.cardinalhealth.com/en/services/manufacturer/biopharmaceutical/patient-access-and-
 adherence/patient-adherence-solutions.html.

 186See PPLP003299959-63 (PIP Coaching Guide: Butrans); MCKMDL00496195-96 (2010 email
 describing the PIP program); PPLP003337352 (letter to pharmacists describing PIP program offered in
 conjunction with Purdue and enclosing patient savings cards and coaching guide for “adherence coaching
 session[s]”); MCKMDL00493101-04 (email encouraging sales team to stress the importance of
 adherence coaching sessions to allow McKesson to “show our sponsors an ROI…”).

 187   See PPLPC022000653078 (Sept. 11, 2013 email re: payment structure for Butrans PIP).




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 staff, trained in behavioral coaching techniques, would contact patients directly by telephone to
 ensure that patients took their medications, including opioid products. McKesson claimed its
 program “takes adherence to a new level through combined behavioral expertise, call center
 resources, and measurement.”188

 To promote its behavioral marketing programs to manufacturers, McKesson studied the impact
 of its coaching services on the length of time patients took specific drugs. In 2012, McKesson
 boasted that behavioral counseling at the pharmacy counter increased prescription fills by
 44%.189 And in 2013, McKesson said pain management patients who received behavioral
 coaching showed an average of 1.6 incremental fills. 190

                              4. Defendants drove demand through financial incentives

 The Defendants’ contracts with manufacturers provided strong financial incentives to sell as
 many opioids as possible, placing sales over safety in their contractual incentives. Defendants
 also benefitted from rebates or “chargebacks” that increased as the sales of pharmaceuticals
 increased.191 Joined by this powerful mutual incentive to sell as many opioids as possible, the
 Defendants and opioid manufacturers cooperated to increase opioid sales.

 Cardinal fiercely protected its rebates, even for the most abused opioids. When Mallinckrodt
 removed larger doses of oxycodone (15mg and 30mg) from its VIP rebate program, due to the
 DEA viewing “these programs as driving the wrong type of behavior,” Cardinal resisted,
 demanding the rebates for large amounts of orders submitted under the old VIP program. 192




   JAN-MS-01071368-425 at pp. 56-60 (description of behavioral call campaign for Nucynta);
 188
 PPLPC028000587023 (2014 McKesson proposal for adherence marketing strategies for Hysingla);
 MCKMDL00726854-884 (2017 proposal for PIP and behavioral call campaigns to Allergan).

 189JAN-MS-01071368-425 at p. 53 (Nucynta Program Data Review, including training for pharmacists to
 “evoke patient desires and commitment”).

 190PPLPC002000140782-83 (Butrans PIP objective); PPLPC004000248015-032 (PIP program overview
 for Butrans).

 191See, e.g., MNK-T1_0000499880 (2011 rebate agreement with AmerisourceBergen in which
 Mallinckrodt pledged to pay rebates of 13-18 percent based on a sales range of $80M-$150+M in sales of
 generics); MNK-T1_0000499742 (email to Amerisource where Mallinckrodt indicates that for 2010,
 ABC is on pace to sell $75M + in generics with an estimated rebate of 15% or $10.6M); MNK-
 T1_0005981734 (Cardinal agreement with Mallinckrodt including chargeback provisions); MNK-
 T1_0006684264 (2007 McKesson agreement with Mallinckrodt for volume rebates as high as 20%);
 MNK-T1_0000443779 (Mallinckrodt annual generic sales figures for FY2010 and FY2011
 demonstrating it was paying $600M - $700M per year in chargebacks to distributors); ACTAVIS0623268
 (8/19/2011 spreadsheet demonstrates Actavis paid chargebacks to ABC, Cardinal, McKesson, Walmart
 and several others for oxymorphone).

 192   MNK-T1_0002678103 (email chain dated 10/23/12 between Mallinckrodt and Cardinal).




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 Additionally, Cardinal ran a corporate program, RX Deals, which facilitated incentives and
 rebates offered by opioid makers to pharmacy customers for stocking the opioid makers’
 products.193

 Additionally, Defendants administered patient voucher and savings programs (such as
 LoyaltyScript, TrialScript, and eVoucher Rx) designed to drive demand by offering free and
 discounted opioid products to patients. 194 These voucher and savings programs included free
 trial offers, savings cards, e-coupons, and manufacturer discounts. 195 For example, McKesson
 administered voucher programs for Butrans, Hysingla, OxyContin, Ultram ER, Duragesic,
 Nucynta ER.

                            5. Defendants drove demand through industry groups who promoted
                               misinformation

 As discussed in Section VI(2), above, Defendants drove demand through industry groups that
 promoted misinformation. In 2001, Dr. Kathleen Foley, a “Key Opinion Leader” (‘KOL”)
 funded by opioid makers outlined the necessity for the opioid industry to work in a coordinated
 manner, behind the veil of industry associations, suggesting to Purdue’s Richard Sackler that
 industry needed to band together to be successful and defeat the bad press that could derail all of
 their efforts:

             I’m thinking of an alternative strategy of bringing together all of the members of the
             pharmaceutical industry, who have analgesic drugs out there and try to come together
             as a sort of cohesive voice recognizing that your particular drug has been recently
             identified in the newspapers as a drug issue. I think that there is a tightrope that you need
             to walk, because you are a drug company and it would be much better if the
             advocacy came from outside of the drug company and even better without much in
             the way of support from you. So along those lines, the kinds of things that I am thinking
             of is that maybe we should call a meeting, bring together representatives from all of




   See CAH_MDL_PRIORPROD_DEA07_00854208; CAH_MDL2804_02955355 (ConZip™);
 193
 CAH_MDL2804_02956235 (Opana ER RxDeal); CAH_MDL2804_02956566 (Nucynta);
 CAH_MDL2804_02957391 (Stagesic).

 194MCKMDL00385864-69 (April 5, 2018 letter to the Tennessee AG describing opioid voucher
 programs in Tennessee); MCKMDL00724422-438 (2016 PowerPoint on McKesson’s RelayHealth
 programs, such as eVoucherRx copay assistance, to help brands capture more filled prescriptions and
 expand market share); see also MNK-T1_0000115216 (1/28/2014 Relay Health presentation to
 Mallinckrodt, promoting eVoucherRx program to reduce patient abandonment of Xartemis, by increasing
 copay savings and simplifying process for patients). ; MCKMDL00334317 (“Making Connections Pain
 Management Program” for Duragesic. Pharmacists submit patient voucher for 25 free patches to
 McKesson); MCKMDL00334324 (Butrans trial offer “Powered by McKesson”); MCKMDL00334328
 (Hysingla ER Savings Card) (Poor copy and Bates number partially obscured).

 195   Id.




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             the companies, ideally high level representatives, like presidents or major leaders
             and strategize about the way to play the media issues.196

 The opioid industry’s coordination to misinform policymakers, the medical community and the
 public was carried out mainly through the Pain Care Forum (“PCF”), a group led by Purdue’s
 Chief Washington lobbyist, with active participation from the Healthcare Distribution Alliance
 (“HDA”), and the National Association of Chain Drug Stores (“NACDS”).197 PCF’s membership
 included companies and trade associations involved in the opium importers, opioid
 manufacturers, opioid wholesalers, opioid distributers, opioid retailers, front groups and other
 opioid industry-funded organizations. Together, they worked in a coordinated effort to increase
 demand for opioids and to block efforts that could result in reduced consumption of opioids. For
 example, through PCF, numerous groups who fronted a pro-opioid message including the
 AAPM, APS and APF, the Federation of State Medical Boards (“FSMB”), and an opioid
 manufacturer trade organization Pharmaceutical Research and Manufacturers Association
 (“PhRMA”) met regularly with HDA, the Defendants’ trade association, to coordinate efforts.198

 In addition to working with opioid manufacturers through PCF, opioid manufacturers were also
 members of HDA, and AmerisourceBergen, Cardinal Health and McKesson each participate on
 the HDA’s executive committee.199 In fact, HDA’s bylaws vest the Board of Directors’ power
 and authority in the Executive Committee. 200 Both manufacturers and distributors are members
 of, provide funding for, and have driven the “mission and priorities” of the HDMA/HDA.201




 196   PPLPC037000008901

 197Burt Rosen Deposition (January 16, 2019) at 59:23-60:13; Exh. 1, PPLP004272094 at 96 (List of
 “Pain Care Forum Participating Organizations” includes manufacturer defendants Allergan, Teva
 (Cephalon), Mallinckrodt (Covidien), Endo, Johnson & Johnson, and Purdue Pharma; the Healthcare
 Distribution Management Association (HDA) and National Association of Chain Drug Stores (NACDS)
 and front groups such as the American Pain Society, American Academy of Pain Medicine, American
 Association for Pain Medicine, American Pain Foundation, Pain & Policy Studies Group, and Federation
 of State Medical Boards).

 198   Id.

 199Patrick Kelly [HDA] Deposition (May 10, 2019) at 36:19-37:1; Exh. 448, Rita Norton
 [AmerisourceBergen]Deposition (01/09/19) at 59:11-60:4; Perry Fri [HDA] Deposition (May 7, 2019) at
 68:10-17.

   John Gray [HDA] Deposition (July 31, 2020) at 26:16-30:11 (HDA’s Board of Directors meets about
 200
 two-times each year, at all other times, the Boards authority to make decisions is trusted to the Executive
 Committee, which is led by the Defendants).

 201   Gray Deposition at 21:1-9.



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 Similarly, the Defendants collaborated with chain drug stores to protect their stake in the opioid
 supply by participating as board members on key committees for the National Association of
 Chain Drug Stores (“NACDS”), the trade association for pharmaceutical retailers.202

 These groups also coordinated their misinformation campaign through PR outfits, whose
 specialty was crisis management. 203

 As confirmed by the HDA’s witness, Mr. Gray, “the strength of a trade association . . . is that
 they are able to say the things [distributors] can't and won't.” 204

               b. Defendants supplied the improperly inflated market with such a large
                  amount of dangerous opioid narcotics that abuse, addiction, misuse and
                  diversion of pills was not only foreseeable, but inevitable205

 The supply of opioids into the Cabell-Huntington Community is staggering by any measure.
 Between 2005 and 2014, Defendants sent billions of MMEs into the Cabell Huntington
 Community of 99,946 people. In fact, between 2006 and 2014, dispensers in the Cabell-
 Huntington Community received 127.9 million Dosage Units or 3.3 billion MME , enough
 opioids for every resident in Cabell County and the City of Huntington, WV to consume 142
 Dosage Units or 3,650 MME every year from 2006 to 2014.206 The wave of pills sent into the
 Cabell-Huntington Community is illustrated in Dr. McCann’s Appendix 9, included above.




 202See https://www.nacds.org/membership/directories/associate-companies/;
 https://www.drugstorenews.com/pharmacy/nacds-elects-board-directors/ (representatives of McKesson
 and Cardinal Health elected to NACDS Board of Directors in 2009);
 https://www.supermarketnews.com/executivechanges/wakefern-s-chris-lane-named-nacds-chairman
 (representatives of McKesson and Cardinal Health elected to NACDS Board of Directors in 2019) (board
 of director membership is a three year term); CVS-MDLT1-000121577; CVS-MDLT1-000102930;
 CAH_MDL2804_00886155; CAH_MDL2804_00861971.

 203https://www.propublica.org/article/inside-purdue-pharma-media-playbook-how-it-planted-the-opioid-
 anti-story; HDA_MDL_000159563; MCKMDL00719205; HDA_MDL_000202605;
 HDA_MDL_000159557; ABDCMDL00288484; ABDCMDL00269293; ABDCMDL00269301;
 ABDCMDL03829334; ABDCMDL03830243; CAH_MDL2804_00112004; ABDCMDL00375084;
 ENDO-OPIOID_MDL-01623042; ENDO-OPIOID_MDL-02217039; CHI_000272862;
 PPLPC029000177585; PPLPC031000385886; PKY183402315; JAN-MS-04241287.

   Gray Deposition at 40:17-23. See also, Gray Deposition Ex. 52 (1/26/2018 email from G. Weissman
 204
 (ABDC-WVFED00177109)).

 205In forming my opinions in this Section I have reviewed the Expert Report of Craig McCann, Ph.D.,
 CFA and the Expert Report of James Rafalski. I base my opinions in this section in part on those Reports
 and the data and sources cited therein. Additional basis for my opinions are cited and discussed herein.

 206   McCann Report at ¶ 17.




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 The vast majority of opioids sent into West Virginia and Cabell-Huntington Community were
 oxycodone or hydrocodone.207 According to Dr. McCann’s report, oxycodone and hydrocodone
 accounted for 85.9% of all dosage units in the transactions in Cabell County and Huntington
 City, West Virginia from 2006 to 2014.208 Defendants supplied 57.51% of all of these dosage
 units209 and 81.17% of the MMEs of oxycodone and hydrocodone that were shipped into Cabell-
 Huntington pharmacies.210

 Defendants’ massive supply of opioids into West Virginia, and the resultant public health
 epidemic, caught the attention of the United States Congress, whose Energy and Commerce
 Committee launched an investigation into Defendants’ practices in West Virginia. What the
 Committee found, detailed in their 2018 Report, Red Flags and Warning Signs Ignored: Opioid
 Distribution and Enforcement Concerns in West Virginia, the United States House of
 Representatives was that Defendants were supplying opioids into West Virginia in amounts that,
 in the Committee’s words, “shocked the conscience,” including:

        -   Over 10 years, 20.8 million opioids were shipped to pharmacies in the town of
            Williamson, home to approximately 3,000 people.

        -   Another nearly 9 million opioids were distributed in just two years to a single pharmacy
            in Kermit, West Virginia, population 406.

        -   Between 2007 and 2012, drug distributors shipped more than 780 million hydrocodone
            and oxycodone pills to West Virginia.

 The Committee noted that each of the Defendants were pouring pills in the West Virginia.
 Specifically, the report found that between 2005 and 2016:211

        -   Cardinal Health distributed more than 366 million doses of hydrocodone and oxycodone
            to West Virginia pharmacies.

        -   McKesson supplied 299.87 million doses of hydrocodone and oxycodone to West
            Virginia pharmacies.

        -   AmerisourceBergen distributed 248.16 million doses of hydrocodone and oxycodone to
            West Virginia pharmacies.



 207   Expert Report of Craig McCann, Appendix 6a at 7, 25-27.

 208   McCann Report at Appendix 6a at 7.

 209   Id. Appendix 9 at 734.

 210   Id. at Appendix 9 at 748.

 211   Congressional Report at 6.




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 Between 2006 and 2014 numerous pharmacies in Cabell County each received millions of opioid
 pills and tens of millions of MMEs (over 115 million in the case of SafeScript Pharmacy No.
 6):212




 Moreover, there were significant warning signs that should have alerted Defendants things were
 going dangerously wrong with the opioids they were supplying.

 For example, news reports detail how one pharmacy, SafeScript Pharmacy No. 6, formerly at
 335 4th Ave., in Huntington, West Virginia, that Defendants fueled with over 100,000,000
 MMEs of opioids in a 7 year window, was among the top five purchasers of Oxycodone in West
 Virginia and received the most oxycodone pills in Cabell County. 213 Between 2006 and 2013,
 this one pharmacy in Huntington, received over 4.4 million opioid pills.214 As illustrated by Dr.


 212   Expert Report of Craig McCann, Appendix 9 at 544-545.

   https://www.herald-dispatch.com/_recent_news/more-than-65-million-opioids-flooded-cabell-county-
 213
 over-7-years-data-shows/article_8f0d8676-a9a9-11e9-98ff-ebdd2586af3f.html.

 214   Id.; see also McCann Appendix 9 at 544.




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 McCann, a large portion of these pills were oxycodone 30mg pills, the most widely and notably
 abused forms of Oxycontin:215




 Over time, the pharmacy’s level of controlled substance purchasing rose to an alarming level of
 its total drug purchases, rising to 87% of its total purchasing from Amerisource Bergen, its
 primary distributor.216 Its purchases landed SafeScript Pharmacy No. 6 on an internal
 AmerisourceBergen “top 100 purchase of OX products” list. 217 Internal correspondence at
 AmerisourceBergen shows that the company knew that customers on that list were servicing pain
 doctors without specializing in pain management and they “overwhelmingly” purchased
 oxycodone 30mg tablets.218 Local news stories (found in AmerisourceBergen’s files) describe

 215   Expert Report of Craig McCann, Appendix 9 at p. 781.

 216   ABDCMDL00170213.

 217   ABDCMDL00280699.

 218   Id.




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 how it was not a “usual pharmacy” and that the pharmacy had “heavy security” and had installed
 bulletproof glass.219 The media reports describe transactions being done through a turnstile
 where cash would go in and pills would come out. 220

 As detailed in the expert Report of James Rafalski, Amerisource Bergen continued to send
 opioids to SafeScript unchecked until 2013, even despite triggering numerous internal tripwires
 and exceeding controlled substance thresholds.221 The only thing that stopped Amerisource
 Bergen was when SafeScript Pharmacy No. 6 owner was charged with felony drug possession
 and trafficking thousands of hydrocodone tablets to street dealers.222

 Other distributors were also selling large numbers of the most easily abused, high dose opioids
 into Cabell County, including oxycodone 30mg:223




 219   ABDCMDL04476169.

 220   Id.

 221   See generally Expert Report of James Rafalski at 111-114.

 222   Id.

 223   McCann Report at Appendix 9, at 818.




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 There were numerous other warning signs. 224 Indeed, a simple review of commercially available
 data regarding community prescribers would have alerted Defendants that something was going
 very wrong with the opioids they were supplying into the Cabell-Huntington Community.225
 IQVIA data showed the total volume of opioid prescriptions in the community dramatically
 increasing, as well as the number of pills and MMEs per prescription. 226

           Table 1 Annual Opioid Prescriptions
           (IQVIA Xponent®: Cabell County, 1997-2017)
           This table is sorted chronologically. Percent increases are calculated to the base year of the data (1997).




 224   See generally Expert Report of James Rafalski, Expert Report of Craig McCann.

 225See Expert Report of Lacy Keller analyzing IQVIA data, the data “gold standard in terms of
   understanding prescription trends.” IQVIA is proprietary and available for purchase by pharmaceutical
   companies, including the Defendants had they chose to purchase it.

 226   Keller Report at ¶22 and Table 1.



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 The data showed that a small number of pain doctors were writing a large amount of
 prescriptions:227

           Table 2 Opioid-Prescribing Specialties with Per Physician and Prescription Averages
           (IQVIA Xponent®: Cabell County, 1997-2017)
           This table is sorted by descending average dosage units per prescriber.




 And when the data is examined some egregious examples over overprescribing evidencing
 criminal activity and diversion were apparent. Indeed, one of these high prescribing pain
 doctors, Dr. Deleno Webb. had been barred by the West Virginia Workers’ Compensation
 Commission in 2005 from receiving payment for treating injured workers based on claims that
 he was prescribing Oxycontin without conducting physical examinations. .228, 229 Between 1998
 and 2016, however, he rose to becoming one of the top five prescribers in Cabell County,. in


 227   Id. at Table7.

 228   Keller Report at 20; citing https://www.claimsjournal.com/news/southeast/2005/07/05/56882.htm;

 229   Id. citing PPLPC031000256122.




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 seven of those years, prescribing more opioid dosage units and MMEs than any other physician
 in Cabell County.230 In fact, in 2002 and 2003, Webb was the leading prescriber of opioid dosage
 units and MMEs in West Virginia. 231 Webb prescribed more than 10 million dosage units of
 oxycodone alone, ranking first in the state for overall for prescriptions, dosage units, and
 MMEs.232

 By 2011, Dr. Webb was prescribing over 1.1 million dosage units – the equivalent of more than
 130 pills every hour of every day. 233 Over 30% of the dosage units Webb wrote were for
 oxycodone 30mg, known to be a highly abused opioid.234 Webb continued prescribing opioids
 for more than a decade, until voluntarily surrendering his medical license in 2017. An
 investigation had found that he “commonly treated the patients with excessive dosages of opiates
 and benzodiazepines,” among other claims.235

 Additionally, data shows that pills were flooding the community through Anita Dawson, a
 Doctor of Osteopathic Medicine. Anita Dawson ranked third in Cabell County for overall dosage
 units prescribed during the IQVIA period. 236 From 2006 through 2009, Dawson was writing
 prescriptions for over one million dosage units per year – more than 100,000 dosage units more
 per month than the average general practitioner in the state and nation. The average strength and
 dosage units per prescription increased almost every year she practiced until she was arrested,
 peaking at an average of 130 dosage units and 2,227 per prescription in 2010. The year before,
 she prescribed over 1.4 million dosage units – or 3,800 pills per day, including weekends and
 holidays.

 In April, 2010, Dr. Dawson’s license was suspended237 and in July 2012, Dawson pled guilty to
 aiding and abetting the illegal acquisition of prescription drugs and was sentenced in January
 2013 to two years in federal prison. 238 Nine patients’ deaths were attributed to Dr. Dawson’s

 230   Id.

 231   Id. at 21.

 232   Id.

 233   Id.

 234   Id.

 235   Id. citing https://wvbom.wv.gov/public/search/index.asp

 236   Id.

 237 Complaint.West Virginia Board of Osteopathy v. Anita Dawson, Complaint No. 10-05, available at,
   https://www.justice.gov/archive/usao/wvs/press_releases/June2012/attachments/DawsonChargesSuspen
   sion.pdf.

 238“Cabell County Doctor Sentenced to Two Years in Prison for Federal Drug Crime.” FBI, Pittsburgh
   Division. 7 January 2013. https://archives.fbi.gov/archives/pittsburgh/press-releases/2013/cabell-county-
   doctor-sentenced-to-two-years-in-prison-for-federal-drug-crime.




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 prescribing patterns, including one patient who caused a fatal car crash while under the influence
 of opioids prescribed by Dawson.239

 These stunning examples were but symptoms of a larger picture that Defendants recklessly
 ignored. Indeed, Defendants were flooding West Virginia and the Cabell Community with high
 dosage opioids and failing to investigate warning signs for diversion.240 Defendants’ systems to
 evaluate and prevent diversion were demonstrably inadequate. It is clear that the Defendants
 failed in their obligation as DEA registrants.

 Diversion was rampant in West Virginia by the early 2000s and has continued to be a
 catastrophic problem to the present day.241 In 2000, a report by the Appalachia High Intensity
 Drug Trafficking Area program (AHIDTA) showed an increase in the resale and abuse of
 prescription drugs within a three-state region, including West Virginia.242 The report noted that
 agencies from the states were targeting physicians who prescribed medication to “doctor
 shoppers” and overcharged Medicaid/Medicare making enormous profits. 243




                                          244                                     245



 239   Id.

 240   McCann Appendix 9; see also Keller Report at 24 and Table 14.

 241.Congressional Report at 25; citing Hall, A., et al. (2008). Patterns of Abuse Among Unintentional
   Pharmaceutical Overdose Fatalities JAMA, 300(22), 2613, 2619; U.S. Department of Justice National
   Drug Intelligence Center Report, Drug Market Analysis 2008: Appalachia High Intensity Drug
   Trafficking Area (2008).

 242Vic Brown [AHIDTA] Deposition (July 8, 2020) at 66:20-73:6; Brown Deposition Ex. 2,
   AHIDTA_0404-425(2000 AHIDTA Annual Report).

 243   Id.

 244Vic Brown Deposition at 103:6-108:17; Brown Deposition Ex. 8, AHIDTA_0972-1014 (2002
   AHIDTA Threat Assessment).

 245   Id.



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 By 2001, prescription drug seizures accounted for 23% of the “other” drugs seized by AHIDTA
 officers. AHIIDTA noted:

             However, this relatively low seizure rate does not indicate the seriousness of the impact
             of the illicit use and trafficking of prescription drugs in the area. The trafficking and illicit
             usage of prescription drug use in the area may well be the most significant drug problem
             aside from marijuana.246

 The report indicated a massive supply of both oxycodone and hydrocodone into the region. 247




 The report continued:248

             OxyContin addiction is the root cause of a range of criminal activity in the Appalachia
             HIDTA, such as robbery, theft, assault, and various types of prescription fraud. In
             CY2000, Kentucky and West Virginia have seen an alarming increase in pharmacy
             robberies and thefts. In many cases the perpetrators ignored the cash, interest only in
             obtaining OxyContin tablets.

 Indeed, by 2001 the United States Department of Justice issued a warning about widespread
 diversion of Oxycontin249 and in 2003 the United States GAO issued a report discussing issues



 246Vic Brown Deposition at 71:15-73:6; Brown Deposition Ex. 5, AHIDTA_0905-947 (2001 AHIDTA
   Threat Assessment).

 247Vic Brown Deposition at 73:10-74:10; Brown Deposition Ex. 17, AHIDTA_1168-1215 (2005
   AHIDTA Threat Assessment).

 248   Id.

 249U.S. Department of Justice, Information Bulletin: Oxycontin Diversion and Abuse, Product No. 2001-
   L0424-001 (January 2001); U.S. Department of Justice, U.S. Drug Enforcement Administration, Alert:
   Working to Prevent the Diversion and Abuse of OxyContin, July 2001.




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 with diversion.250 In 2005, the DEA launched the Distributor Initiative aimed at addressing the
 problem of rampant diversion.251 Years of citations and penalties followed where company after
 company, including Defendants were cited for failing to comply with their obligations to detect
 and prevent obvious diversion. 252 Problems with diversion that persist with such a massive
 supply of opioids has been a devastating problem ever since.253

 Local witnesses from the Cabell- Huntington Community describe how diversion was rampant
 and how the wave of diversion Defendants failed to prevent has overwhelmed public health and
 safety departments and has produced lasting and devastating effects on the community (see also,
 p. 23, above and depositions listed in Schedule 3):

        -   Hank Dial, City Manager for the City of Huntington and former Police Chief for the City
            of Huntington, testified that the drug problem in Huntington is so pervasive that every
            aspect of the police department had to deal with it: “[i]t was so encompassing, it affected
            every bureau.”254

        -   Rocky Johnson, former member of the Huntington Police Department Special
            Investigations Bureau, testified about doing everything within its ability to address the
            opioid crisis, at their own peril, stating “police officers with our mental health, you know,
            and the fatigue, the compassion fatigue of seeing all this death and destruction and all of
            this.”255

        -   According to Gordon Merry, Director of Cabell County EMS, “Basically the challenges
            we’ve had with it with the overdoses. It has definitely taxed our system. It’s been --It’s
            just caused a lot of problems with personnel. Unfortunately, I just can’t say anything
            good dealing with it. It’s been horrible.”256

        -   Mr. Merry went on to describe, “It’s been a very, very horrible experience. I wouldn’t
            wish this on anybody. Medics have left. Going into houses where the mothers have
            overdosed and the kids are sitting there crying, wanting to know what’s wrong with their

 250U.S. Government Accountability Office (GAO), Prescription Drugs: Oxycontin Abuse and Diversion
 and Efforts to Address the Problem. Washington, DC: GAO, available at,
 https://www.gao.gov/assets/250/240884.pdf.

 251   Congressional Report at 31-35; see Section VI(4)(e). below.

 252   See Section VI(4)(e).

 253Mars, S. et al. (2014). “Every ‘Never’ I Ever Said Came True”: Transitions from opioid pills to heroin
 injecting. Int J Drug Policy, 25(2), 257–266. doi: 10.1016/j.drugpo.2013.10.004.

 254   Hank Dial [Cabell] Deposition (June 25, 2020) at 78:21-22.

 255   Rocky Johnson [Cabell] Deposition (June 26, 2020) at 131:22-24.

 256   Gordon Merry [Huntington] Deposition (July 29, 2020) at 35:21-36:1.




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           mother. It’s mentally -- and it’s definitely taken its toll on the staff, turnovers, horrible.
           And it’s not just EMS. It’s police, fire, EMS and hospitals. It’s answering the same call or
           answering the call for the same person two to three times a day. It was a revolving door,
           on top of their normal calls they had to answer. And the stress level was very high.” 257

 Defendants were repeatedly cited for failing to meet their obligations to prevent diversion and
 protect the public health (see Section VI(4)(e)below). Additionally, I have reviewed the Expert
 Report of James Rafalski, who opines about the nonexistent or woefully inadequate systems
 Defendants had to prevent diversion.

        Over and over, Defendants internally acknowledged the inadequacy of their own systems
 to prevent diversion.258 For example, in 2007, a Cardinal Health employee raised the issue of
 Cardinal’s deficient systems, telling the Cardinal compliance department that: 259

           The manual process we perform now with the discovery of suspected excessive purchases
           being left up to the keyer notifying myself, or a picker/double checker/QCer questioning
           an amount being processed seems to leave ample opportunity for failure. A system
           generated “flag” would be a more complete or thorough method of determining spikes or
           excessive quantities than what we are currently performing.

           As you know, I’ve investigated many accounts, tracked their ordering history, and
           reached out for guidance and directions. But without “someone” bringing a suspected
           “excessive quantity” order to our attention, many, many more could be going out the door
           under our noses. I wonder could a similar situation happen in Lakeland and management
           be questioned “why wasn’t this discovered?

         McKesson made clear, however, it was more interested in profits than in having
 meaningful systems in place to prevent diversion, stating that “[w]e are in the business to sell
 product. If we could produce a report … that warned as customers approach to the threshold,
 say at 85% of their 10,000 dosages, work could begin on justifying an increase in threshold prior
 to any lost sales.”260



 257   Gordon Merry [Huntington] Deposition (July 29, 2020) at 36:9-20.

 258See e.g. CAH_MDL2804_03309960; CAH_MDL_PRIORPROD_DEA07_00135433; Sharon Hartman
 [AmerisourceBergen] Deposition at 17:11-16, 236:5-13 and Hartman Deposition Ex. 13;
 CAH_MDL_PRIORPROD_DEA07_00968964; MCKMDL00634329 at 00634331; MCKMDL00634329
 at330-331; MCKMDL00516748-754; MCKMDL00409224-235; MCKMDL00721376-379;
 MCKMDL00721376 at 00721383; MCKMDL00721376 at 00721384-85; MCKMDL00498057 at 069-
 70; MCKMDL00721366 at 00721372; MCKMDL00827928; MCKMDL01940693;
 MCKMDL00721366-373; MCKMDL00721366-375; MCKMDL0045097-977. MCKMDL00450972-
 976; MCKMDL0045097-976; MCKMDL00450972 at 00451005-06; ABDCMDL00274105-118;
 ABDCMDL00250024-063.
 259   CAH_MDL_PRIORPROD_DEA07_00135433.

 260   MCKMDL00543971 at 972



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 Given Defendants clear duties to design adequate systems to prevent diversion, and their clear
 failure to do so, it was reckless and unreasonable for Defendants to continue doing “business as
 usual.”

 The flood of pills into West Virginia was staggering, especially in light of the developing Opioid
 Epidemic in West Virginia and the United States. Sending a flood of pills into a community with
 no meaningful way to control improper supply and diversion, was reckless and dangerous. The
 sheer volume of pills Defendants sold into West Virginia and the Cabell-Huntington
 Community, coupled with the lack effective mechanisms to control that supply, made it
 foreseeable and inevitable that diversion, abuse, addiction, misuse, overdose and death would
 occur. See Testimony of Community witnesses, herein and as listed in the Schedule. Indeed,
 with increased exposure to prescription opioids, significant risks to public health will occur.
 Increasing a population’s exposure to a highly addictive drug will cause an increase in addiction
 and an array of health and social problems.

 Defendants’ actions in irresponsibly overexposing the population to such a massive volume of
 highly addictive drugs, without mechanisms to protect that population, was a substantial factor in
 creating the Opioid Epidemic in the Cabell Huntington Community.

 Over time, Defendants have lodged a variety of excuses for not meeting their obligations under
 federal law and any reasonable standard for those distributing a dangerous narcotic in a closed
 system. The Defendants appear to have first claimed they didn’t know what was expected of
 them under the CSA:

       -   “At different points in time, the expectations of the DEA were different.”261

       -   “To the best of my knowledge, until 2005, regulators did not articulate an expectation
           that distributors actively conduct due diligence regarding their downstream customers
           beyond the reporting of suspicious orders pursuant to 21 C.F.R. § 1301.74(d).” 262

       -   “I believe that our organization [Cardinal] understood the responsibilities and conducted
           them as best they could with the understanding at that time.” 263

       -   “In the past we've [McKesson] had challenges understanding the expectations that our
           regulator would like us to follow.”264

   See Transcript of 5/8/2018 Hearing of U.S. House Committee on Energy and Commerce (testimony of
 261
 Christopher Smith, H.D. Smith former President & CEO) at p. 75.

   See CAH_MDL2804_01454458 (Supplemental Declaration of Michael Mone, In the Matter of
 262
 Cardinal Health, at p. 4, ¶ 9 (4/13/2012)).

   See Transcript of 5/8/2018 Hearing of U.S. House Committee on Energy and Commerce (testimony of
 263
 George Barrett, Cardinal Executive Chairman of Board) at p. 45.

 264See Transcript of 5/8/2018 Hearing of U.S. House Committee on Energy and Commerce (testimony of
 John Hammergren, McKesson President & CEO) at p. 46.




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        -   “DEA’s shift in expectations for suspicious order monitoring caused ‘confusion in the
            industry.’”265

 These excuses fall flat as their requirements remained nearly unchanged since 1970 266 and in
 light of the fact that the DEA, between 2005 and 2007, conducted multiple meetings with each
 Defendant, explaining the rules, their requirements and what they must do to comply in one-on-
 one meetings.267

        Defendants also have claimed they did “the best they could” with their technology and
 information at the time:

        -   “Our [McKesson’s] systems at the time were not automated enough, certainly, and we
            didn't flag it fast enough and get it fast enough.”268

        -   “We [McKesson] certainly learned, Mr. Chairman, from that experience at Sav-Rite, and
            we realized that we needed automated systems that don't allow any order to ship out of our
            facilities that are past those thresholds.”269

        -   “Certainly, we've [McKesson] learned from our experience during the 2006, 2007, over a
            decade ago, and today's systems are much more robust than they were then. Our orders
            actually aren't even processed today if they're above thresholds. In those early phases of 12
            years ago, our systems weren't as automated as they are today.”270

        -   “I'm not sure, Congresswoman, that I [Cardinal] could say that we were failing to reflect
            that. I think we were using the tools of the moment. And it was probably much more
            subjective judgment than what would happen today. Today it is a much more rigorous,
            evidence-based, data-based decision, and it doesn't have the same kind of subjectively I
            think that was present at that moment.”271



 265See 7/31/2019 Defendants’ Response to Plaintiffs’ Motion for Partial Summary Adjudication on
 Defendants’ Compliance With the Controlled Substances Act [CSA Compliance Brief] at p. 9.

 266   Congressional Report at 28.

 267   See Section below and documents cited therein.

 268See Transcript of 5/8/2018 Hearing of U.S. House Committee on Energy and Commerce (testimony of
 John Hammergren, McKesson President & CEO) at p. 55.

 269   Id. at p. 56.

 270   Id. at p. 74.

   See Transcript of 5/8/2018 Hearing of U.S. House Committee on Energy and Commerce (testimony of
 271
 George Barrett, Cardinal Executive Chairman of Board) at p. 98.




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 This argument also does not pass muster. Indeed, these are some of the largest and most
 sophisticated companies in the world who had at their disposal sophisticated systems to track
 each pill through the system, the ability to see hot spots for distribution at the click of a button
 and to analyze distribution and sales on a geographic basis. They had numerous data sources
 that they could have consulted in order to get a more accurate picture of compliance.272 Indeed,
 from these data sources we see red flags that should have caused Defendants to look more
 closely at what was happening in the Cabell-Huntington Community. If they did not see the
 whole picture, they chose not to.

 Nevertheless, if Defendants found it impossible to design an adequate system to prevent opioids
 diversion because of the obstacles they identify, then it was utterly reckless and unreasonable for
 Defendants to continue supplying opioid products and supplying them in the amounts they did.

                c. The Defendants continued to dramatically increase the supply of prescription
                   opioids despite mounting evidence of that opioid manufacturers were
                   illegally promoting their products, that there was massive diversion of
                   opioids and that a public health epidemic was resulting.

 By the early 2000s, there were signs of a burgeoning epidemic of opioid addiction, overdose,
 diversion and death, especially in West Virginia. Indeed, reports of addiction, overdose,
 diversion and death in in certain hot spots around the country, including in West Virginia, started
 appearing in the headlines of the news nationally and in the local papers where each of the
 Defendants were located. 273



 272   See generally Keller Report.

 273See e.g. The Alchemy of Oxycontin, July 29, 2001. N.Y. Times, available at
 https://www.nytimes.com/2001/07/29/magazine/the-alchemy-of-oxycontin.html; “‘Hillbilly Heroin’
 Holds Appalachia in Its Grip of Death and Addiction,” June 17, 2001, LA Times, available at
 https://www.latimes.com/archives/la-xpm-2001-jun-17-mn-11349-story.html; 28 Deaths Linked to Drug:
 Oxycontin Plagues Southwest Virginia, February 9, 2001, Richmond Times Dispatch (Virginia);
 Painkiller Stirs Concern, Debate: Meeting on Key Brand is Today, March 1, 2001, Richmond Times
 Dispatch (Virginia); No Matter What you Call It, It's Still Just Plain Ol' Dope, March 18, 2001,
 Richmond Times Dispatch (Virginia)Drug's Abuse Concerns FDA, March 23, 2001, Richmond Times
 Dispatch (Virginia); Abuse of Drug 'Getting Worse,' May 18, 2001, Richmond Times Dispatch (Virginia);
 A drug challenge, Intelligencer Journal (Lancaster, PA.); Scott Finn and Tara Tuckwiller, The Killer
 Cure: Deaths tied to methadone escalate across state, nation, June 4, 2006, Charleston Gazette-Mail,
 available at https://www.wvgazettemail.com/news/special_reports/deaths-tied-tomethadone-escalate-
 across-state-nation/article_9a021a7d-b1f8-5f50-9711-17a5c9b182f7.html;Tom Breen, Hydrocodone
 Abuse on the Rise in Appalachia, Aug. 21, 2001, Associated Press reprinted in Washington Post,
 available at http://www.washingtonpost.com/wp-dyn/content/article/2007/08/21/AR2007082100146.html
 ; A Painful Abuse; Addicts' use hurts legitimate patients, too, Oct. 2, 2001, Columbus Dispatch (Ohio);
 Pilfering Pills Jul. 18, 2001, Columbus Dispatch (Ohio); More Overdose Deaths Blamed on Painkiller,
 Jan. 6, 2002, Columbus Dispatch (Ohio); Heroin substitute grows in popularity; Drug is in county, but
 not yet widely used, Jan. 4, 2001,Intelligencer Journal (Lancaster, PA); Sen. Warner Calls for Drug
 Hearing, Aug. 1, 2001, Richmond Times Dispatch (Virginia); Tom Breen, Hydrocodone Abuse on the
 Rise in Appalachia, Associated Press reprinted in WASH. POST, Aug. 21, 2007, available at



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 In 2001, the United States House of Representatives Energy and Commerce Committee began an
 investigation into Oxycontin’s use and abuse and held public hearings where Defendants’
 business partner Purdue was called to answer questions about the emerging devastation that was
 resulting regarding the pills Defendants were supplying.274 The committee heard public
 testimony about the severity of Oxycontin abuse including that it was “quickly becoming the
 abuser's drug of choice, surpassing heroin and cocaine in some jurisdictions”275 and that law
 enforcement officials believed that the Defendants’ business partner, Purdue Pharma, had
 engaged in “overly aggressive marketing practices and a failure to swiftly respond once the
 abuse of OxyContin was first reported” and detailed the false marketing campaign to persuade
 doctors that opioids could be prescribed for routine pain conditions over long periods of time.276
 The Committee heard that diversion and abuse of this prescription opioid was rampant and
 acutely so in West Virginia.277 The committee publicly raised the severe and burgeoning health
 epidemic that was just beginning, pointing to the direct correlation between that epidemic and
 prescription opioids stating that “[a]ccording to DEA, the number of Oxycodone-related deaths
 has increased 400 percent since 1996, the same time period in which the annual number of
 prescriptions for OxyContin has risen from approximately 300,000 to almost 6 million.”278

 Between 2001 and 2007, the United States government issued numerous public warnings about
 the growing crisis of prescription opioid addiction, abuse, diversion, overdose and death
 including:

        -    In January 2001, the United States Department of Department of Justice, DEA
             Intelligence Bulletin issued a bulletin to industry specifically detailing the public health
             and safety consequences that were occurring because of increased supply of prescription
             opioids, specifically detailing those effects in West Virginia.279




 http://www.washingtonpost.com/wp-dyn/content/article/2007/08/21/AR2007082100146.html; see
 Schedule 3.

 274Congressional Hearing. Oxycontin: It's Use and Abuse, Transcript of the Hearing Before the
 Subcommittee on Energy and Commerce, House of Representatives, One Hundred and Seventh Congress,
 First Session, August 28, 2001.

 275   Id.

 276   Id.

 277   Id.

 278   Id.

   U.S. Department of Justice, Information Bulletin: Oxycontin Diversion and Abuse, Product No. 2001-
 279
 L0424-001 (January 2001), available at https://www.justice.gov/archive/ndic/pubs10/10550/index.htm.




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        -   In July 2001, the United States DEA issued an alert to industry about the rampant abuse
            and diversion that had arisen regarding Oxycontin. 280

        -   In 2002, the United States Department of Justice, OIG issued a report noting rampant
            Oxycontin abuse in West Virginia and making clear to all involved the DEA did not have
            sufficient resources to address the significant problems with prescription opioid diversion
            in the United States.281

        -   In 2003, the United States Governmental Accountability Office issued a report detailing
            improper marketing by Defendants’ business partner Purdue and outlining the burgeoning
            health and safety crisis in the United States, and acutely in West Virginia, making clear
            the opioid drugs Defendants were supplying were no different than heroin.282

        -   August 2004, the United States Department of Justice, DEA Intelligence Bulletin issued
            a bulletin to industry about rampant abuse and diversion of Oxycontin citing National
            Drug Threat Survey 2003 (NDTS) data collected by the National Drug Intelligence
            Center (NDIC) reporting that “67.0 percent of state and local law enforcement agencies
            report that OxyContin is commonly diverted and abused in their areas—a higher
            percentage than any other pharmaceutical drug” and highlighting issues of increasing
            dosage, tolerance, abuse and addiction, respiratory depression and death.283

        -   In 2005, the United States Department of Justice, DEA embarks on a campaign directed
            at industry, including the Defendants called the “Distributor Initiative” directed at
            addressing the serious problems with prescription opioid diversion, addiction, abuse,
            overdose and death in the United States. 284

        -   In 2006, the United States Centers for Disease Control published a paper showing that
            opioid overdose deaths had increased in parallel with an increase in sales of opioids. 285



 280U.S. Department of Justice, Drug Enforcement Administration, Alert: Working to Prevent
 the Diversion and Abuse of OxyContin, July 2001.

   2018 Congressional Report at 47-48; citing U.S. Office of the Inspector General, Review of the Drug
 281
 Enforcement Administration’s Investigations of the Diversion of Controlled Pharmaceuticals. (Sept.
 2002) (attached as Ex. 518 to McKesson witness, Michael Oriente July 19, 2018 deposition).

   U.S. Governmental Accountability Office, Report to Congressional Requesters, "Prescription Drugs:
 282
 Oxycontin Abuse and Diversion and Efforts to Address the Problem," GAO-04-110 (December 2003).

 283U.S. Department of Justice, "Information Bulletin: Oxycontin Diversion and Abuse," Product No.
 Product No. 2004-L0424-017 (August 2004)

 284   See Section 5(e), below.

   Paulozzi LJ, et al. (2006). Increasing deaths from opioid analgesics in the United States.
 285
 Pharmacoepidemiol Drug Saf., 15(9), 618-627. doi: 10.1002/pds.1276




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        -   In 2007, Defendants’ business partner Purdue Pharma publicly plead guilty to criminal
            misconduct amid a public health epidemic.286

        -   In 2008, Cephalon Inc. entered a criminal plea and paid $425 million in criminal and civil
            penalties to resolve claims that it marketed opioid drugs for uses not approved by the
            Food and Drug Administration (FDA).287

 Since 2008, the public health crisis precipitated by prescription opioids was summarized in
 numerous news articles, books and media stories,288 and governmental bodies and task force
 groups have reported on the public health and safety disaster created by the massive supply of
 prescription opioids including:289

        -   The CDC reported in a data briefing that between 1999 and 2016, 351,000 lives had been
            lost to opioid overdoses in the United States. 290

        -   In 2007 the DEA issued a fact sheet summarizing massive diversion in West Virginia. 291

        -   In 2011, the CDC issued a report entitled Vital Signs: Overdoses of Prescription Opioid
            Pain Relievers --- United States, 1999—2008, concluding that “The epidemic of

 286B. Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, NY Times, May 10, 2007 at
 https://www.nytimes.com/2007/05/10/business/11drug-web.html; Purdue Fredrick Pleads Guilty in
 Oxycontin Case, Reuters, May 10, 2007 at https://www.reuters.com/article/us-oxycontin-
 misbranding/purdue-frederick-pleads-guilty-in-oxycontin-case-idUSWBT00695020070510.

 287   https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html

 288See How Obama Plans To Combat Prescription Opioid And Heroin Abuse In 2016. Forbes, Feb 6,
 2015.; How Should the U.S. Regulate Powerful Painkillers? PBS NewsHour, Jan 6, 2015.;“Groups unite
 against curbing painkillers. Boston Globe. Dec 29, 2014.; Opioids prescribed by doctors led to 92,000
 overdoses in ERs in one year. LA Times, Oct 27, 2014.; Overdose deaths spur families to march on Mall
 over Opioid Epidemic. Washington Post, Sep 28, 2014.; Heroin’s Death Toll Rising in New York, Amid a
 Shift in Who Uses It. New York Times, Aug, 28, 2014.; “Painkiller Paradox: Feds Struggle To Control
 Drugs That Help And Harm. NPR, Jan 23, 2012.; Rising Painkiller Addiction Shows Damage From
 Drugmakers’ Role in Shaping Medical Opinion. Washington Post, Dec 30, 2012.; Prescription for
 Addiction. Wall Street Journal, Oct 5, 2012.; Lobbying Effort Said to sink New Controls on Painkillers.
 New York Times, Jun 19, 2012, Page A14.; Senate Inquiry Into Painkiller Makers’ Ties. New York
 Times, May 9, 2012, Page B7.; U.S. Consumes 80% of World’s Oxycodone. Newsday, Jan 21, 2012.;
 OxyContin: Purdue Pharma's Painful Medicine. Fortune Magazine, Nov 9, 2011.; Champion of
 Painkillers.” Washington Post, Dec 23, 2011.; White House Plan to Target Painkiller Abuse. ABC News,
 Apr 25, 2011.

 289   See Schedule 3.

 290Centers for Disease Control and Prevention, Data Brief 294. Drug Overdose Deaths in the United
 States, 1999- 2016, available at https://www.cdc.gov/nchs/data/databriefs/db294_table.pdf#page=4

 291   Congressional Report at 49; citing U.S. Drug Enforcement Admin., West Virginia 2007.




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           prescription drug overdoses in the United States has worsened over the last decade, and
           by 2008, drug overdose deaths (36,450) were approaching the number of deaths from
           motor vehicle crashes (39,973), the leading cause of injury death in the United States.
           Parallel trends in deaths and [prescription opioid] sales between 1999 and 2008,
           combined with continuing upward trends in ED visits, [prescription opioid] abuse
           treatment admissions, and OPR sales after 2008 suggest that the death rate also has
           increased since 2008. Preliminary 2009 death data are consistent with such an increase.
           These increases occurred despite numerous warnings and recommendations over the past
           decade for voluntary education of providers about more cautious use of [prescription
           opioids] (16).”292

       -   The United States Health and Human Services Division reported in 2015 that “the abuse
           of and addiction to opioids is a serious and challenging public health problem. Deaths
           from drug overdose have risen steadily over the past two decades and have become the
           leading cause of injury death in the United States” and “prescription drugs, especially
           opioid analgesics—a class of prescription drugs such as hydrocodone, oxycodone,
           morphine, and methadone used to treat both acute and chronic pain — have increasingly
           been implicated in drug overdose deaths [since 2005].”293

       -   In 2017, the International Narcotics Control Board found that in 2016, the United States
           consumed over 99% of the world’s hydrocodone and almost 80% of the world’s
           oxycodone.294

 At each of these points in time, and numerous others,295 Defendants had the opportunity to
 evaluate the public health and societal impact that the massive amounts of opioids they were
 supplying was having and to change its policies and procedures. Instead, the Defendants
 continued to engage in activities that exacerbated an already severe public health crisis in the
 United States and, acutely in the Cabell-Huntington Community today.

 Internal documents, however, show a callous disregard for the devastation the pills were causing
 among Defendants and their business partners in the opioid industry and an attitude of shipping
 despite the consequences.


 292Paulozzi LJ. (2010). The epidemiology of drug overdoses in the United States. Presented at Promis.
 Leg. Responses to the Epidemic of Prescr. Drug Overdoses in theU.S., Maimonides Med. Cent.Dep.
 Psychiatry, Dec. 2, Grand Rounds, Brooklyn.

   https://aspe.hhs.gov/basic-report/opioid-abuse-us-and-hhs-actions-address-opioid-drug-related-
 293
 overdoses-and-deaths

   Int’l Narcotics Control Bd., Narcotic Drugs: Estimated World Requirements for 2018; Statistics for
 294
 2016, 36 (2017), available at https://www.incb.org/documents/Narcotic-
 Drugs/TechnicalPublications/2017/Narcotic_drugs_technical_publication_2017.pdf

 295Defendants documents should numerous recognition that an “epidemic” was occurring as a result of
 the opioid pills they were supplying.




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 One Defendant, Amerisource Bergen’s executives even joked about the epidemic, describing the
 residents of West Virginia “pillbillies” and crafting a jingle set to the tune of the Beverly
 Hillbillies mocking the epidemic of addiction in West Virginia. 296 One of Defendants’ business
 partners, Mallinckrodt, who had received an email from a distributor, regarding shipments of
 oxycodone wrote Mallinckrodt saying: “Keep’em comin’! Flyin’ out of here. It’s like people are
 addicted to these things or something. Oh, wait, people are . . .” to which Mallinckrodt
 responded: “Just like Doritos keep eating. We’ll make more.”297

               d. The Defendants continued to do business with admitted lawbreakers who
                  had lied in promoting prescription opioids and who had been cited for
                  breaking laws governing opioid distribution.

 In 2003, the federal government issued a report detailing Purdue’s improper marketing of
 OxyContin.298 Had the Defendants ceased supplying OxyContin after the release of the report, as
 a prudent distributor of narcotics should have done, the Opioid Epidemic might have been
 brought to an early end and a strong message to deter other opioid manufacturers from improper
 marketing would have been sent. Instead, the Defendants chose to ignore Purdue’s greed and
 recklessness and continued to do business with the company increase sales. Even after Purdue
 and other opioid manufacturers were criminally convicted, the Defendants continued to do
 business with Purdue, helped it promote its products and joined Purdue in an effort to preserve
 the status quo by deceiving regulators, policymakers, health professionals and the public.
 Defendants further continued to do business with retail and independent pharmacies who
 repeatedly violated the law designed to protect the public and lacked adequate systems to ensure
 that narcotics appropriately stayed in a “closed system.”

        1. Purdue

 On May 10, 2007, The Purdue Frederick Company, Inc. pled guilty to felony misbranding of
 Oxycontin with the intent to defraud or mislead and agreed to pay over $600 million in criminal
 and civil penalties, fines and forfeitures.299 In its plea agreement, Purdue stated “PURDUE is
 pleading guilty, as described above, because PURDUE is in fact guilty.” 300 The news was
 widely publicized by media outfits all over the country.301

 296   ABDCMDL00569571.

 297   MNK-T1_0000559532.

   United States Governmental Accountability Office, Report to Congressional Requesters, "Prescription
 298
 Drugs: Oxycontin Abuse and Diversion and Efforts to Address the Problem," GAO-04-110 (December
 2003).

 299   Plea Agreement, Case 1:07-cr-00029-JPJ (W.D. Va.).
 300   Id. at p. 2.

 301See e.g. https://www.nytimes.com/2007/05/10/business/11drug-web.html;
   https://www.reuters.com/article/us-oxycontin-misbranding/purdue-frederick-pleads-guilty-in-oxycontin-
   case-idUSWBT00695020070510; https://www.cnbc.com/id/18591525.




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 Instead of backing away from doing business with a convicted criminal who had put public
 health and safety at risk and caused death and addiction by lying about the risks of widespread
 use of their opioid products, Defendants actually worked to strength their relationship with
 Purdue in the years following Purdue’s guilty plea, to advance their common purpose of having
 “no interruption in the supply chain” and to protect themselves from “over-zealous regulators.”302

 Just after Purdue pled guilty to felony offenses regarding its opioid products, Defendants began
 meeting with Purdue to address their next obstacle, the DEA’s effort to increase enforcement of
 the distributors’ compliance obligations. In 2008, the Defendants met with Purdue to discuss
 DEA’s latest plans “to squeeze the wholesalers and distributors on ‘pain clinics.’”303 Purdue
 summarized the Defendants’ representatives who met to discuss a coordinated strategy to combat
 the DEA as “men I consider personal friends of mine.”304

 Meetings with this known felon focused on “communication and cooperation,”305
 “collaborat[ion]…on issues about [Purdue] product(s),”306 a “collaborative effort,”307
 “maximiz[ing] [their] shared objectives,”308 and helping the opioid industry protect itself from
 “over-zealous regulators.”309 McKesson endorsed this collaborative effort in the years following
 Purdue’s conviction and stated that “[it] was in 100% agreement with Purdue and . . . recognized




 302PPLPC053000021255 at 256-259; PPLPC018000200323; PPLP004385367; PPLPC004000182848 at
 848-49; ABDCMDL00364944; CAH_MDL2804_0087957; PPLP004474439; PPLP004474439-440;
 MCKMDL00536290; PPLPC053000039688; HDS_MDL_00086622; CAH_MDL2804_00851292;
 PPLPC021000249399; PPLPC019000346516-519; Exh. 256, PPLPC034000451465; PPLP004469304;
 PPLP004473046; PPLP004473318 at 319; PPLP004437208 at 209-215; PPLP004469394;
 PPLPC023000285327; PPLP004473227; PPLPC018000502666 at 667-670; PPLPC020000496773;
 MCKMDL00634412; PPLP004472303; PPLPC004000310913; ABDCMDL00301700; PPLP004473294
 at 295-296; PPLPC020000558069; PPLPC022000513320-321; MCKMDL00575490 at 491-492;
 CAH_MDL2804_008795722.

 303   PPLPC018000200323.

 304   Id.

 305   PPLPC004000182848.

 306   CAH_MDL2804_00879572.

 307   PPLP004474439-440; MCKMDL00536290.

 308   MCKMDL00634412.

 309   CAH_MDL2804_00879572.




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 that this collaborative effort was the right thing to do.”310 As McKesson stated, “we ultimately
 protect ourselves.”311

 “Protecting themselves,” meant that this time Defendants would team up with known criminals
 to break the law in a different way, this time through circumventing the protections designed to
 prevent oversupply and diversion. Internal documents show Purdue telling McKesson that “Joe
 Rannazzisi [of the DEA] is publicly stating that ‘Manufacturers are now sending letters to their
 wholesale distributor consumers warning them of their due diligence obligations. . .,’ our Purdue
 Team does not and will not operate in that manner.” 312 Similarly, Purdue wrote to Cardinal
 stating that “[w]e should gang up on DEA.”313 Defendants did not reject Purdue’s blatant
 proposals to break the law, they did not stop doing business with this repeated law breaker and
 they did not turn Purdue in to law enforcement. Instead, they embraced the plan of
 circumventing regulations and defying law enforcement, putting the public health and safety
 directly at risk to “protect themselves.”

        2. Cephalon

 In 2008, Cephalon Inc. entered a criminal plea and paid $425 million in criminal and civil
 penalties to resolve claims that it marketed three drugs, including the opioid Actiq, for uses not
 approved by the Food and Drug Administration (FDA).314 In short, Cephalon had taken its
 exceptionally potent transmucosal fentanyl product approved for use in treating breakthrough
 cancer pain in opioid tolerant patients and marketed the drug widely for unapproved uses.315 The
 criminal investigation occurred after Cephalon’s own employees turned the company in for its
 illegal practices.316 In a public statement, the United States Department of Justice made clear
 that Cephalon’s illegal conduct had put the public health at risk, stating "[t]hese are potentially
 harmful drugs that were being peddled as if they were, in the case of Actiq, actual lollipops
 instead of a potent pain medication intended for a specific class of patients. This company
 subverted the very process put in place to protect the public from harm, and put patients’
 health at risk for nothing more than boosting its bottom line.”317




 310   PPLP004474439-440; MCKMDL00536290.

 311   Id.

 312   MCKMDL00536290.

 313   CAH_MDL2804_00851292.

 314   https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html

 315   Id.

 316   Id.

 317   Id. (emphasis added)




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 Had the Defendants acted as prudent distributors of narcotics by refusing to do further business
 with Cephalon and Purdue after their criminal convictions and after it became known these the
 actions of these companies had led to addiction and loss of life. Instead of sending a message
 that improper and illegal promotion of narcotics will not be tolerated, the Defendants carried on
 with their criminally convicted business partners as if nothing had happened.

 Undeterred, Cephalon promoted Fentora, its new transmucosal fentanyl product for unapproved
 uses, just as it did with Actiq. In 2009, it received a warning letter from the FDA that its
 materials for Fentora were deceptive because they broadened the indication for the drug beyond
 cancer patients with breakthrough pain.318 And even after getting caught a second time for
 improper marketing of an exceptionally potent opioids, Defendants went on supplying
 Teva/Cephalon’s opioid products.

       3. Mallinckrodt

 In 2017, Mallinckrodt reached an administrative settlement for $35 million with the DEA,
 acknowledging that: “at certain times under the Covered Time Period prior to January 1, 2012
 [2008 through 2011], certain aspects of Mallinckrodt’s system to monitor and detect suspicious
 orders did not meet the standards outlined in letters from the DEA Deputy Administrator, Office
 of Diversion Control, to registrants dated September 27, 2006 and December 27, 2007. The DEA
 had cited Mallinckrodt, alleging that it knew about “an epidemic increase in diversion of the
 controlled substance oxycodone, largely out of the state of Florida” and that the company “knew
 about the diversion and sold excessive amounts of the most highly abused forms of oxycodone,
 30 mg and 15 mg tablets, placing them into a stream of commerce that would result in
 diversion.”319 The DEA also alleged that “even though Mallinckrodt knew of the pattern of
 excessive sales of its oxycodone feeding massive diversion, it continued to incentivize and
 supply these suspicious sales. Furthermore, the United States alleges that Mallinckrodt never
 notified the DEA of the suspicious orders in violation of the CSA.”320

 Mallinckrodt was one of Defendants’ biggest customers.

       4. Insys

 Defendants also partnered with Insys to sell its opioid products. During this time, however,
 Defendants’ business partner was engaged in criminal activity with respect to those products.
 On December 6, 2016, Insys founder and former Executive Chairman John Kapoor, Michael
 Babich, Alec Burlakoff, Richard Simon, Sunrise Lee, Joseph Rowan and Michael Gurry, all
 former executives and managers of Insys Therapeutics Inc., were charged by indictment by the
 United States Attorney’s Office for the District of Massachusetts with conspiracy to commit
 racketeering, mail and wire fraud, and conspiracy to violate the anti-kickback law in relation to a

 318   NEED CITE

 319Administrative Memorandum of Agreement between DEA and Mallinckrodt, July 10, 2017.
   https://www.justice.gov/usao-edmi/press-release/file/986026/download/.

 320   Administrative Memorandum of Agreement between DEA and Mallinckrodt, July 10, 2017.



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 nationwide conspiracy to bribe medical practitioners to unnecessarily prescribe a fentanyl-based
 pain medication and defraud payers of the medication, including insurers.321 The indictment
 alleged that defendants conspired to bribe practitioners in various states, many of whom operated
 pain clinics, in order to get them to prescribe a fentanyl-based pain medication, called Subsys, a
 powerful narcotic intended to treat cancer patients suffering intense episodes of breakthrough
 pain. In exchange for bribes and kickbacks, the practitioners wrote large numbers of
 prescriptions for the patients, most of whom were not diagnosed with cancer.

 The investigation of Insys would reveal that in their effort to push prescribing of the highest
 priced, highest dosage formulation of their fentanyl spray, Defendant McKesson, provided Insys
 with data from the transmucosal immediate-release fentanyl (TIRF) REMS program it
 administered.322 The TIRF REMS data McKesson packaged for manufacturers of companies was
 valuable to them and much better than data available to drug makers from IQvia or anywhere
 else. Because McKesson’s REMS data was real time and detailed. The McKesson data included
 information on prescribers, which drug and amount and dose, as well as patient identifiers that
 the Insys was able to match to patients they knew through doctors they were bribing. This was
 data that the companies should not have received but was incredibly useful for their sales team to
 implement a corrupt system of financial incentives to prescribers.

 With the data provided by McKesson, Insys was able to implement an “effective dose campaign”
 that would question the doctors dosing of patients within hours of that prescription being written.
 Within 24 hours, a sales rep could be in a doctor’s office questioning the dosing decision on the
 patient that had just been seen.

 On May 2, 2019 Kapoor, Simon, Lee, Rowan, and Gurry were convicted by a federal jury of the
 RICO conspiracy charges.323 Burlakoff and Babich has previously pled guilty. The defendants
 were sentenced to jail sentences ranging from 12 months to 6 months and were required to pay
 more than restitution of over $50,000,000.324

 Retail Chain Pharmacy Partners

 Defendants also continued their opioid business relationships with national retail pharmacy
 chains even after each had been cited for breaking the law and paid fines.

        1. CVS


 321   Indictment.

 322 UNITED STATES OF AMERICA, Plaintiff, Criminal Action No. 16-CR-10343-ADB v. MICHAEL J. GURRY
   et al. TRANSCRIPT OF JURY TRIAL -- DAY 17, page 161.; https://www.mckesson.com/About-
   McKesson/Newsroom/Press-Releases/2012/RelayHealth--McKesson-Administer-First-Class-Wide-TIRF-REMS-
   Program/

 323   Verdict Form.

 324https://www.justice.gov/usao-ma/victim-and-witness-assistance-program/united-states-v-michael-
   babich-alec-burlakoff-richard-simon-sunrise-lee-joseph-rowan-and



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 Between 2013 and 2017, CVS was repeatedly cited for egregious violations its of its
 responsibilities under the CSA and paid millions of dollars in fines to resolve those claims. 325
 The numerous violations found by the DEA included:326

        -    Filling prescriptions for prescribers whose DEA registration numbers were not current or
             valid;
        -    Entering and maintaining CVS dispensing records, including prescription vial labels that
             identify a non-prescribing provider as the prescribing provider for certain prescriptions.
        -    Failure to maintain effective controls against the diversion of controlled substances
        -    Failure to timely detect and report suspicious orders of controlled substances
        -    Failure to keep complete and accurate records of Schedule II controlled substances
        -    Failed to report a robbery immediately to the DEA in violation 21 C.F.R. § 1301.76(b)
        -    Filled prescriptions for Schedule III controlled substances written by nurse practitioners
             who were not authorized under state law or by terms of their DEA registration to issue
             such prescriptions in violation of 21 U.S.C. § 842(a)(1) and 21 C.F.R. § 1306.03(a)(1);
        -    Entering, creating, or maintaining CVS dispensing records in which the DEA registration
             numbers of non-prescribing practitioners, were substituted for the DEA registration
             numbers of prescribing practitioners in violation of 21 U.S.C. § 842(a)(5) and 21 C.F.R. §
             1306.24.
        -    Sending far too much hydrocodone to locations where the population could never
             legitimately warrant the supply
        -    Filling forged prescriptions for controlled substances – mostly addictive painkillers –
             more than 500 times between 2011 and 2014.
        -    Inadequately preventing and reporting thefts of hydrocodone

 Defendants, however, continued to supply CVS with narcotics, including in the Cabell-
 Huntington Community.

        2. Rite Aid

 On January 11, 2009, Rite Aid entered into a $5 million settlement agreement with DEA. The
 DEA had alleged that: “At pharmacies in Kentucky and New York, Rite Aid knowingly filled
 prescriptions for controlled substances that were not issued for a legitimate medical purpose
 pursuant to a valid physician-patient relationship.” Another allegation was that “the DEA
 conducted accountability audits of controlled substances at 25 of the 53 stores investigated to
 determine whether Rite Aid could properly account for Schedule II and III controlled substances
 purchased and dispensed. The results of the accountability audits revealed significant shortages


 325See CVS-MDLT1-000060822-829; CVS-MDLT1-00060907-914; CVS-MDLT1-000060796-804;
 CVS-MDLT1-000099702-704; CVS-MDLT1-000060847-855; CVS-MDLT1-00060915-921; CVS-
 MDLT1-00008014-015; CVS-MDLT1- 000076135; ; CVS-MDLT1-000060805-811; United States
 District Attorney’s Office, District of Massachusetts. (June 30, 2016) CVS to Pay $3.5 Million to Resolve
 Allegations that Pharmacists Filled Fake Prescriptions [Press Release]. Available at
 https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-fake-
 prescriptions (last visited March 19, 2019); CVS-MDLT1_000060830-838.

 326   Id.



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 or surpluses of the most highly abused drugs, including oxycodone and hydrocodone products,
 reflecting a pattern of non-compliance with the requirements of the CSA and federal regulations
 to prevent diversion of controlled substances in and around the communities of the Rite Aid
 pharmacies.”327

 Additionally, on March 9, 2017, Rite Aid entered into an $834,200 settlement agreement with
 DEA, after “certain Rite Aid pharmacies in Los Angeles dispensed and/or recorded controlled
 substances using a medical practitioner’s incorrect or invalid DEA registration number. The
 investigation revealed the incorrect or invalid registration numbers were used at least 1,298 times
 as a result of Rite Aid’s failure to adequately maintain its internal database. The settlement
 resolved allegations that Rite Aid pharmacies dispensed prescriptions for controlled substances
 written by a practitioner whose DEA registration number had been revoked by the DEA for
 cause.”328

 Defendants continued to do business with Rite Aid.

       3. Walgreens

 On June 11, 2013, Walgreens entered into a settlement with DEA in which it agreed to pay $80
 million to resolve allegations that it failed to maintain effective controls against diversion of
 controlled substances and to detect and report suspicious orders.
 Walgreens admitted the following:

          Walgreens acknowledges that suspicious order reporting for distribution to certain
          pharmacies did not meet the standards identified by DEA in three letters from DEA’s
          Deputy Assistant Administrator, Office of Diversion Control sent to every registered
          manufacturer and distributor, including Walgreens, on September 27, 2006, February 7,
          2007, and December 27, 2007. Furthermore, Walgreens acknowledges that certain
          Walgreens retail pharmacies did on some occasions dispense certain controlled
          substances in a manner not fully consistent with its compliance obligations under the
          CSA (21 U.S.C. §§ 801 et seq.) and its implementing regulations (21 C.F.R Part 1300 et
          seq.).”329




 327 Department of Justice. Rite Aid corporation and subsidiaries agree to pay $5 million in civil penalties
 to resolve violations in eight states of the Controlled Substances Act (press release). Washington, DC:
 United States Department of Justice, January 12, 2009. https://www.justice.gov/opa/pr/rite-aid-
 corporation-and-subsidiaries-agree-pay-5-million-civil-penalties-resolve-violations.

 328Department of Justice. Rite Aid pays $834,200 settlement for alleged Controlled Substances Act
 violations in Los Angeles (press release). Los Angeles, CA: Drug Enforcement Administration, March 9,
 2017. https://www.dea.gov/press-releases/2017/03/09/rite-aid-pays-834200-settlement-alleged-controlled-
 substances-act.

 329Settlement and Memorandum of Agreement between Walgreens and DEA, June 11, 2013.
 https://www.wthr.com/sites/wthr.com/files/archive/WalgreensMOA.pdf.



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 The DEA had alleged that Walgreens sent 2.2 million, 2.2 million, 1.7 million, 1.4 million, 1.3
 million, and 1.2 million to six pharmacies during a time when average retail pharmacy in the
 U.S. dispensed a total of 74,316 dosage units of oxycodone.330 The DEA noted:

             “Perhaps even more significant than the enormous amount of oxycodone Respondent
             shipped to this store despite the information provided by the Chief of Police to its
             pharmacists and most senior leaders, is the fact that the dispensing records for both
             Oviedo Walgreens pharmacies show that on multiple occasions, they each dispensed
             additional prescriptions of commonly diverted narcotics to the same individuals who they
             knew had been previously arrested for drug offenses at their pharmacies. I find this to be
             a staggering disregard of Walgreens’ obligations under the Controlled Substances
             Act.”331

 The DEA also stated that:

             “The available evidence suggests that [Walgreen’s] abdication of its responsibilities as an
             individual registrant was at least facilitated by a push from Walgreens Corporate
             headquarters to increase oxycodone sales at its Florida retail pharmacies, all of which
             received their Schedule II controlled substances from [Walgreens]. I also note that during
             the relevant time herein, Walgreens had in effect compensation programs for pharmacy
             employees in which bonuses were based on the number of prescriptions filled at the
             pharmacy. This bonus program, combined with a concerted, corporate directed effort to
             increase oxycodone sales, served as an incentive for pharmacists and pharmacy
             technicians to ignore the ‘red flags’ of diversion presented by these prescriptions, many
             of which, in the proper exercise of the pharmacist’s corresponding responsibility under
             21 CFR § 1306.04(a), should have resulted in a refusal to fill.” 332

 Despite Walgreen’s admitted wrongdoing, the Defendants continued to supply Walgreens with
 narcotics, including in the Cabell-Huntington Community.

 Independent West Virginia Pharmacies

 Defendants practice with independent pharmacies was no different. Indeed, as the 2018
 Congressional Report details, Defendants discovered egregious examples of criminal activity and
 diversion regarding local pharmacies, pharmacists and prescribers and either kept selling
 unchecked to parties that were acting recklessly and or criminally or stopped shipments for a




 330DEA. Order to Show Cause and Immediate Suspension of Registration. In the matter of Walgreen Co.,
   September 13, 2012. Pl. 3924. www.dea.gov/divisions/mia/2013/mia061113_appendix.pdf.

 331   Id., p. 8.

 332   Id., p. 6.




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 brief period and then resumed selling without meaningful evidence that conditions had
 improved.333

 Defendants’ practices were no different in Huntington. For example, as detailed in Section 5.b.
 above, and in the Expert Report of James Rafalski, AmerisourceBergen continued selling to the
 Safescript Pharmacy, despite repeated evidence that criminal activity and obvious diversion was
 going on at the pharmacy. Additionally, as detailed above, local prescribers who were ultimately
 criminal prosecuted went completely undetected by Defendants.

 Had the Defendants operated as prudent distributors of narcotic drugs they would not have
 turned a blind eye to the overt wrongdoing and criminal behavior of their partners in the supply
 chain. As the largest distributors of pharmaceutical products in the country, had the Defendants
 made clear to the industry that improper marketing and retailing of narcotics would not be
 tolerated, wrongdoing by their business partners would have ceased, millions of cases of opioid
 addiction might have been prevented and thousands of needless deaths prevented.

               e. The Defendants repeatedly and blatantly broke the law designed to control
                  oversupply and prevent diversion.

 To be granted the privilege of selling dangerous scheduled narcotics, each distributor must
 comply with the Controlled Substances Act (“CSA”). See 21 U.S.C. §§ 801–971 (2006); 21
 C.F.R. §§ 1300–1321 (2009).334 As McKesson recognized in one internal presentation,
 distributors have “great power” within this system, but “with great power comes great
 responsibility.”335 Under the CSA, each distributor owes a duty to protect the public health and
 safety by maintaining effective controls against diversion of prescription opiates into the illicit
 market. 21 U.S.C.A. § 823(b)(1) [1970](emphasis added). The regulations specifically require all
 distributors to report suspicious orders of controlled substances, in addition to the statutory
 responsibility to exercise due diligence to avoid filling suspicious orders. In addition, federal
 regulations impose additional security control requirements on nonpractitioner DEA registrants,
 such as distributors including, but not limited to:

           “The registrant shall design and operate a system to disclose to the registrant suspicious
           orders of controlled substances. The registrant shall inform the Field Division of the
           Administration in his region of suspicious orders when discovered by the registrant.
           Suspicious orders include orders of unusual size, orders deviating substantially from a
           normal pattern, and orders of unusual frequency.”336


 333   Congressional Report at 130-171 and documents cited therein.

   I have been provided the relevant portions of the Controlled Substances Act (“CSA”) and its
 334
 implementing regulations create restrictions on the distribution of controlled substances. See 21 U.S.C. §§
 801–971 (2006); 21 C.F.R. §§ 1300–1321 (2009). They are listed in Schedule 3, attached to this Report.

 335   MCK-AGMS-006-0000916-917.

 336   21 C.F.R. § 1301.74(b).




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 As summarized by McKesson in internal documents, the CSA is designed to protect public
 health and safety and therefore compliance by all registrants in the closed system of distribution
 of narcotics is critical to protecting that public health and safety.”337 The CSA was designed to
 protect the public health by providing for a closed system of drug distribution, in which all
 legitimate handlers of controlled substances must obtain a DEA registration, and as a condition
 of maintaining such registration, must take reasonable steps to ensure their registration is not
 being used as a source of diversion. As summarized in Defendants internal documents,
 compliance impacts diversion and the “checks and balances created by the Controlled Substances
 Act work.”338 Indeed, as recognized in McKesson documents, major diversion schemes cannot
 exist without sustained sources of supply.339

 It was utterly foreseeable, and Defendants recognized it in internal documents, that communities
 would be harmed if they failed to comply with their important obligations under the CSA.340
 Major diversion was preventable by Defendants, the primary sources of supply.341 As the wave
 of pills that the Defendants were selling swept over the United States and, overwhelmed West
 Virginia, however, it became clear that Defendants were not meeting these obligations and that
 oversupply, lack of knowledge about where prescription opioids were going, and diversion was
 rampant.

 With its limited and often severely inadequate resources, the DEA tried to ensure that
 Defendants and the opioid industry complied with the legal obligations of the CSA, an effort
 later titled “the Distributor Initiative.”342 The DEA’s first step was to make clear in writing and
 through in person meetings with each company, what the law that had been in effect since 1970
 required, so no company could claim ignorance.343 AmerisourceBergen, Cardinal, H.D. Smith
 and McKesson each had one-on-one meetings with DEA as part of this initiative. 344 In addition,
 during 2006 and 2007, the DEA sent a series of three letters to DEA-registered distributors,

   MCK-AGMS-006-0000887 (The CSA “creates checks and balances between registrants to protect the
 337
 public health and safety.”)

 338   MCK-AGMS-006-0000925.

 339   MCK-AGMS-006-0000925.

 340   See Chris Zimmerman [AmerisourceBergen] Deposition (August 3, 2018) at 104:14-17.

 341See e.g. MCK-AGMS-006-0000892; McKesson’s 30(b)(6) representative confirmed that opioids
 “come ultimately from the manufacturer, distributor, pharmacy”, and “[w]ithout sustained sources of
 supply, major diversion schemes wither away”. See July 31, 2018 30(b)(6) deposition of McKesson
 through Nate Hartle at 298:18-299:17.

 342   Congressional Report at 31-33.

 343   Id.

   Id; see also US-DEA-00000352; US-DEA-00000369; US-DEA-00000371; US-DEA-00000147; US-
 344
 DEA-00000144.




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 outlining their legal obligations to conduct due diligence and report suspicious orders.345
 Beginning in 2007, the DEA held five separate national conferences, three of which were
 exclusively for distributors, where the agency “reviewed the distributors legal responsibilities
 under the CSA and provided updates on DEA’s areas of concern and current trends regarding
 controlled substance diversion.”346

 McKesson’s internal documents summarized all of the advance warnings to the opioid
 distributors about exactly what their obligations to prevent diversion were and the expectations
 for following them, including:347

        -   The Distributor Initiative
        -   Reminder letters sent to industry
        -   Industry conferences were the message of compliance was communicated
        -   Meetings with the HDMA and industry representatives
        -   Education for downstream participants
        -   Congressional testimony

 Despite these efforts, however, Defendants were not taking their compliance requirements
 seriously. Therefore, beginning in 2007 and 2008, the DEA took enforcement action for
 violations of the law against the Defendants. Time and again between 2007 and 2017,
 Defendants were cited by the DEA for violating the CSA and failing to comply with its
 requirements to protect the public health, including:

        1. April 24, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
           Order against the AmerisourceBergen Orlando, Florida distribution center alleging failure
           to maintain effective controls against diversion of controlled substances. On June 22,
           2007, AmerisourceBergen entered into a settlement and release agreement with the DEA
           related to the allegations made by the agency. 348

        2. November 29, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
           Order against the Cardinal Health Auburn, Washington Distribution Center which



   Id.; see also CAH_MDL_PRIORPROD_DEA07_00837645;
 345
 CAH_MDL_PRIORPROD_DEA07_01053067; ABDCMDL00378493; MCKMDL00478906;
 MCKMDL00478910.

 346   Congressional Report at 33.

 347   MCK-AGMS-006-0000907.

 348AmerisourceBergen Corporation, AmerisourceBergen Signs Agreement with DEA Leading to
 Reinstatement of its Orlando Distribution Center’s Suspended License to Distribute Controlled
 Substances, June 22, 2007, available at http://investor.amerisourcebergen.com/news-releases/news-
 release-details/amerisourcebergen-signs-agreement-dea-leading-reinstatement-its (last visited March 11,
 2019).




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          suspended their DEA registration for failure to maintain effective controls against
          diversion of hydrocodone.349

       3. December 7, 2007, DEA issued an Order to Show Cause and Immediate Suspension
          Order against the Cardinal Health Lakeland, Florida Distribution Center for failure to
          maintain effective controls against diversion of hydrocodone. 350

       4. December 7, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
          Order against the Cardinal Health Swedesboro, New Jersey Distribution Center for
          failure to maintain effective controls against diversion of hydrocodone. 351

       5. January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal Health
          Stafford, Texas Distribution Center for failure to maintain effective controls against
          diversion of hydrocodone. Cardinal agreed to suspend shipping any controlled
          substances from the location pending a resolution with the DEA. 352

       6. May 2, 2008, McKesson Corporation agree to pay a $13 million civil penalty and entered
          into an Administrative MOA with the DEA which provided that McKesson would
          “maintain a compliance program designed to detect and prevent the diversion of
          controlled substances, inform DEA of suspicious orders required by 21 C.F.R. §
          1301.74(b), and follow the procedures established by its Controlled Substance
          Monitoring Program.353

       7. On September 30, 2008, Cardinal Health agreed to pay a $34 million civil penalty and
          entered into a Settlement and Release Agreement and Administrative Memorandum of
          Agreement (MOA) with the DEA related to its Auburn Facility, Lakeland Facility,


 349Cardinal Health, Press Release, Cardinal Health Receives DEA Order to Temporarily Cease
 Distribution of Controlled Substances from Auburn Wash. Facility, November 29, 2007, available at
 https://ir.cardinalhealth.com/news/press-release-details/2007/Cardinal-Health-Receives-DEA-Order-to-
 Temporarily-Cease-Distribution-of-Controlled-Substances-from-Auburn-Wash-Facility/default.aspx

 350Cardinal Health press release, Cardinal Health to Cease Distribution of Controlled Substances from
 Florida Facility, December 7, 2007, available at
 https://cardinalhealth.mediaroom.com/newsreleasearchive?item=122500.


  Drug Topics, DEA hits third Cardinal Health distribution center, December 21, 2007, available at
 https://www.drugtopics.com/pharmacy/dea-hits-third-cardinal-health-distribution-center.

 352Drug Topics, Cardinal caught between DEA and pharmacies over diversion control, April 14, 2008,
 available at https://www.drugtopics.com/community-practice/cardinal-caught-between-dea-and-
 pharmacies-over-diversion-control.

 353May 2, 2008 Settlement and Release Agreement and Administrative Memorandum of Agreement
 between DEA and McKesson Corporation, available at https://www.dea.gov/sites/default/files/2018-
 06/Pharmaceutical%20Agreements%20-%20McKesson%20-%202008_0.pdf.




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          Swedesboro Facility and Stafford Facility. The MOA also referenced allegations by the
          DEA that Cardinal failed to maintain effective controls against the diversion of controlled
          substances.354
       8. February 2, 2012, the DEA issued an Order to Show Cause and Immediate Suspension
          Order against the Cardinal Health Lakeland, Florida Distribution Center for failure to
          maintain effective controls against diversion of oxycodone.355

       9. March 7, 2012, Memorandum of Opinion [Doc. 32] from the United States District Court
          for the District of Columbia, Cardinal Health, Inc., vs. Eric H. Holder, Jr., Civil Action
          No. 12-185 (RBW), denying Cardinal’s challenge of the DEA’s Order to Show Cause
          and Immediate Suspension of Registration of Cardinal’s Lakeland Distribution Center.356

       10. May 14, 2012, Cardinal Health entered into an Administrative MOA with the DEA, which,
           among other things, stipulated that its compliance with the terms of the 2008 MOA was
           inadequate in certain respects and that its Lakeland, Florida Distribution Center’s DEA
           registration would be suspended for two years.357

       11. December 23, 2016, Cardinal Health agreed to pay a $34 million civil penalty to the DEA
           to resolve allegations that it failed to report suspicious orders and meet its obligation under
           the CSA in Florida, Maryland, New York, and Washington. 358

       12. January 5, 2017, McKesson Corporation entered into an Administrative MOA with the
           DEA wherein it agreed to pay a $150 million civil penalty for violation of the 2008 MOA
           as well as failure to identify and report suspicious orders at its facilities in Aurora,
           Colorado; Aurora, Illinois; Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida;
           Landover, Maryland; La Vista, Nebraska; Livonia, Michigan; Methuen, Massachusetts;




 354United States Attorney’s Office press release, Cardinal Health Inc., Agrees to Pay $34 Million to
 Settle Claims That It Failed to Report Suspicious Sales of Widely-Abused Controlled Substances, October
 2, 2008. Available at https://www.justice.gov/archive/usao/co/news/2008/October08/10_2_08.html.

   2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
 355
 CAH_MDL2804_02465982.

   Copy of Order available at https://www.govinfo.gov/content/pkg/USCOURTS-dcd-1_12-cv-
 356
 00185/pdf/USCOURTS-dcd-1_12-cv-00185-0.pdf (last visited March 19, 2019).

   2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
 357
 CAH_MDL2804_02465982.

 358United States Attorney’s Office, Middle District of Florida. (December 23, 2016) United States
 Reaches $34 Million Settlement with Cardinal Health for Civil Penalties Under the Controlled
 Substances Act [Press Release]. Available at https://www.justice.gov/usao-mdfl/pr/united-states-reaches-
 34-million-settlement-cardinal-health-civil-penalties-under (last visited March 19, 2019).




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           Santa Fe Springs, California; Washington Courthouse, Ohio; and West Sacramento,
           California.359

 Each time the DEA caught and cited the Defendants, however, the Defendants did not take it as
 an opportunity to increase safety and compliance with the CSA, but rather continued business as
 usual. In fact, numerous internal documents evidence how Defendants made conscious decisions
 to ignore the law. For example, Cardinal Health employees stated in 2013 that they did not report
 suspicious orders to the DEA because there is “no upside..”360 McKesson instructed its
 employees not to use the word “suspicious” so that the company could circumvent its obligations
 as follows:361

       With the recent fines and ongoing attention being paid to this issue, it is quite possible
       that wholesalers will be under scrutiny for quite some time. All communications
       regarding controlled substances will therefore be subject to subpoena and
       discovery. . . . Refrain from using the word ‘suspicious’ in communications. Once we
       deem an order and/or customer suspicious, McKesson is required to act. This means all
       controlled substances sales to that customer must cease and the DEA must be
       notified.

 Indeed, as summarized in Defendants’ internal documents, the incentive to break the law is
 monetary.362 Compared to Defendants annual revenue, any of the fines or penalties were a mere
 drop in the bucket and a simple cost of doing business.

 Each time, the Defendants simply agreed to a relatively modest monetary fine, promised to do
 better and went right on increasing demand and selling without restraint. For example, just after
 agreeing to pay its $13.8 million fine in 2008, McKesson reassured its pharmacy customers that
 its new program regarding suspicious order blocking “address[ed] the DEA’s requirements to
 ensure controlled substances are used in the way they were intended,” but that “it also ensures
 that you as a McKesson customer can continue with business as usual.” 363 In 2017,
 McKesson was yet again undeterred by its most recent $150 million dollar fine. Indeed, two




 359United States Department of Justice. (January 17, 2017) McKesson Agrees to Pay record $150 Million
 settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs [Press Release]. Available at
 https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-report-
 suspicious-orders (last visited March 19, 2019).

 360   MCKMDL00545341 (emphasis added).

 361MCKMDL00634271 (May 21, 2008 internal email advising employees to “Refrain from using the
 word ‘suspicious’ in communications” in the context of McKesson’s controlled substance monitoring
 program (CSMP)).

 362   ABDCMDL00158927 (Diversion Issues, PowerPoint).

 363   MCKMDL00543610 at 613 (emphasis added).




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 weeks after its fine, McKesson reassured pharmacy customers that it would be “business as
 usual from a threshold perspective.”364

 Despite these warnings by the DEA, a 2018 Congressional investigation found that Defendants
 had continued to do business as usual, “the distributors continued to ship large volumes of
 opioids into West Virginia.365 According to the Congressional report aptly titled “Warning
 Signs, Ignored: Opioid Distribution and Enforcement Concerns in West Virginia,” (“the
 Congressional Report” or “the Report”) Defendants AmerisourceBergen, Cardinal Health, and
 McKesson, sent more than 900 million doses of hydrocodone and oxycodone to West Virginia
 between 2005 and 2016, where the average population hovered above 1.8 million people. 366
 Specifically, the report found that between 2005 and 2016:367

        -    Cardinal Health distributed more than 366 million doses of hydrocodone and oxycodone
             to West Virginia pharmacies.

        -    McKesson supplied 299.87 million doses of hydrocodone and oxycodone to West
             Virginia pharmacies.

        -    AmerisourceBergen distributed 248.16 million doses of hydrocodone and oxycodone to
             West Virginia pharmacies.

 “According to DEA analysis of market data, the hydrocodone disbursements to some pharmacies
 were as many as six times higher than the annual amount an average rural West Virginia
 pharmacy received.”368 Additionally, “[a]t the same time large amounts of opioids were being
 supplied to West Virginia, the DEA had data demonstrating the increasing problem with
 controlled substance diversion in the state.”369 The Congressional Committee found that this
 extraordinary volume of shipments in West Virginia was due in part to a “a series of
 breakdowns” in the Defendants systems that were required to check oversupply and prevent
 diversion including:370

        -    “Instances of insufficient due diligence by distributors.”

 364   MCKMDL00418094 (emphasis added).

 365   Congressional Report at 6.

 366Id.; see also,
   https://www.opendatanetwork.com/entity/0400000US54/West_Virginia/demographics.population.count
   ?year=2018

 367   Congressional Report at 6.

 368   Id.

 369   Id.

 370   Congressional Report at 6-7.




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        -   “Cases where data submitted by a new customer was not critically analyzed to identify
            any red flags of controlled substance diversion.”

        -   “[P]otential red flags regarding a pharmacy’s prescribing physicians that raised concerns
            about possible diversion were not questioned.”

        -   “Instances where there were failures to monitor the volume of controlled substances sold
            to customers.”

        -   “Thresholds [to track suspicious orders] were assigned arbitrarily, and not effective.”

        -   “Instances in which distributors set thresholds but failed to enforce them.”

        -   Instances in which distributors “assigned artificially high hydrocodone threshold limits
            with little to no documented justification or continued to raise threshold levels without
            thoroughly investigating or documenting the justifications presented by a customer
            pharmacy.”

 “Despite efforts by DEA to educate distributors about their responsibility to report suspicious
 orders, the companies reviewed by the Committee [including Defendants] failed to address
 suspicious order monitoring in critical ways” including:371

                o “Rather than reporting individual suspicious orders as they were identified, some
                  distributors reported a variety of other types information to DEA over the years.
                  This information included excessive orders encompassing drug shipments that
                  had already been shipped, and suspicious customers such as pharmacies with
                  which distributors had terminated business relationships. Neither of these types of
                  reports informed DEA about suspicious orders in real-time nor did they guarantee
                  the suspicious orders reported to DEA were also blocked by the distributors.”

                o “One distributor lacked any formal order monitoring program. Rather, the
                  distributor’s employees relied on subjective criteria to identify orders it
                  considered suspicious.”

                o “Instances in which distributors appeared to turn a blind eye to red flags of
                  possible drug diversion.”

                o Instances in which “despite available information, distributors, at times, took only
                  minimal steps to investigate possible warning signs of diversion and continued to
                  ship controlled substances to suspect pharmacies.”




 371   Congressional Report at 6-7.




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               o “In several cases, distributors either failed to fully investigate potentially
                 troubling information they obtained from customer pharmacies or willfully
                 ignored it.”

 The Committee concluded that “the extraordinary volume and pattern of opioid shipments, such
 as those sent to pharmacies in small West Virginia towns, were in the words, ‘red flags of
 diversion’” and that distributors were “sending volumes of controlled substances to small town
 pharmacies that far exceeded what could be considered reasonable to meet the legitimate medical
 needs of area residents.”372 The Committee “identified failings in various aspects of
 [Defendants’] compliance programs or the implementation thereof. These included inadequate
 new customer due diligence efforts, poor implementation—or lack thereof—of thresholds
 capping the distribution of controlled substances, and suspicious order reporting, which resulted
 in continued shipments by the distributors to certain pharmacies despite clear red flags of
 diversion.”373 The Committee found that:374

           Distributors also at times shipped millions of opioid pills to small-town pharmacies with
           very little corresponding due diligence. In other instances, distributors had in their
           possession due diligence materials that should have prompted them to conduct
           independent investigations of certain pharmacy customers or required them to more
           frequently report suspicious orders to DEA. The Committee’s investigation found,
           however, that distributors continued to ship opioids to these pharmacies for months and,
           in some cases, even years.

 The Congressional Committee also made the following specific findings about Defendants’
 conduct in West Virginia noting that “distributors can obtain dispensing data from pharmacies
 that show the total volume of controlled substances dispensed by a pharmacy, including the
 method of payment and physician associated with each prescription:”375 With this information at
 their disposal, however, the Congressional Committee cited how each Defendant committed
 egregious violations of compliance obligations at pharmacies in West Virginia, utterly failed to
 meeting their obligations under the CSA, and took actions that no reasonable distributor
 interested in protecting the public health and safety in West Virginia would take. 376

 As prescription opioids flowed into West Virginia communities at levels that could never be
 considered clinically warranted for the population, the Congressional Report found that
 “McKesson did not submit suspicious order reports to the DEA regarding orders placed by West



 372   Congressional Report at 100.

 373   Congressional Report at 105.

 374   Congressional Report at 106.

 375   Congressional Report at 112.

 376   Congressional Report at 12-32.




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 Virginia pharmacies until August 1, 2013.”377 “Cardinal did not have a consolidated suspicious
 order reporting system in place until 2012, was unable to produce comprehensive suspicious
 order reports regarding West Virginia pharmacies prior to 2012 and was unable to provide
 comprehensive data prior to 2012 demonstrating compliance with these reporting policies in
 West Virginia.”378 “Prior to July 2007, AmerisourceBergen mailed copies of suspicious order
 reports to the DEA on a monthly basis but did not block any orders deemed suspicious.”379 “The
 number of suspicious order reports regarding West Virginia pharmacies that AmerisourceBergen
 submitted to DEA and blocked from shipment ranged from a high of 792 orders in 2013 to a low
 of three orders in 2016.”380

 According to the Congressional Committee, “[t]hese failures raise substantial concern given that
 DEA has said existing knowledge of a geographic area’s problem with controlled substance
 abuse is a factor that distributors should take into account when evaluating customers.”381 “West
 Virginia has had the highest drug overdose rate in the country—meaning distributors should
 have been particularly attuned to any red flags encountered when conducting due diligence on
 pharmacies in the state.”382 “Taken altogether, the Committee’s report outlines a series of
 missteps and missed opportunities that contributed to the worsening of the opioid epidemic in
 West Virginia.”383

 I agree with the Committee’s conclusion, although I would add that the Defendants actions
 outlined therein are not only “missteps,” but were reckless, exhibit a total disregard for the public
 health and safety of the communities in West Virginia and were a substantial factor in causing
 the Opioid Epidemic in West Virginia and in the Cabell-Huntington Community.

 Additionally, I have reviewed the Expert Report of James Rafalski. 384 Mr. Rafalski cites
 numerous failures in compliance with Defendants obligations under state and federal law, that
 occurred in the Cabell Huntington Community. 385 Specifically, the report cites a failure by each
 of the Defendants to maintain effective systems to prevent diversion and identifies additional



 377   Congressional Report at 16.

 378   Id.

 379   Id. at 17.

 380   Congressional Report at 16-17.

 381   Congressional Report at 7.

 382   Id.

 383   Congressional Report at 9.

 384   Expert Report of James Rafalski, dated August 3, 2020.

 385   Id.




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 violations of state and federal law committed by the Defendants.386 As detailed in the Expert
 Report of Craig McCann, Ph.D., this was all happening at a time when Defendants were
 supplying a staggering amount of opioids into West Virginia, the Cabell-Huntington Community
 and the surround areas.387 The Expert Reports of Mr. Rafalski and Dr. McCann additionally
 form the basis for my opinions contained in this section of my Report.

 As Defendants themselves recognize in internal documents, failing to comply with CSA
 obligations designed to protect the public health and safety puts the public at a direct and
 unreasonable risk.388 It is my professional opinion that this blatant disregard for their obligations
 under state and federal law, and the utter failure to correct their unsafe and illegal behavior when
 it was repeatedly cited by federal authorities, was a significant contributing factor in producing
 the Opioid Epidemic we see today.

                f. The Defendants misrepresented the quality of their anti-diversion programs
                   to keep regulatory and public scrutiny at bay and continue selling
                   unchecked.

 During the time Defendants were repeatedly breaking the law, blatantly failing to comply with
 their CSA obligations, recklessly flooding West Virginia with dangerous prescription opioids,
 and utterly failing to prevent diversion, each falsely represented the robust nature of their anti-
 diversion programs, their commitment to preventing diversion and their commitment to
 protecting public health and safety by preventing diversion. Indeed, at the time Defendants were
 assuring the public, regulators and the government that they took their compliance obligations
 seriously, that they had adequate systems in place to prevent diversion and that they were
 “industry leaders” in diversion protection they were being cited by the government for breaking
 the law, for their the woefully inadequate systems to prevent diversion and putting the public
 directly in harm’s way. These misrepresentations put public health and safety at risk, in that they
 were designed to impede meaningful safety measures that could have helped prevent diversion
 and protect the public health and safety.

            AmerisourceBergen

 AmerisourceBergen has repeatedly stated, falsely, that it maintains an effective anti-diversion
 program. After its Orlando DC was suspended by the DEA in 2007 for failing to maintain
 effective controls against diversion, AmerisourceBergen pledged to improve its program.389




 386   Id. at 23-31, 40-42, 47-122.

 387   Expert Report of Craig McCann, Ph.D., dated August 3, 2020.

 388   See e.g., MCK-AGMS-006-0000880.

 389   See ABDCMDL00279854 (2007 AmerisourceBergen settlement with DEA).




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 Amerisource then put out a public statement defending itself and casting doubt on the DEA’s
 decision stating: 390

             Historically, AmerisourceBergen has proactively cooperated with the DEA in preventing
             diversion of hydrocodone and other controlled substances and will fully cooperate with
             the agency in resolving the temporary suspension. The Company has a diversion program
             and a DEA-approved suspicious-order monitoring program in place to identify customers
             who are suspected of inappropriately selling products sold to them by
             AmerisourceBergen. All of the Orlando Distribution Center’s DEA audits, the most
             recent within the last year, were passed with no deficiencies found.

 AmerisourceBergen also represented to pharmacy customers in 2014 that it was an “industry
 leader” in preventing diversion and abuse, committed to ensuring “the safety of the
 pharmaceutical supply chain.”391 Nonetheless, in the same brochure, Amerisource
 communicated to pharmacies that it was willing to increase thresholds and work to minimize the
 impact of compliance requirements on customers’ business.

 Amerisource Chairman and CEO Steve Collis told Congress in 2018 that Amerisource has
 “worked with the DEA to enhance the system in 1998, and again in 2007, and [has] continually
 reviewed and improved [the anti-diversion program], including a comprehensive 2015 revision
 to build on current data, respond to trends in prescription drug abuse, and adopt improved
 technological capabilities, including data-driven analytical tools.” (5/8/2018 Collis statement to
 Subcommittee on Oversight and Investigations Committee on Energy and Commerce). 392

 AmerisourceBergen also made false statements in response to regulators’ questions about the
 effectiveness of the anti-diversion program. Specifically, the Ohio Board of Pharmacy asked
 Amerisource why it failed to report any suspicious orders during a period after April of 2016,
 and Amerisource replied that enhancements to the Order Monitoring Program and its “advanced
 analytics” were responsible for the sharp drop in the number of suspicious orders that were
 reported.393 Amerisource also claimed that “red flag analytical reporting” improved its ability to
 “recognize and prevent potential diversion by our customers prior to their placing” suspicious
 orders.394

                     As fully outlined in the Sections above and in the 2018 Congressional Report,
             these statements are not accurate. Further, at the time Amerisource was touting its anti-
             diversion systems publicly internal documents show it was being advised by consultants


 390   ABDCMDL00400594 (4/24/07 news release).

 391   ABDCMDL00360399 (OMP and Diversion Control brochure to pharmacy customers).

 392https://docs.house.gov/meetings/IF/IF02/20180508/108260/HHRG-115-IF02-Wstate-CollisS-
   20180508.pdf

 393   ABDCMDL00354657 (email chain with Ohio Board of Pharmacy).

 394   Id.




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             that its systems were woefully inadequate. 395 Indeed, in 2015 ABDC’s consultants
             reviewing ABDC’s anti-diversion systems reported 40 adverse findings to Amerisource,
             including a lack of resources, a lack of formal training, excess workloads, and
             administrative demands, as well as inconsistent policies and communications. 396

 Cardinal Health

 Cardinal has also repeatedly touted the strength of its anti-diversion practices and purported anti-
 diversion monitoring programs, despite multiple punitive actions against it by the DEA related to
 Cardinal’s SOM failures, and Cardinal’s own knowledge that it was skirting DEA requirements.
 In 2008, following numerous failures to adequately monitor and report suspicious orders and
 prevent diversion at its facilities, the DEA suspended three of Cardinal’s distribution facilities
 and fined it $34 million. In its 2008 agreement with the DEA, Cardinal pledged to “maintain a
 compliance program designed to detect and prevent diversion of controlled substances,” report
 suspicious orders to the DEA, file monthly reports with the DEA and “cooperate with the
 government in any investigation.”397

 In February 2012, Cardinal publicly asserted the strength of its anti-diversion program, stating
 that “Cardinal Health has designed and implemented a comprehensive system to detect and
 report suspicious orders . . . and prevent the diversion of controlled substances,” “Cardinal
 Health has continuously improved its anti-diversion program,” and that it “goes to great lengths
 to seek to prevent potential diversion of the controlled substances it sells to DEA-registered
 pharmacies.”398 However, Cardinal’s representations were demonstrated to be false – just a few
 months later, in May 2012, the DEA suspended Cardinal’s Lakeland, Florida facility for two
 years.399 In the settlement agreement, Cardinal admitted that its due diligence efforts and
 compliance with the 2008 settlement agreement were “inadequate.” 400

 Cardinal knew that it was not complying with the DEA’s anti-diversion requirements all along.
 In fact, in 2013, at an industry conference Cardinal told its peers it does not report suspicious
 opioid orders because there is “no upside.” 401

 Nonetheless, Cardinal continued to publicly promote its anti-diversion program. In 2016, after
 agreeing to pay yet another fine to DEA (this time for $44 million) for failure to maintain an

 395   ABDCMDL00250024 (8/17/15 FTI Findings Matrix); ABDCMDL00253869.

 396   ABDCMDL00250024 (8/17/15 FTI Findings Matrix)

 397   CAH_MDL_PRIORPROD_DEA12_00014414 (2008 Administrative Memorandum of Agreement).

 398CAH_DEPO_MONE_OH_0000285 pp. 1-5 (2/3/2012 Declaration of Michael Mone, Cardinal’s VP
   for Supply Chain Integrity).

 399   CAH_MDL2804_02149723 (DEA-Cardinal Administrative Memorandum of Agreement, May 2012).

 400   Id.

 401   MCKMDL00545341-342 (3/11/2013 email from W. de Guiterrez-Mahoney to D. Walker, et al.).




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 effective anti-diversion program, Cardinal stated as follows: “Cardinal Health employs a large
 organization dedicated to maintaining and continuously improving a sophisticated anti-diversion
 program that includes advanced analytics, technology, and the deployment of teams of anti-
 diversion specialists and investigators embedded within our supply chain.”402 Cardinal’s
 repeated representations about its anti-diversion program are demonstrably false, and Cardinal
 has known it for years.

 McKesson

 McKesson made numerous misrepresentations to the DEA and the public that it was complying
 with its duties under the law to stop abuse and diversion of opioids. For instance, in a 1/18/2006
 letter to DEA’s Joseph Rannazzisi, McKesson’s EVP and Group President Paul Julian stated:
 “let me assure you and DEA that McKesson is committed to a compliance program that ensures
 the safe distribution of health care products, especially controlled substances.” 403 But DEA
 continued to find multiple flaws in McKesson’s anti-diversion programs, resulting in a
 settlement and fine of $13.25 million in 2008.404 This settlement required McKesson to
 substantially revamp its programs, including the imposition of strict threshold limits on
 pharmacies’ purchases. 405

 McKesson publicly represented as part of the 2008 settlement that it would implement a program
 to “enhance its monitoring” to detect and prevent diversion: “The security of the nation’s
 pharmaceutical supply chain is one of McKesson’s highest priorities . . . McKesson continually
 seeks ways to enhance the efficiency and safety of pharmaceutical supply chain.”406

 However, once again, McKesson’s representations were demonstrably false - in 2017, the DEA
 imposed a $150 million fine/settlement on McKesson.407 The 2017 settlement agreement stated
 that “McKesson failed to follow the policies and procedures set forth in the McKesson CSMP to
 detect and disclose suspicious orders of controlled substances.” 408 Moreover, McKesson
 acknowledged that its compliance failures leading to the 2017 settlement were of the same type



 402CAH_MDL2804_03388866 (12/23/2016 news release, “Cardinal Health Announces Civil Settlement
   with DOJ”).

 403   MCKMDL00571361.

 404   MCKMDL00332932 (Settlement and Release Agreement dated 5/2/2008).

 405   Id.

 406See McKesson Announces Settlement with DEA, Press Release. Businesswire. (May 2, 2008), available
   at, https://www.businesswire.com/news/home/20080502005690/en/McKesson-Announces-Settlement-
   DEA.

 407   MCKMDL00355349 (1/5/2017 Administrative Memorandum of Agreement).

 408   Id.




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 that led to the 2008 settlement, and that despite the specific requirements of the 2008 settlement,
 McKesson had failed to take action to prevent the problems from reoccurring. 409

 McKesson knew all along that its representations about improvements to its anti-diversion
 program were false. For example, in 2008 during the initial rollout of the new Controlled
 Substances Monitoring Program, McKesson’s Pharmacy Program Guide reassured its
 pharmacies that despite new DEA requirements such as thresholds, “you as a McKesson
 customer can continue with business as usual.”410 Moreover, in 2011, McKesson instructed its
 employees to skirt DEA requirements by avoiding use of the word “suspicious” in customer
 communications because “[o]nce McKesson deems an order and/or customer suspicious,
 McKesson is required to act. This means all controlled substances sales to that customer must
 cease, and the DEA must be notified.” 411 In other words, McKesson knowingly undercut its own
 public statements about an improved anti-diversion program.

 McKesson continues to make similar deceptive public statements about its anti-diversion
 activity. It claims to have “teams, processes and technologies dedicated to preventing diversion”
 and to be “committed to maintaining . . . strong programs designed to detect and prevent opioid
 diversion within the pharmaceutical supply chain.” 412

 As demonstrated repeatedly over the years, these representations are clearly false.

 HDA Misinformation regarding Distributors anti-diversion programs

 Not only did distributors directly misrepresent their anti-diversion efforts, but they also did so
 through the HDA. These misrepresentations included statements that Defendants were
 implementing suspicious order monitoring programs reasonably designed to identify and prevent
 opioid shipments that were at high risk of diversion.413 For example, HDA developed what was
 “supposed to be a ‘best practices’ model for dealing with ‘suspicious orders,’” called the
 Industry Compliance Guidelines (ICGs).414 The HDA then used the ICG to assure the DEA that
 HDA would promote the ICGs to its members and to “allied trade associations,” such as

 409   Id. at 3.

 410   MCKMDL00543612 (4/4/2008 Program Guide; emphasis added).

 411   MCKMDL00000021 at p. 19 (January 2011 McKesson Operations Manual for Pharma Distribution).

 412See McKesson Website, “Opioid Abuse – Fighting the Epidemic.” available at
 https://www.mckesson.com/About-McKesson/Fighting-Opioid-Abuse/ ; see also MCKMDL01387750
 (Chairman/CEO John Hammergren’s 5/8/2018 written testimony before House subcommittee claiming
 that McKesson has “significantly enhanced our monitoring systems and procedures, so that we can
 quickly identify and block suspicious orders, and cut off bad actors’ access to controlled substances.”).

 413See, e.g., HDA_MDL_000131158 (2013 “Infographic” touting distributors’ “safe and efficient
   distribution” of healthcare products, “sophisticated” processes and alerts to the DEA of suspicious
   orders).

 414   HDA_MDL_000157898.




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 “NACDS” and “manufacturer associations (Pharmaceutical Research and Manufacturers
 Association – PhRMA and the Generic Pharmaceutical Association --GPHA)” such that the
 ICGs would serve as an industry-wide standard.415 HDA even told the DEA that it hoped “that
 DEA would find the guidelines acceptable as a voluntary ‘consent decree,’” and that with the
 enforcement of the ICG that Defendants “intended to be part of the solution rather than the
 problem.”416 When making these representations, HDA never mentioned it had no power to
 compel its members to adopt the guidelines and had never asked it members to do so. 417 After
 DEA tried to use the Guidelines in enforcement actions only to hear that the companies had not
 committed to following them, HDA admitted that the Guidelines were “never intended to
 constitute a ‘standard’”418

 Similar to the way industry had used PR firms to spin its message that opioids could be widely
 used without risk, the HDA also utilized industry PR consulting firms to spin its false message
 that Defendants were taking their compliance obligations seriously.419

 Anti-Diversion Industry Working Group (“ADIWG”)

 ADIWG was an industry front group that included AmerisourceBergen, Cardinal, McKesson,
 Mallinckrodt and other entities. It was formed as a public relations vehicle to promote an
 impression of industry efforts in preventing diversion, while simultaneously deflecting
 distributors’ and manufacturers’ responsibility for the Opioid Epidemic. ADIWG touted in a
 letter to DEA: “Aside from our own anti-diversion activities in helping to protect the drug supply
 chain, many of our respective organizations have established educational programs for healthcare
 professionals and outreach programs to communities to help educate and inform all parties on the
 dangers associated with prescription drug abuse.” 420 In 2014, ADIWG and the National
 Association of Boards of Pharmacy produced a video entitled “Red Flags,” ostensibly to educate
 pharmacists about “the presentation of a controlled substance prescription that should raise


 415HDA_MDL_000084666; HSI-MDL-00620224 at 225; HDA_MDL_000143030;
   CAH_MDL2804_01521412; CAH_MDL2804_02489188; HDA_MDL_000156499;
   HDA_MDL_000142905; HDA_MDL_000118385; HDA_MDL_000093755; HDA_MDL_000117145;
   HDA_MDL_000117158.

 416   CAH_MDL2804-02489188; HSI-MDL-00620224 at 225.

 417Kelly Dep., at 241:13-242:8 and 248-49; HDA_MDL_000080421; CAH_MDL2804_02489188 at 189;
   HDA_MDL_000155886; HDA_MDL_000155930; HDA_MDL_000081415.

 418   HDA_MDL_000155930 at 936; HDA_MDL_000081415.

 419 HDA_MDL_000087762 (and attachments); MCKMDL00586952; Kelly Dep. 345:18-347:23;
   CAH_MDL2804_01505341; HDA_MDL_000087762; 000087734-54; HDA_MDL_000087806 at
   000087809; PPLPC031000302888 (6/5/2006 email in which Dezenhall’s Sheila Hershow sent Purdue a
   transcript of Dateline NBC story ordered by HDMA); HDA_MDL_000159557 (5/17/2007 Executive
   Committee Meeting Minutes); HDA_MDL_000202605.

 420   CAH_MDL2804_03250272.




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 reasonable suspicion about the validity of that prescription.” This video, however, served to put
 the onus on pharmacists, rather than distributors and manufacturers, to prevent diversion.421

 Additionally, the ADIWG lobbied DEA to advance rules that put the onus on DEA to prevent
 diversion and minimized the responsibility of manufacturers and distributors rather than accept
 their role in the system and work to prevent diversion and protect public health and safety.422

 Had the Defendants acted as prudent distributors of narcotics, they would have complied with
 their obligations as DEA registrants and maintained adequate systems to prevent diversion.
 Instead, the Defendants repeatedly issued false statements to policymakers and the public about
 the adequacy of their anti-diversion programs. In so doing, they prevented state and federal
 policymakers from more forcefully regulating them. The Defendants worked to preserve the
 profitable status quo despite the clear and devasting impact they were having on families and
 communities across the country and especially in West Virginia.


               g. Defendants funded and fueled a massive campaign to dismantle rules,
                  regulations and government control designed to check supply and protect the
                  public

 Within the first few years of the release of OxyContin, serious public health problems related to
 its use, especially in Appalachia and New England, began to emerge. 423 To prevent
 policymakers, the medical community and the public from responding appropriately to this
 newly emerging public health crisis, Purdue Pharma and its industry partners would adopt a
 public relations strategy that falsely framed the problem. “We have to hammer on the abusers in
 every way possible,” Purdue’s Richard Sackler wrote in a confidential email in 2001. “They are
 the culprits and the problem. They are reckless criminals.”

 The strategy that Sackler was describing, one the Defendants would adopt, was to falsely frame
 all of the harms caused by the soaring increase in opioid supply as limited to a small subset of
 “abusers” while claiming that the increasing supply was helping millions of people with chronic
 pain. Purdue hired Dezenhall Resources, a crisis management public relations firm (also hired by
 HDA), to attack fair media coverage of the crisis and to push this false narrative. 424 When Kathy

 421   MNK-T1_0005543594.

 422 See e.g. ABDCMDL00169253 (2018 draft petition to DEA for rulemaking on SOM, noting that DEA
   is “uniquely situated” to “lead the effort to eradicate diversion,” while manufacturers and distributors
   have “limited visibility” to only their customers). ADIWG also criticized DEA guidance as wrongfully
   shifting responsibility to the industry.

 423   Meir B. 2003. Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death. Rodale Inc.

 424Armstrong  D. Inside Purdue Pharma’s Media Playbook: How It Planted the Opioid “Anti-Story”:
 OxyContin’s makers delayed the reckoning for their role in the opioid crisis by funding think tanks,
 placing friendly experts on leading outlets, and deterring or challenging negative coverage. Propublica
 Nov. 19, 2019.




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 Foley, a prominent opioid industry key opinion leader, suggested the formation of the Pain Care
 Forum in an email to Richard Sackler, it was evident that she had a media strategy in mind:

           “…we should call a meeting, bring together representatives from all of the companies,
           ideally high level representatives, like presidents or major leaders and strategize about the
           way to play the media issues.”425

 The Pain Care Forum formed shortly after this email from Dr. Foley. In opposing state and
 federal interventions that might reduce the massive oversupply of opioids, the Pain Care Forum
 consistently claimed it was defending the interests of patients with chronic pain. 426 Efforts that
 might result in a decreased supply were described by Pain Care Forum members as harmful to
 pain patients. In blocking efforts to limit opioids, such as an effective REMS program,
 hydrocodone up-scheduling, CDC guidelines or when pushing through legislation to weaken the
 DEA’s enforcement authority over the Defendants, the need to “ensure access” for patients with
 chronic pain was always claimed. In reality, opioids are neither safe nor effective for chronic
 pain and people suffering with pain have been disproportionately harmed by aggressive opioid
 use.

 Unfortunately, this tactic was successful. Interventions and polices that might have helped bring
 the opioid crisis under control were avoided or delayed because of fear of impeding access to
 opioids for patients suffering from pain. Meanwhile, millions of Americans were becoming
 addicted to opioids, thousands were losing their lives to opioid-related overdoses and the
 devastating epidemic of opioid addiction continued unabated.

 Between 2006 and 2015, the Pain Care Forum’s members spent nearly $900 million to influence
 government on issues critical to their industry, including measures to prevent state and federal
 policymakers from taking actions that might limit the supply of opioids. 427

                     i. The Marino Bill- Defendants Dismantle the DEA’s power
 At the height of the deadliest drug epidemic in U.S. history, Defendants worked behind the
 scenes through HDMA and with their team members in the opioid industry through the Pain
 Care Forum to weaken and dismantle the DEA’s authority to regulate the opioid industry.
 Defendant Cardinal Health went so far as to secretly push for ending the DEA’s authority to
 regulate the opioid supply chain in a Wall Street Journal op-ed penned by Scott Gottlieb. 428




 425   PPLPC037000008901.

 426Perrone, M. et al. (2016): Pro-painkiller echo chamber shaped policy amid drug epidemic.
 https://publicintegrity.org/state-politics/pro-painkiller-echo-chamber-shaped-policy-amiddrug-epidemic/

 427 http://data.ap.org/projects/2016/cpi_ap_opioids/indexcpiap.html.
 428 Gottlieb S. The DEA's War on Pharmacies-and Pain Patients. Wall Street Journal. March 22, 2012,
 available at https://www.wsj.com/articles/SB10001424052702304636404577297332734154326.




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 Undisclosed in the op-ed was Cardinal Health’s involvement in developing the piece and its
 financial ties to Scott Gottlieb. 429

 Through what was referred to as “the Marino Bill,” named after its sponsor Rep. Tom Marino,
 the opioid industry was able to weaken sections of the CSA which allowed the DEA to
 immediately suspend registrations prior to an administrative revocation proceeding, in cases
 “where [the DEA] finds that there is an imminent danger to the public health or safety.” That
 powerful tool was regularly and cautiously used by the DEA to shutdown pill mills and to
 compel the Defendants’ compliance with their CSA duties. The proposed revision pushed by
 Defendants and their trade organization successfully stripped the DEA of this most potent
 weapon. Called “the Ensuring Patient Access and Effective Drug Enforcement Act,” the Bill
 raised the DEA’s standard for suspending drug shipments by requiring that the agency establish
 “a significant and present risk of death or serious bodily harm that is more likely than not to
 occur.”

 The industry fueled Marino Bill came in response to years in which the DEA had attempted to
 crack down on an out of control supply that resulted from Defendants disregard for their
 obligations under the CSA. For years, Defendants and other members of the opioid supply chain
 were fined for repeatedly ignoring warnings from the DEA to cease filling suspicious orders.
 Instead of heeding these warnings and actions as prudent distributors of narcotics, Defendants
 and the opioid industry set out to dismantle the DEA’s power to enforce the CSA. Shortly after
 the DEA suspended Cardinal’s Lakeland facility, the HDA began considering a legislative
 strategy for “alter[ing] the present direction DEA is taking with respect to suspicious order
 monitoring.” The Defendants shared goal, articulated by the HDA, was to “develop a
 comprehensive DEA strategy” to avoid enforcement actions being taken against their members.

 Notably, when the HDA met with outside counsel to obtain recommendations on “potential
 actions the [HDA] and the industry may consider in an effort to alter the present direct[ion] DEA
 is taking with respect to suspicious order monitoring,” the lawyers “felt that we may be better off
 averting DEA actions by taking even stronger compliance measures.” The distributors rejected
 that advice.

 Instead, the distributors pursued a strategy to weaken the DEA’s enforcement capabilities in part
 through the Marino Bill. They found an ally in former DEA Associate Chief Counsel, Diversion
 and Regulatory Litigation Section, Linden Barber. Barber had been part of the DEA Distributor
 Initiative, a strategy to go after the Defendants and other distributors for their role in flooding
 communities with pills and allowing rampant diversion. Mr. Barber left DEA in 2011 and went
 into private practice, where he immediately began counselling the very companies he had
 targeted as a regulator. One of his first tasks was authoring and advocating for the Marino Bill.

 By December 2013, the HDA identified the “issu[ance of a] statement of support for
 Marino/Blackburn legislation,” as a strategy for dealing with the DEA’s approach to diversion.
 That draft legislation, authored by Barber, included a new statutory definition of “imminent
 danger to the public health or safety” and “would allow DEA registrants the opportunity to


 429   CAH_MDL2804_02505518-520; MNK-T1_0005783676-678.




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 submit a corrective action plan to address specific concerns that could otherwise lead to the
 suspension or revocation of a registration.” That is, the draft legislation stripped the DEA of the
 ability to issue an immediate suspension order against a drug manufacturer or distributor whose
 unlawful conduct poses an imminent danger to the community.

 The distributors, through the HDA, turned to the Pain Care Forum (PCF), described in Section _,
 to coordinate support for passing the Marino Bill. As Purdue’s in-house lobbyist explained, the
 Marino bill “was created by the HDMA and NACDS” to “not allow DEA to charge in and close
 them down” and “cut[] supply chain access.” 430 Defendants, through the HDA, asked the PCF to
 support the bill.431 Non-industry Pain Care Forum members signed letters that the HDA drafted
 in support of the Bill. Thus, Defendants used their memberships in multiple organizations to
 make it appear that the Marino Bill had widespread support from neutral third parties. One such
 group was the Alliance to Prevent the Abuse of Medicines, whose members included CVS,
 Cardinal Health, Teva, and the HDA (as an advisory member). When the Alliance was asked to
 sign on to a 2014 letter of support it was “signed by the Alliance, not the individual members.”
 The final letter that was sent to Senators Hatch and Whitehouse was signed by the members of
 the Pain Care Forum as well as the Alliance, the NACDS, American Academy of Pain
 Management, and U.S. Pain Foundation, all of whom were comprised of opioid industry
 members or funded by the opioid industry. Linden Barber went to capitol hill to advocate for the
 bill’s passage.

 The DEA opposed the law because it limited its ability to suspend registrations as a critical part
 of its enforcement authority. The HDA supported it for this exact reason. HDA’s Executive
 Committee directed the HDA to: “exhaust all efforts to secure passage of [the Marino Bill].” The
 enacted version of the Marino Bill became law with a new statutory definition of “imminent
 danger to the public health or safety.” The law made it next to impossible for the DEA to impose
 an immediate suspension on drug distributors, manufacturers and pill mills. As the DEA’s Chief
 Administrative Law Judge explained, “If it had been the intent of Congress to completely
 eliminate the DEA’s ability to ever impose an immediate suspension on distributors or
 manufacturers, it would be difficult to conceive of a more effective vehicle for achieving that
 goal.”432 Forty-Four State Attorneys Generals were more blunt, stating that the law “effectively
 strips the [DEA] of a mission-critical tool” and called for its repeal. 433

 The bill passed on April 19, 2016. Cardinal Health congratulated Purdue for its help in passing
 the Marino bill, calling it “team effort by all of us.”434 After achieving this coup for industry,
 Linden Barber then went on to become the Chief Regulatory Counsel and SVP for Cardinal

 430   PPLP004267403.

 431   PPLP004267618.

   Mulrooney, II, J., Legel, K. Current Navigation Points in Drug Diversion Law: Hidden Rocks in
 432
 Shallow, Murky, Drug-Infested Waters, 101 MARQ. L. REV. 333, 347 (2017).

 433   The letter is attached to a PCF email, PPLPC017000798471.

 434   PPLPC0190012650.




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 Health, and is now acting Executive Vice President of Quality and Regulatory Affairs for the
 Cardinal Health. Joseph T. Rannazzisi, who ran the DEA’s division responsible for regulating
 the drug industry was quoted as saying, “I mean, to get Congress to pass a bill to protect their
 interests in the height of an opioid epidemic just shows me how much influence they have.”

                       ii. REMS

 In 2007, Congress gave the FDA a new authority over pharmaceutical companies that
 manufacture dangerous medications.435 The law allowed FDA to require these companies to
 operate programs called Risk Evaluation and Mitigation Strategies (REMS) to reduce the risks
 associated with these drugs.

 In 2008, while contemplating a REMS program requirement for manufacturers of extended-
 release and long-acting (ER/LA) opioids,436 FDA asked the companies making these products to
 form an Industry Working Group to coordinate their position.437 These Industry Working Group
 meetings would be on the record and attended by antitrust counsel.438 FDA’s proposed IWG did
 not include key players such as HDA, Defendants and various front groups.439

          In a March 2009 meeting with manufacturers of ER/LA opioids, FDA outlined its plan
 for the REMS programs.440 The FDA’s proposal included a requirement for prescribers to obtain
 a certification to prescribe ER/LA opioids.”441 The FDA proposal also called for certifications
 for pharmacists that would “reflect that persons dispensing the drug ( e.g., pharmacists or
 hospital personnel) are familiar with educational materials, risks of the drug and conditions for
 safe use.” Lastly, the proposal included a plan for a “database of all enrolled entities including
 prescribers, pharmacies, practitioners and healthcare settings.”

 As an advocate for more cautious opioid use, I recall applauding the FDA’s proposed plan
 because I believed it would reduce the supply of these ER/LA opioids. I expected that many
 clinicians would opt-out from getting certified, thus reducing the pool of clinicians able to
 prescribe these products and I believed it would be helpful to ensure that those who did prescribe

 435   PPLPC051000064077 (Food and Drug Administration Amendments Act of 2007).

 436   Burt Rosen [Purdue] Deposition (Jan. 16, 2019), at 191:1-9.

   EPI000066634 (IWG Submission to FDA Docket detailing FDA’s request to form IWG);
 437
 EPI001059511.

   PPLP004299456 (Meeting minutes of first IWG meeting); Rosen Deposition at 237:12-16 (IWG
 438
 meetings were attended by antitrust counsel).

 439   Rosen Deposition at Ex. 27 at 6 (IWG presentation listing IWG members).

 440PPLP004065860-878 (Slide presentation by FDA on proposed Risk Evaluation and Mitigation
   Strategies).

 441   Id.




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 or dispense were trained in opioid risks. I also believed that the proposed database would help
 prevent diversion.

 The opioid industry, through the Pain Care Forum, immediately set out to “coordinate strategy
 and address the FDAs REMS proposals.”442 The Pain Care Forum and its members, formed its
 own working group (the “internal IWG)” to address the threat to industry that a robust REMS
 would pose.443This internal IWG had a very different goal than protecting public health, revealed
 in internal documents stating that the FDA’s goal for REMS was to “Reduce serious adverse
 outcomes resulting from inappropriate prescribing, misuse, and abuse of long acting and
 extended-release opioids while maintaining patient access to these medications” and that this
 goal “differs from the goal proposed by the Industry Working Group (IWG).”444

 The Pain Care Forum’s strategy included a plan to push media stories to “highlight the blurring
 of responsibilities between FDA and other agencies, and the impact this may have on patient care
 and access to appropriate medications” and “that the abuse and diversion problem should not,
 and could not, be solved on the backs of people with pain.”445As in other efforts by the Pain Care
 Forum, there was agreement that industry players should operate behind the scene with a public
 plan that “should be driven by the not-for-profit community, potentially with multiple industry
 sponsors.”446

 The HDA’s Senior Director for Regulator Affairs, Anita Ducca, participated on the Pain Care
 Forum’s REMS task force. According to her HDA personnel evaluation at the time, the goals of
 her position included “Seek to moderate federal government and related requirements for
 distributors, including controlled substances initiatives” and “Strive to ensure FDA "buy-in"
 of the distributors' position on "restricted distribution" REMS.”447

 Defendants used the PCF to present what, from the FDA’s perspective, must have appeared as a
 diverse group of stakeholders, including professional organizations, “grass roots” patients
 groups and health care providers all submitting separate but similar comments to a federal docket
 on the proposed REMS from prepared “recommendations”. 448 When one PCF member raised
 concern that the FDA “may feel it was rather duplicitous of the [industry members] to meet with

 442   Rosen Deposition at 191:1-9.

 443EPI001059511 (2008 Will Rowe email RE: PCF REMS Task Force with recipients from organizations
 including APHA, PPSG, Allergan, Endo, Purdue, J&J, NHPCO, Cephalon, HDMA, and APF); Rosen
 Deposition at Ex. 23, Ex. 24, and Ex. 25 (PCF emails re REMS Task Force, including email from HDMA
 commenting on proposed letter to FDA).

 444   See also Rosen Deposition at Ex. 27 at 10.

 445   PPLP004298301-303 (Summary of Pain Care Forum Media Committee).

 446 Id.
 447 HDA_MDL_000117003-004 (“Updated Goals” for Anita Ducca)(emphasis added).


 448   See Rosen Deposition at Ex. 27 at 12, 28.




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 [the FDA commissioner] and not mention that these were in the works,” he was told, “It’s the
 way things work” and there was a “need to keep silent on the congressional and media
 strategies.”449
 The PCF Task Force reviewed a draft letter to the FDA that included discussion of mandatory
 physician and pharmacist training and certification requirements as a prerequisite to prescribing
 and dispensing ER/LA opioids.450The PCF, working with the HDA, deleted that part, stating “we
 shouldn’t mention a ‘certification’ requirement for physicians (or anyone else for that
 matter.)”451 The final letter to the FDA did not mention the HDA’s or the PCF’s role in drafting
 the letter.452

 The effort by HDA and the PCF to weaken the opioid REMS was highly effective. The FDA
 responded to their efforts by removing from its REMS proposal all elements that would have
 reduced the supply of opioids. FDA’s revised final plan was so weak that when it was presented
 to an external expert Advisory Committee, the plan was voted down 25-10.453 When asked at the
 meeting to explain their vote against the FDA proposal, multiple committee members explained
 that the REMS “lacked teeth.”454

                    iii. CDC Guidelines

 In late 2016, as the CDC was finalizing a guideline calling for more cautious prescribing, the
 opioid industry mounted an effort to block its release.455 As it became clear that their efforts
 would fail, the opioid industry adopted a new strategy. It successfully lobbied for legislation that


 449   PPLP003985888; PPLP004051807 at 808.

 450 Rosen Deposition, at 198:16-205:21, 206:21-210:15; Ex. 23 (draft letter to FDA); Ex. 24 at 5 (draft
 letter stating, “we encourage FDA to implement targeted prescriber and pharmacist education with
 appropriate confirmation requirements as a prerequisite to prescribing and dispensing these products.”)
 (emphasis added); PPLP004052907 (Will Rowe email acknowledging “We hope to develop a letter that is
 amenable to all the principal stakeholders. . .”).

 451Rosen Deposition at 210:16-215:6; Ex. 25 (HDMA comment on draft stating “For now we shouldn’t
 mention a certification requirement for physicians or anyone else, for that matter.”); EPI001038487
 (email from Will Rowe to the PCF REMS Task Force that “reflects the concerns” expressed in meetings
 and is a “keep it simple” letter).

 452Rosen Deposition at Ex. 26 at 6-7 (final version of letter sent to FDA); Rosen Deposition at 220:13-14
 (confirming “That language is not in there”); ENDO-OPIOID_MDL-02212590.

 453Transcript of the Joint Meeting of the Anesthetic and Life Support Drugs Advisory Committee
 (ALSDAC) & Drug Safety and Risk Management Advisory Committee (DSaRM), July 23, 2010 12, 8:00
 a.m. to 3:30 p.m.

 454   Id.

 455Perrone, M. et al. (2016): Pro-painkiller echo chamber shaped policy amid drug epidemic.
 https://publicintegrity.org/state-politics/pro-painkiller-echo-chamber-shaped-policy-amiddrug-epidemic/




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 create a government task force stacked with front group members, to issue a competing
 guideline.456 The HDMA spent $1.2 million to support this legislation.457

 The effort was successful. Section 101 of the Comprehensive Addiction and Recovery Act of
 2016 called for a task force on pain management which in 2019 issued opioid prescribing
 recommendations that contradicted guidance from the CDC.458

                   iv. Scheduling hydrocodone combination products

 When the Controlled Substances Act (CSA) was passed, one of its primary purposes was to place
 drugs with similar abuse liability into distinct categories called schedules. This sensible approach
 to categorizing narcotics made it possible to link regulations to a drug’s schedule, allowing for
 easier access to drugs with less risk, while maintaining greater restrictions on riskier drugs. In
 addition, the scheduling of drugs created a mechanism for informing the medical community and
 the public about how addictive a particular drug might be.

 There is an important rule that must be followed for the scheduling of drugs to have the effect the
 CSA intended. Drugs with similar abuse liability and addiction potential must be placed into the
 same schedule. If drugs are incorrectly scheduled, the system falls apart. For example, if a highly
 addictive drug is incorrectly placed in a category intended for drugs with lower abuse liability,
 then prescribers, patients and even teenagers curious about experimenting with the drug, might
 underestimate risks. In addition, the ability to reduce diversion and inappropriate availability of
 the drug in classrooms, college dormitories and on the black market will be hindered. This was
 exactly the situation with hydrocodone combinations products before theses drug was correctly
 scheduled in 2014.

 In 1970, when the CSA was drafted, hydrocodone combinations products were incorrectly
 scheduled. At the time, hydrocodone’s potency was not well understood. Evidence of this can be
 found by comparing the amount of hydrocodone permissible in a Schedule III combination
 product to the amount of morphine that is permitted in a Schedule III combination product.
 Whereas the CSA’s Schedule III category permits up to 15mg of hydrocodone in a pill
 containing 325 mg of acetaminophen (APAP), it only allows up to 0.16mg of morphine in
 combination with 325mg of APAP. This suggests that when the CSA was written, morphine was
 believed to have a far higher potency than hydrocodone.

 We know today that the potency of oral hydrocodone is at least equal to the potency of oral
 morphine. This error in the CSA explained why Vicodin (hydrocodone-APAP) was Schedule III
 and Percocet (oxycodone-APAP) was Schedule II, even though Vicodin and Percocet have a
 similar abuse liability.



   Lurie J. Big Pharma Has a Big Role on the Federal Committee Tasked With Curbing Opioid Abuse.
 456
 May 19, 2019.

 457   Id.
 458   Id.



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 In 2004, with mounting evidence of diversion, abuse and addiction, a DEA analysis concluded
 that needed to be up-scheduled for reasons that included the following 459:

       •   Human and animal studies indicate that hydrocodone is equipotent to morphine, has an
           abuse liability similar to morphine and produces effects that are indistinguishable from
           morphine.
       •   Hydrocodone combinations products are associated with significant diversion and are
           “the most frequently encountered opiate pharmaceutical in forensic laboratory
           submissions of drug evidence.”
       •   hydrocodone combinations products are among “the most widely abused”
           pharmaceuticals in the United States.
       •   No data can be found to support keeping HC’s in the less restrictive Schedule III
           category.

 Despite the clear public health need to close the scheduling loophole for hydrocodone
 combinations products, the opioid industry, including HDA and NACDS mounted a campaign to
 block up-scheduling of hydrocodone combinations products.460

              h. In blatant disregard for public health and safety, including that in the
                 Huntington-Cabell Community, the Defendants refused to take responsibility
                 for the epidemic, even today, and even tried to shift blame to others,
                 including the people they helped addict to opioids.


          In 2018, as the Opioid Epidemic raged in West Virginia impacting communities and
 families across the state, including the Cabell-Huntington Community, each of the Defendants
 stood before the United States Congress and denied any responsibility. The witnesses
 testified:461

           George Barrett: CEO Cardinal Health:

           Q. First, do you believe that the actions that you or your company took contributed to the
           Opioid Epidemic?


 459 FDA Briefing Document Drug Safety and Risk Management Advisory Committee (DSaRM) Meeting
 – January 24-25, 2012. Available at: https://wayback.archive-
 it.org/7993/20170405214207/https://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeeting
 Materials/Drugs/DrugSafetyandRiskManagementAdvisoryCommittee/UCM334276.pdf

   Pear R. Lobbying Effort Is Said to Sink New Controls on Painkillers. New York Times. June 18,
 460
 2012.; ENDO-OPIOID_MDL-02301476; HDA_MDL_000020031 at 035 *Minutes of the HDMA
 Executive Committee Meeting, June 10, 2012).

 461Combating the Opioid Epidemic: Examining Concerns About Distribution and Diversion: Hearing
 Before the Subcomm. on Oversight and Investigations of the H. Comm. on Energy and Commerce, 115th
 Cong., 49-50 (2018) available at https://docs.house.gov/meetings/IF/IF02/20180508/108260/HHRG-115-
 IF02-Transcript-20180508.pdf.



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         Mr. Barrett. “No. No, sir, I do not believe that we contributed to the opioid crisis.”

         Jon Hammergren: CEO McKesson:

         Q. Mr. Hammergren.

         Mr. Hammergren. No.

         Steve Collis: CEO Amerisource Bergen

         Q. Okay. Mr. Collis.

         Mr. Collis. No. I believe we -- it's a no for AmerisourceBergen.

 Asked at the hearing whether their companies previously failed to maintain effective controls to
 prevent opioid diversion, distributor witnesses acknowledged that in hindsight they could have
 done more. Mr. Barrett of Cardinal Health apologized to West Virginians for Cardinal’s actions,
 testifying that if the company were presented with the same red flags today, it would have more
 carefully vetted some of the pharmacies in question:

         To the people of West Virginia, I want to express my personal regret for judgments that
         we'd make differently today with regard to two pharmacies that have been a particular
         focus of this subcommittee. With the benefit of hindsight, I wish we had moved faster
         and asked a different set of questions. I'm deeply sorry that we did not.

 Mr. Hammergren of McKesson expressed similar sentiments, noting that “there clearly were
 certain pharmacies in West Virginia that were bad actors.” While Mr. Hammergren noted that
 McKesson terminated business relations with some West Virginia pharmacies, he said “[i]n
 hindsight, I would have liked to have seen us move much more quickly to identify the issues
 with these pharmacies.” Mr. Collis of AmerisourceBergen denied that his company played a role
 in the Opioid Epidemic, and said it always fulfilled its legal obligations to combat diversion,
 including with respect to its shipments to West Virginia. Nevertheless, Mr. Collis conceded the
 massive volume of opioids that flooded small towns in West Virginia could have been a
 symptom of an industry-wide problem.

 HDA/HDMA and the Defendants developed a comprehensive media strategy to counter negative
 coverage about the Defendants’ role in contributing to the opioid crisis. In 2013, HDMA (along
 with the PR firm APCO) produced the “Crisis Playbook” for itself and the Distributors, which
 included “response procedures, best practices and the names and contact information of a cross-
 functional task force that has the authority to act quickly and decisively in response to critical
 reputational and crisis issues.”462



 462ABDCMDL00288483 (email summarizing Playbook); ABDCMDL00288484 (revised edition of Crisis
 Playbook). This “Crisis Playbook” also served as a tool for its members, including the Big 3, to respond
 to “scrutiny from the media as well as the legislators and regulators . . . on a range of issues, including
 prescription drug abuse and diversion” See Gray Dep. at 89:21-90:11. The playbook contained suggested
 answers to “tough questions that a distributor might be asked”. Id. at 95:11-12. For example, in response



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 In 2015, a West Virginia state lawsuit asserted that distributors flooded the state with over 200
 million painkillers during a 4-5 year period. In response, HDMA mounted a comprehensive
 strategy and specific timeline to “Turn the Tide” of “imbalanced” media coverage in West
 Virginia through outreach to the public, media and political leaders; convening a summit; and
 generally blanketing the state with pro-distributor messaging.463

 In 2017, HDA and the Defendants mounted a campaign against the Washington Post and 60
 Minutes coverage of the Opioid Epidemic. The campaign included social media advertising and
 messaging on Facebook, Twitter and LinkedIn; materials on HDA’s website, including a “fact
 check” blog and media statement; and a push to influence legislators.464

 When the Distributors needed to be aggressive in lobbying or public affairs, they instructed
 HDA/HDMA to handle it for them to avoid negative public perception. HDA/HDMA lobbied
 federal and state politicians but instructed HDA rather than the individual Distributors to
 participate, so as to avoid the perception that the Distributors were directly lobbying
 themselves.465. At times, there was dissention among the HDA and its member organizations
 about how aggressively the organization should pursue the Defendants’ goals.466

 Apparently, the Defendants believe their expensive PR campaigns have worked, at least in part,
 seeing “progress” in the press coverage in 2017. 467




 to a question about how “these large publicly traded companies are making millions of dollars from
 diversion of prescription drugs”, the playbook recommended answering that “[p]atient safety is put before
 profits”. Id. at 95:13-96:3.

   ABDCMDL00269293, ABDCMDL00269301 (6/19/2015 memo and presentation to HDMA
 463
 members).

 464ABDCMDL03830243 (email chain noting that “HDA would take the lead,” and discussing HDA’s
 social media and internet strategy to “take this head on”); CAH_MDL2804_00112004 (10/13/17 note to
 Cardinal employees from George Barrett dismissing unfair and “one-sided” allegations in 60
 Minutes/WaPo stories, noting that Cardinal “chose not to appear on-camera because of the editorial
 choices we saw them making,” and referring employees to HDA website).

 465PPLPC020001151103 (11/9/17 email chain). In fact, John Gray testified in front of Congress on behalf
 of the HDMA and its defendant members “[p]robably 10 or 12 times at least”. See Gray Dep. at 80:1-10.

 466See ABDCMDL00375084 (1/27/18 email in which AmerisourceBergen expressed frustration that
 HDA and McKesson are not being aggressive enough on issues related to the Washington Post story, and
 Amerisource’s Gabe Weissman stated: “I believe the strength of a trade association on topics like this is
 that they are able to say the things we can’t/won’t and I typically try not to put us in a position to ‘sign
 off’ on the more aggressive materials.”)

 467ABDCMDL03829334        (1/27/2017 internal Amerisource email discussing ProPublica story about
 distributors “Turning Blind Eye in Opioid Epidemic,” and noting that while tone was negative,
 information from HDA was included in the story that suggested DEA was partly at fault).




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 Internally, however, the Defendants recognized that they were “contributing to the problem.”468
 In 2013, McKesson conducted an internal presentation, well before many of these public denials
 detailing exactly how McKesson was contributing to the epidemic including, shipping “only the
 specific drug of choice, in an exorbitant amount, in the primary strength, to the known epicenter
 of diversion, to a customer they had never dealt with in the past- AND- then doing it
 repeatedly”469 and “ship[ing] multiple orders, in the primary strength, to the known epicenter of
 diversion, to a customer suspected of being involved in diversion.”470 McKesson’s presentation
 details the litany of distributor excuses for not following their compliance obligations, many of
 which these companies continue to raise, and quickly dispenses with those obligations by
 illustrating a different list of how many ways since 2007 these companies were warned,
 educated, told and admonished, putting them on clear notice that they were failing in those
 obligations and must do better. 471 By 2014, McKesson noted internally that “every component
 of the distribution chain has been breached.”472


       5.      The conduct of the Defendants, working individually and together, was a
               substantial factor in causing the Opioid Epidemic. Working closely and in an
               intertwined and interlinked system with their business partners in the supply
               chain (namely the opioid manufacturers and chain pharmacies) without
               reasonable care, their abnormally dangerous behavior and blatant violations of
               the laws and regulations combined to cause the Opioid Epidemic we see today.

 Before the multifaceted campaign to increase the supply of prescription opioids was launched by
 the opioid industry, including the Defendants, the incidence of opioid addiction in the United
 States and West Virginia was low. Had the Defendants acted as prudent distributors of narcotics,
 I believe the incidence would have remained low.

            1) Prudent distributors of narcotics drugs would not have participated in a campaign to
               increase the supply of opioids, as the Defendants did.

            2) Prudent distributors of narcotics would not have repeatedly shipped narcotics to
               corrupt pharmacies, as the Defendants did. Instead, they would have maintained
               robust systems to detect diversion.

            3) Prudent distributors would not have ignored clear evidence that the opioids they were
               shipping were fueling a public health catastrophe and destroying communities and
               families across the country, as the Defendants did.


 468   MCK-AGMS-006-0000904-905.

 469   MCK-AGMS-006-0000904.

 470   MCK-AGMS-006-0000905.

 471   MCK-AGMS-006-0000906-907.

 472   MCKMDL00407451.



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             4) Prudent distributors of narcotics would not have participated in a campaign to deceive
                policymakers and the public about the adequacy of their monitoring systems or mis
                framed the opioid crisis to preserve the status quo that was benefitting them
                financially.

 It is my opinion that these serious failures by the defendants were a substantial cause of the
 Opioid Epidemic in the United States, West Virginia and in the Huntington-Cabell Community.

        6.      The harm to public health, safety and welfare in Plaintiffs’ Communities caused
                by Defendants’ conduct was not only unreasonable, it was foreseeable and
                preventable.

 Opioids are Schedule II narcotics with a high potential for abuse. One need only look at the
 drug’s long history with addiction to understand that addiction and all of the negative societal
 consequences would ensue when people were widely exposed to these highly addictive narcotics
 (see Section VI(1)-(3)).473 The opioid drugs Defendants were supplying in large amounts to the
 United States, West Virginia and the Cabell-Huntington Community were no different and no
 less addictive. Indeed, (as discussed in Section VI (1), in the high doses and for long durations,
 they were more so (see Section VI(3)).

 As thoroughly detailed above, exposure caused the epidemic of addiction we see in the Cabell-
 Huntington Community today. In fact, exposure to addictive drugs like opioids is a key element
 of causing the predictable harm of addiction and the consequences that flow from it (see Section
 VI(1)-(3). McKesson testified that “[t]he volume of opioids in the market and diversion is related
 to opioid deaths, certainly.”474

 As soon as a population was hooked on prescription opioids, it was also foreseeable that those
 individuals would transition to illicit opioids and other illegal drugs (see Section VI(3). Indeed,
 as McKesson’s corporate representative testified, “abuse of prescription opium pills is a gateway
 to the initiation of heroin” and that it “is a driving factor in the heroin epidemic”. 475

 With more supply of a dangerous controlled substance, there will be more diversion. As
 conceded by McKesson “major diversion schemes cannot exist without supply.”476 And
 Amerisource Bergen admitted that harm was foreseeable if registrants in the closed system did
 not prevent diversion and comply with the CSA. 477



 473   See also, Expert Report of David Courtright.

 474   Nate Hartle [McKesson] Deposition (July 31, 2018) at 294:15-17.

 475   Id. at 320:14-321:10.

 476   MCK-AGMS-006-0000925; see also, Hartle Deposition at 298:18-299:17.

 477   See Chris Zimmerman [AmerisourceBergen] Deposition (August 3, 2018) at 104:14-17.




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 Defendants’ practices could prevent this foreseeable diversion. Indeed, it was their legal
 obligation to do so if they wished to sell prescription opioids.

       7.      Even with the Proper Interventions, the damage to public health, safety and
               welfare in the Huntington-Cabell Community has been and will continue to be a
               long-lasting and deeply devastating public health disaster.

 As discussed in Section VI(1), opioid addiction is a chronic disease. Once an individual develops
 opioid addiction it will often impact them (and their families) for the rest of their lives. Because
 of the actions of the Defendants, the number of people in the United States, West Virginia and in
 the Huntington-Cabell Community suffering from opioid addiction increased exponentially
 (Kolodny et al. 2015). Even with a robust abatement program to prevent new cases of opioid
 addiction and to ensure access to treatment for the Defendants’ victims, I believe the Huntington-
 Cabell Community will experience health and social problems for several decades, including
 problems stemming from the large cohort of opioid-addicted individuals as well as the inter-
 generational effects of addiction.

       8.      There are evidence-based solutions that can be implemented, albeit over time
               and with the right resources, that can turn the tide of the epidemic in the
               Huntington-Cabell Community and should be implemented.

 Despite the high prevalence of opioid addiction that will impact the Cabell-Huntington
 Community for decades, there are interventions that, over time and with the right resources can
 help turn the tide of the Opioid Epidemic in the community. These interventions should focus on
 preventing new cases of opioid addiction (primary prevention), identifying early cases of opioid
 addiction (secondary prevention), and ensuring access to effective addiction treatment (tertiary
 prevention). They should focus on harm reduction, preventing opioid overdose and death and
 public health interventions to prevent or slow the spread of communicable diseases like HIV and
 Hepatitis A.

            Primary Prevention

 The aim of primary prevention is to reduce the incidence of a disease or condition. Opioid
 addiction is typically chronic, life-long, difficult to treat, and associated with high rates of
 morbidity and mortality. Thus, bringing the opioid addiction epidemic under control requires
 effort to prevent new cases from developing.

 Preventing addiction caused by medical exposure to opioids. The incidence of iatrogenic opioid
 addiction in patients treated with long-term opioids is unknown because adequately designed
 prospective studies have not been conducted. However, opioid use disorders appear to be highly
 prevalent in chronic pain patients treated with opioids. A survey performed by Boscarino et al. of
 705 chronic pain patients treated in specialty and primary care outpatient centers found that 26%
 met the Diagnostic and Statistical Manual of Mental Disorders (DSM) IV criteria for opioid
 dependence, and 35% met DSM V criteria for an opioid use disorder. 478 A systematic review of

 478 Boscarino JA, et al. (2010). Risk factors for drug dependence among out-patients on opioid therapy in
 a large US health-care system. Addiction, 105(10), 1776–82. doi: 10.1111/j.1360-0443.2010.03052.x;



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 studies utilizing opioids for low back pain found that aberrant drug abuse–related behaviors
 suggestive of addiction occurred in up to 24% of patients on long-term opioids.479 Many patients
 on long-term opioids worry about dependence and addiction and express a desire to taper or
 cease opioid therapy. 480

 To reduce the incidence of opioid addiction caused by medical treatment, health care
 professionals must prescribe opioids more cautiously for both acute and chronic pain.
 Unfortunately, the campaign to encourage opioid prescribing has left many health care providers
 with a poor appreciation of opioid risks, especially the risk of addiction, and an overestimation of
 opioid benefits. Despite these risks and the lack of evidence supporting long-term efficacy,
 opioid prescribing for chronic non-cancer pain increased until 2012 while use of nonopioid
 analgesics decreased. 481 This pattern highlights the need for prescriber education that explicitly
 corrects misperceptions about prescription opioid safety and efficacy. If clinicians treating pain
 more often substituted nonopioid analgesics and nonpharmaceutical approaches for opioids,
 evidence suggests the incidence of opioid addiction would decline and outcomes for patients
 with chronic non-cancer pain would improve.

 Many prescribers remain unaware that evidence of long-term effectiveness for opioids is lacking
 and that risks, in addition to addiction, include respiratory depression leading to unintentional
 overdose death; serious fractures from falls; 482 hypogonadism and other endocrine effects that
 can cause a spectrum of adverse effects; 483 increased pain sensitivity;484 chronic constipation and



 Boscarino JA, et al. (2011). Prevalence of prescription opioid-use disorder among chronic pain patients:
 comparison of the DSM-5 versus DSM-4 diagnostic criteria. J. Addict. Dis, 30(3), 185–94. DOI:
 10.1080/10550887.2011.581961.

 479Martell BA, et al. (2007). Systematic review: opioid treatment for chronic back pain: prevalence,
 efficacy, and association with addiction. Ann. Intern. Med, 146(2), 116–27. doi: 10.7326/0003-4819-146-
 2-200701160-0000

 480Sullivan MD, et al. (2010). Problems and concerns of patients receiving chronic opioid therapy for
 chronic non-cancer pain. Pain 149:345–53.

 481Daubresse M, et al. (2013). Ambulatory diagnosis and treatment of nonmalignant pain in the United
 States, 2000–2010. Med. Care 51(10), 870–78. doi: 10.1097/MLR.0b013e3182a95d86

 482Saunders KW, et al. (2010). Relationship of opioid use and dosage levels to fractures in older chronic
 pain patients. J. Gen. Intern. Med. 25(4), 310–15. doi: 10.1007/s11606-009-1218-z; Takkouche B, et al.
 (2007). Psychotropic medications and the risk of fracture: a meta-analysis. Drug Saf. 30(2), 171–84. doi:
 10.2165/00002018-200730020-00006.

 483Vuong C, et al. (2010). The effects of opioids and opioid analogs on animal and human endocrine
 systems. Endocr. Rev, 31(1), 98–132. doi: 10.1210/er.2009-0009

   Angst MS, Clark JD. 2006. Opioid-induced hyperalgesia: a qualitative systematic review.
 484
 Anesthesiology, 104:570–87.




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 serious fecal impaction;485 and chronic dry mouth, which can lead to tooth decay. 486 Providing
 prescribers with accurate information through a large-scale counter-detailing campaign and result
 in more informed risk/benefit appraisals. Indeed, one of the lessons learned from the nineteenth
 century opioid addiction epidemic was that physicians were educable.

 In 2013, the New York City Department of Health and Mental Hygiene released emergency
 room guidelines on opioid prescribing. 487 Recommendations included in the guidelines call for
 substituting nonopioid analgesics when possible, avoiding use of extended-release opioid, and
 limiting the supply to three days. Reducing patient exposure to opioids and reducing the supply
 of excess opioids in the homes of discharged patients may be effective strategies for preventing
 opioid addiction that can occur from both medical and nonmedical opioid use. In 2013, New
 York City also launched an effective campaign on Staten Island, which utilized former
 pharmaceutical sales representatives, to detail healthcare providers with accurate information
 about opioid risks and benefits.488

 Although prescription opioids have an abuse liability similar to that of heroin, they are
 commonly perceived as less risky. 489 Individuals who perceive opioid risks use to be low may be
 more likely to misuse them. Evidence suggests that people who perceive a low level of risk from
 opioids were 9.6 times more likely to use them nonmedically, as compared with those who
 perceive these medications as harmful. 490 Although the ability for causal inference from cross
 sectional surveys is limited, these finding suggest that social marketing campaigns designed to
 increase the public’s perceived harmfulness of prescription opioids may be an effective
 prevention strategy.


 485Tuteja AK, et al. (2010). Opioid-induced bowel disorders and narcotic bowel syndrome in patients
 with chronic non-cancer pain. Neurogastroenterol. Motil, 22(4), 424–30. doi: 10.1111/j.1365-
 2982.2009.01458.x.

 486Thomson MW, et al. (2006). Xerostomia and medications among 32-year-olds. Acta. Odontol. Scand,
 64(4), 249–54. doi: 10.1080/00016350600633243

 487N.Y. City Dep. Health Ment. Hyg. 2013. New York City Emergency Department Discharge Opioid
 Prescribing Guidelines. Long Island City, NY: NYC Health Available at
 http://www.nyc.gov/html/doh/downloads/pdf/basas/opioid-prescribing-guidelines.pdf

 488Kattan JA, Tuazon E, Paone D, et al. (2016). Public Health Detailing-A Successful Strategy to
 Promote Judicious Opioid Analgesic Prescribing. Am J Public Health, 106(8), 1430-1438. doi:
 10.2105/AJPH.2016.303274

 489Comer SD, et al. (2008). Abuse liability of prescription opioids compared to heroin in morphine-
 maintained heroin abusers. Neuropsychopharmacology, 33(5), 1179–91; Johnston LD, et al. (2014).
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 adolescent drug use. Ann Arbor, MI: Inst.Soc. Res., Univ. Mich.

 490Arria AM, et al. (2008). Perceived harmfulness predicts nonmedical use of prescription drugs among
 college students: interactions with sensation-seeking. Prev. Sci., 9(3), 191–201. doi: 10.1007/s11121-008-
 0095-8




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         Secondary Prevention

 The aim of secondary prevention is to screen for a health condition after its onset but before it
 causes serious complications. Efforts to identify and treat opioid-addicted individuals early in the
 course of the disease are likely to reduce the risk of overdose, psychosocial deterioration,
 transition to injection opioid use, and medical complications.

 Physicians are frequently the source of opioids for opioid-addicted medical and nonmedical
 users.491 Contacts with medical professionals present valuable opportunities for early
 identification of opioid addiction. However, detection of opioid addiction in opioid users can be
 very difficult. Opioid-addicted chronic pain patients may demonstrate aberrant drug-related
 behaviors, such as presenting for early refills. However, some opioid-addicted pain patients,
 especially those prescribed high doses, may not demonstrate drug-seeking behavior. Opioid-
 addicted individuals receiving opioid prescriptions are often reluctant to disclose their concerns
 about addiction with prescribers because they fear being judged, being cut off from a legitimate
 supply, or being labeled as malingerers for feigning pain.

 The difficulty of diagnosing opioid addiction in individuals motivated to conceal their condition
 suggests that prescribers should seek collateral information before prescribing opioids. Urine
 toxicology can be used to verify a patient’s self-reported drug ingestion history. However, urine
 toxicology of patients on long-term opioids is not a reliable strategy for identifying opioid
 addiction. Urine toxicology cannot determine if a patient is taking extra doses or if a patient is
 using opioids by an intranasal or injection route.

 Opioid-addicted individuals may receive opioid prescriptions from multiple providers, a practice
 referred to as “doctor shopping.” Doctor shoppers can be identified through use of state
 prescription drug monitoring programs (PDMPs). With adequate funding states could use
 PDMPs to identify individuals with likely opioid addiction and assign them care navigators to
 link them to treatment.

         Tertiary Prevention

 Tertiary prevention strategies involve both therapeutic and rehabilitative measures once a disease
 is firmly established. The goal of tertiary prevention of opioid addiction is to prevent overdose
 deaths, medical complications, psychosocial deterioration, transition to injection drug use, and
 injection-related infectious diseases. Doing so is accomplished mainly by ensuring that opioid
 addicted individuals can access effective and affordable opioid addiction treatment.

 Treatment of opioid addiction includes pharmacotherapies and psychosocial approaches,
 including residential treatment, mutual-help programs (e.g., Narcotics Anonymous), and 12-Step
 treatment programs. These modalities may be used as stand-alone interventions or in
 combination with pharmacotherapy. Psychosocial opioid addiction treatment approaches show


 491Jones CM, et al. (2014). Sources of prescription opioid pain relievers by frequency of past-year
 nonmedical use: United States, 2008–2011. JAMA Intern. Med., 174(5), 802–3.
 doi:10.1001/jamainternmed.2013.12809




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 value and are an important treatment option. 492 However, research with greater specificity and
 consistency is needed to better evaluate outcomes.

 Pharmacotherapies for opioid addiction include agonist maintenance with methadone and partial-
 agonist maintenance with buprenorphine and antagonist treatment with naltrexone, which is
 available in a monthly injection. Methadone and buprenorphine work by controlling cravings.
 Naltrexone works by preventing opioid-addicted individuals from feeling the effects of opioids.
 Naltrexone may be helpful in highly motivated and carefully selected patients. However, patients
 treated with naltrexone may be at increased risk of overdose death should relapse occur. 493
 Multiple well-designed randomized controlled trials provide strong evidence that buprenorphine
 maintenance and methadone maintenance are safe and effective treatments for opioid
 addiction.494 Both buprenorphine and methadone treatment are associated with reduced overdose
 risk and improved maternal and fetal outcomes in pregnancy. 495 Despite strong evidence
 supporting the use of buprenorphine and methadone, access to treatment remains inadequate.

         Methadone poses a substantially greater risk of respiratory depression than does
 buprenorphine and can be obtained only from licensed opioid treatment programs (OTPs). The
 lack of OTPs in many communities presents a major challenge to expanding access to
 methadone. In contrast, buprenorphine, a partial opioid agonist, has a better safety profile than
 does methadone and can be prescribed in an office-based setting. Barriers to accessing
 buprenorphine include federal limits on the number of patients a physician may treat, ineligibility
 of nurse practitioners to prescribe it, and inadequate integration of buprenorphine into primary
 care treatment. Access to buprenorphine treatment could be expanded if the federal government
 eased or remove regulatory barriers.



 492Reif S, , et al. (2014). Residential treatment for individuals with substance use disorders: assessing the
 evidence. Psychiatr. Serv. 65(3), 301–12. doi:10.1176/appi.ps.201300242

   Digiusto E, et al. (2004). Serious adverse events in the Australian National Evaluation of
 493
 Pharmacotherapies for Opioid Dependence. Addiction, 99(4), 450–60. doi: 10.1111/j.1360-
 0443.2004.00654.x

 494Sees KL, et al. (2000). Methadone maintenance for opioid dependence. JAMA 284(6), 694–95.; Strain
 EC, et al. (1999). Moderate versus high-dose methadone in the treatment of opioid dependence: a
 randomized trial. JAMA, 281(11), 1000–5. doi: 10.1001/jama.281.11.1000; Fudala PJ, et al. (2003).
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 J.Med. 343(18), 1290–97. doi: 10.1056/NEJM200011023431802

 495Coyle MG, et al. (2012). Neonatal neurobehavior effects following buprenorphine versus methadone
 exposure. Addiction, 107(1), 63–73. doi: 10.1111/j.1360-0443.2012.04040.x; Jones HE, et al. (2010).
 Neonatal abstinence syndrome after methadone or buprenorphine exposure. N. Engl. J. Med. 363, 2320–
 31. DOI: 10.1056/NEJMoa1005359; McCarthy JJ, Leamon MH, Parr MS, Anania B. (2005). High-dose
 methadone maintenance in pregnancy: maternal and neonatal outcomes. Am. J. Obstet. Gynecol., 193,
 606–10. doi: 10.1016/j.ajog.2005.03.072




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 Harm-reduction approaches. Tertiary prevention strategies also include harm-reduction
 approaches to improving health outcomes and reducing overdose deaths. In the subset of opioid
 addicted individuals who are heroin injection drug users, evidence suggests that access to syringe
 exchange programs can prevent HIV infection. 496 These efforts have been less effective at
 preventing hepatitis C infection, which, because of the opioid crisis, is increasing rapidly in
 young, white IDUs.497

 Expanding access to naloxone, an opioid overdose antidote, can prevent overdose deaths by
 reversing life-threatening respiratory depression. In the 1990s, syringe exchange programs began
 distributing naloxone to injection drug users for the purpose of rescuing peers. Evidence shows
 that clients of syringe exchange programs demonstrated the ability to successfully reverse
 overdoses when they had been provided with naloxone and training. 498 In addition, providing
 family members of opioid-addicted individuals and non-paramedic first responders with
 naloxone may be an effective strategy for rescuing overdose victims. 499




   Des Jarlais DC, et al. (2005). HIV incidence among injection drug users in New York City, 1990 to
 496
 2002: use of serologic test algorithm to assess expansion of HIV prevention services. Am. J. Public
 Health, 95(8), 1439–44. doi: 10.2105/AJPH.2003.036517

 497Hagan H., et al. (2010). Attribution of hepatitis C virus seroconversion risk in young injection drug
 users in 5 US cities. J. Infect. Dis, 201(3), 378–85. doi:10.1086/649783

 498Seal KH, et al. (2005). Naloxone distribution and cardiopulmonary resuscitation training for injection
 drug users to prevent heroin overdose death: a pilot intervention study. J. Urban Health, 82(2), 303–11.
 doi: 10.1093/jurban/jti053

 499Davis CS, et al. (2014). Expanded access to naloxone among firefighters, police officers, and
 emergency medical technicians in Massachusetts. Am. J. Public Health, 104(8), e7–9. doi:
 10.2105/AJPH.2014.302062; Williams AV, Marsden J, Strang J. (2014). Training family members to
 manage heroin overdose and administer naloxone: randomized trial of effects on knowledge and attitudes.
 Addiction, 109(2), 250–59. doi: 10.1111/add.12360



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        Pursuant to 28 U.S.C. S 1746, I declare under penalty of perjury that the foregoing is true
 and correct.

        Executed on August 3, 2020.




        ___________________________________
        Andrew Kolodny, M.D.




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